     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 1 of 137



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

ANTHONY MEDINA,                         §
Petitioner,                             §
                                        §
                                        §
v.                                      §
                                        §        H-09-CV-3223
                                        §
LORIE DAVIS,                            §        THIS IS A CAPITAL CASE.
Director, Texas Department of           §
Criminal Justice, Correctional          §
Institutions Division,                  §
Respondent.                             §




     SUPPLEMENTAL AUTHORITIES RELATED TO PETITIONER’S STATE
         MISCONDUCT CLAIMS, PENDING REQUESTS FOR FACT
          DEVELOPMENT, AND RELATED PROCEDURAL ISSUES


James William Marcus                 JASON D. HAWKINS
Texas Bar No. 00787963               Federal Public Defender
Capital Punishment Clinic
University of Texas School of Law    Jeremy Schepers (Texas Bar No. 24084578)
727 E. Dean Keeton Street            Jessica Graf (Texas Bar No. 24080615)
Austin, Texas 78705                  Capital Habeas Unit
TEL: 512-232-1475                    Office of the Federal Public Defender
FAX: 512-232-9197                    Northern District of Texas
jmarcus@law.utexas.edu               525 Griffin Street, Suite 629
                                     Dallas, Texas 75202
                                     TEL: 214-767-2746
                                     FAX: 214-767-2886
                                     Jeremy_Schepers@fd.org
                                     Jessica_Graf@fd.org


                                     Counsel for Petitioner Anthony Medina
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 2 of 137



TO THE HONORABLE UNITED STATES DISTRICT COURT:

          Two recent court decisions addressing Harris County capital prosecutions are

directly relevant to matters pending before this Court. In Ex parte Ronald Hamilton, 1

a long-time staff member of Houston Police Department’s (“HPD”) Identification

Department testified that, as a matter of policy, HPD failed to document exculpatory

lab results and stonewalled defense counsel seeking information about their work.

The Harris County District Attorney’s Office (“HCDAO”) has represented to the

courts that it was unaware of HPD’s policy before June 2019. Taken together, these

two new facts establish that representations by Harris County prosecutors about the

disclosure of exculpatory information in the possession of the police are inherently

unreliable. The Hamilton Court concluded that “HPD’s policy of not documenting

exclusions was designed to suppress relevant evidence from defense counsel, and that

the policy succeeded in this case.” Appendix 1 at 31. Hamilton reveals a systemic

problem that left even the HCDAO post-conviction attorneys unaware of exculpatory

evidence in the possession of HPD. Without court-ordered discovery, petitioners and

their counsel simply have no access to exculpatory information discovered by HPD.

          More recently, a federal court—after ordering the fact development necessary

to access the closed portion of the HCDAO’s allegedly “open file”—granted relief on

several Brady 2 claims and a Massiah 3 claim based on information suppressed by the


1Ex Parte Ronald Hamilton, No. 0901049-B (180th Dict. Ct. Harris Co. Oct. 30, 2019) (attached as
Appendix 1).

2   Brady v. Maryland, 373 U.S. 83 (1963).

3   Massiah v. U.S., 377 U.S. 201 (1964).


                                               1
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 3 of 137



HCDAO. 4 In Prible, as in this case, the HCDAO prosecutor represented to courts and

counsel that the State’s file was open to defense counsel, but the federal court found

that she was “not credible” on this and other matters. 5

          Hamilton and Prible underscore why court-ordered fact development is

indispensable to an accurate and just resolution of Mr. Medina’s claims. As described

more fully below, these cases and the evidence already before this Court demonstrate

that:

              •   HPD systematically failed to document or otherwise disclose
                  exculpatory information to defense counsel and intentionally
                  stonewalled counsel who attempted to discover it.

              •   HCDAO prosecutors were unaware of HPD’s policy and thus their
                  assurances of compliance with Brady’s obligations to disclose
                  exculpatory information in possession of the HPD were meaningless.

              •   “Open” HCDAO files are incomplete for at least two reasons: (1)
                  prosecutors withhold “work product” even when it is Brady material;
                  and (2) the HPD policy of omitting exculpatory information from its
                  official reports means that the HPD information in the HCDAO file will
                  often be incomplete.

              •   Public Information Act requests to HPD and HCDAO—the only
                  processes available to Mr. Medina to date—are ineffective because both
                  institutions continue withhold Brady information and stonewall defense
                  counsel unless and until a court intervenes and orders fact development.

          Courts have already determined that even the most senior HCDAO

prosecutors—in the rare instances they are called to testify—fail to understand their

Brady obligations, which has led to a pattern and practice of failing to disclose


4   Prible v. Davis, H-09-CV-1896, 2020 WL 2563544 (S.D. Tex. May 20, 2020) (attached as Appendix 2).

5Id. *19 (Prosecutor “Siegler’s testimony was not credible on both minor and major points. Siegler
made several statements that the record directly refutes.”).


                                                   2
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 4 of 137



exculpatory evidence. Doc. #133 at 74–87. Hamilton adds conclusive proof—in the

form of sworn testimony from HPD staff—that HPD was intentionally hiding

exculpatory evidence from defendants. Prible is yet another example of an HCDAO

prosecutor from the same era in which Mr. Medina was tried withholding obviously

exculpatory evidence in a death penalty case.

      These recent decisions support Mr. Medina’s pending requests for discovery.

For example, as in Prible and Hamilton, the HCDAO withheld a thick “work product”

file from Mr. Medina. Doc. #148 at 9. Mr. Medina has alleged, inter alia, that the

prosecution had at least one undisclosed deal with a critical witness who was coaxed

by HCDAO prosecutors to testify untruthfully at Mr. Medina’s trial. Doc. #53 at 164–

68. Additionally, prosecutors elicited trial testimony from critical witnesses that

materially contradicted their sworn pre-trial statements to HPD. Doc. #53 at 159–60.

In one instance, the prosecutor blatantly coaxed a witness to contradict his sworn

statement by reminding him of their discussion during an intervening pre-trial

meeting. Id. As in Prible, the State has never disclosed any information about its pre-

trial contacts with witnesses or how their sworn testimony evolved to contradict their

prior statements. Prible and Hamilton provide yet more evidence of the HCDAO’s

pattern of abusing the work product privilege to withhold Brady evidence.

      Mr. Medina also seeks from HPD evidence that is known to exist but is not

documented in its official report about this case, as well as information about HPD’s

forensic work—including the status of two palmprints recovered from the bag in

which the murder weapon was recovered and which have never been publicly linked



                                          3
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 5 of 137



to anyone. Hamilton supports Mr. Medina’s pending requests by documenting a HPD

policy of suppression and obfuscation with respect to such evidence that can only be

overcome by court-ordered discovery.

          Finally, Prible models the appropriate process in a federal habeas corpus case

in which the petitioner is not at fault for failing to previously obtain Brady evidence

sequestered in the state’s file, and confirms this Court’s authority to order discovery,

consider all newly disclosed Brady evidence, and grant relief.

I.        Two recent decisions illuminate how the Houston Police Department
          and Harris County District Attorney’s Office violate their obligation
          to disclose exculpatory evidence to defendants.

          A.     Ex parte Hamilton: “HPD’s policy of not documenting exclusions
                 was designed to suppress relevant evidence from defense
                 counsel.” 6

               1. The centerpiece of HCDAO’s case for death was that Mr.
                  Hamilton had allegedly committed another capital murder.

          Ronald Hamilton pled guilty to capital murder for the November 2001 shooting

of a convenience store clerk during a robbery (the “Yellowstone Murder”). Thus, the

only contested issue in Mr. Hamilton’s case was whether he would be sentenced to

death or life in prison. During Mr. Hamilton’s November 2002 sentencing trial, the

HCDAO introduced evidence that Mr. Hamilton had committed another convenience

store robbery-murder (the “Holman Murder”). Unbeknownst to the defense, however,

HPD and the HCDAO suppressed evidence developed before trial excluding Mr.

Hamilton as the perpetrator of the Holman Murder. Even more alarming was the



6   Ex parte Hamilton (Appendix 1) at 31.


                                             4
    Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 6 of 137



testimony of HPD staff that the suppression in Mr. Hamilton’s case was pursuant to

HPD’s policies of omitting exculpatory results from their police reports and

stonewalling defense counsel.

       The trial court granted the defense counsel’s pretrial Brady motion. Appendix

1 at 34. “The trial prosecutors … represented to both the Court and defense during a

pretrial conference that there were no fingerprint comparisons, or other testing

results in connection with either the Yellowstone or Holman Murders.” Appendix 1

at 2. Mr. Hamilton’s counsel was allowed to view portions of the prosecution file

before trial, including the HPD offense report, but there was no indication that

fingerprints found at the Holman scene had been compared to suspects, including Mr.

Hamilton, and that Mr. Hamilton had been excluded. Appendix 1 at 34–35.

       The Holman murder was the primary focus of the prosecution’s penalty phase

case. Prosecutors discussed it in their opening statement, referred to the Yellowstone

Murder as “the first capital murder,” and called seven witnesses to testify about the

Holman murder. Appendix 1 at 2–3. 7 One of the witnesses, Ms. Wanda Johnson, told

police that she was outside of the Holman store when a car pulled up and man got

out with a 40-ounce beer bottle. He set down the beer bottle outside of the store and

then committed the murder. Appendix 1 at 13. The police, however, omitted from the




7One of the witnesses was a jailhouse informant named Joseph Montoyer who testified that while
cutting Mr. Hamilton’s hair in jail, he overheard Mr. Hamilton discussing a Holman Street robbery of
an Asian or Chinese man. Prior to Mr. Montoyer’s testimony, the prosecutor told the defense there had
been no deals in exchange for his cooperation. It was later revealed during trial that Mr. Montoyer’s
bond had been lowered in exchange for providing information to the state. Appendix 1 at 3.


                                                 5
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 7 of 137



statement they typed for Ms. Johnson that the shooter had held the bottle, and this

fact was not elicited at trial.

          Prosecutors devoted a substantial portion of their closing argument to

explaining why the jury should believe Mr. Hamilton committed the Holman murder.

The prosecution noted that the crimes were only a month apart, occurred in the same

area of town, around the same time, and occurred at convenience stores. The

prosecutor misled the jury by asking “[i]s it just a coincidence that there weren’t any

prints found at either scene?” Appendix 1 at 6. The prosecutor’s arguments also

misled the jury by suggesting there was no DNA to test in the Holman Murder, 8

averring that because the witnesses “didn’t come forward until two days later … there

was not any evidence there to collect at that time.” Appendix 1 at 6–7.

             2. “The State and its prosecution team—the Houston Police
                Department, trial prosecutors, investigators and fingerprint
                examiners—actively suppressed exculpatory evidence.” 9

          As the Hamilton post-conviction court recently found, the fingerprints on the

40-ounce beer bottle left by the suspect were the most reliable evidence of who

committed the murder. Appendix 1 at 16. Prior to trial, HPD compared the

fingerprints on the bottle against Mr. Hamilton and he was excluded. Recent post-




8 In fact, DNA was recovered from both the mouth of the beer bottle left by the assailant and from
beneath the fingernails of the victim. Appendix 1 at 19. In post-conviction proceedings, the parties’
experts disagreed whether the samples were suitable for comparison. Mr. Hamilton’s expert found
that Mr. Hamilton was excluded from having deposited the DNA on the bottle. Appendix 1 at 20. The
Hamilton court found that the DNA evidence collected at the scene, which had not been tested prior
to trial, was additional evidence that Mr. Hamilton was not involved in the Holman murder. Id. at 23–
24.

9   Appendix 1 at 24.


                                                 6
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 8 of 137



conviction testing has matched them to Mr. Marshall Knight, a repeat offender with

a record that includes aggravated robbery with a deadly weapon and who more closely

matched the eye-witnesses’ physical description of the shooter. Appendix 1 at 16.

      Pursuant to HPD policy, the exclusion of Mr. Hamilton as the person who

deposited the bottle was omitted from the police report. Appendix 1 at 26–27. HPD

policy was “to only make an offense report supplement if there was a fingerprint

match found.” Appendix 1 at 27. In Hamilton, the HCDAO prosecutor dispatched an

investigator to, inter alia, check the fingerprint results. Appendix 1 at 31. The

investigator testified that he prepared a memo to the prosecutor well before trial

informing her that Mr. Hamilton had been eliminated as a possible match to the

fingerprints on the bottle; he was confident that the prosecutor knew this

information. Appendix 1 at 31. Yet, as noted supra, prosecutors represented to both

the court and defense during a pretrial conference that there were no fingerprint

comparisons or other testing results in connection with either the Yellowstone or

Holman Murders.

      One of the key witnesses in the 2019 state post-conviction proceedings was Ms.

Debbie Benningfield, who worked for HPD from 1975 to 2006. Ms. Benningfield was

intimately familiar with the protocols of HPD’s Identification Department during this

period: she “spent her entire career in the HPD Identification Department”;

“previously worked in the Ten Print Section, where her job was to record fingerprints

of people who were arrested”; and “[e]ventually . . . became the manager of the AFIS




                                         7
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 9 of 137



for HPD.” Appendix 1 at 25. Ms. Benningfield testified about her work on Mr.

Hamilton’s case and the policies of the HPD Identification Department.

      The court found that Ms. Benningfield “knew, prior to trial, that the four prints

suitable for comparison collected at the scene of the Holman Murder excluded Ronald

Hamilton, and his co-defendant Shawon Smith, from having left the prints” but she

“actively suppressed this evidence by not making a supplement to the police report.”

Appendix 1 at 30. Further, even the fact that “[Ms.]Benningfield compared the

fingerprints found at the scene, and on the 40 oz. Schlitz malt liquor bottle, to both

Ronald Hamilton and Shawon Smith prior to trial . . . was never mentioned in her

offense report supplements.” Appendix 1 at 28. “[Ms.] Benningfield did not make a

notation in the offense report about this exclusion because ‘if we did not identify the

print, we did not type a supplement if we excluded it.’” Id. (quoting Ms. Benningfield’s

2019 testimony). However, “the information about the exclusion would be relayed to

the person who requested the comparison” — a HPD detective investigating the case.

Id. Thus, the court found that at least one of the HPD detectives “knew that Hamilton

had been excluded from leaving the prints found at the scene.” Id.

      Postconviction testimony established that the HCDAO prosecutors who tried

the case also knew that Mr. Hamilton had been excluded from leaving the prints

found on the beer bottle. HCDAO investigator George “Buddy” Barringer testified

that he was asked by trial prosecutor Colleen Barnett check for fingerprint results in

both the Yellowstone Murder, and in the separate Holman Murder, and was

“confident” that the trial prosecutor would have known Hamilton was eliminated



                                           8
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 10 of 137



from having left the prints found at the scene of the Holman murder. Id. at 31. The

trial court credited his testimony and found that the prosecutor knew or should have

known, prior to trial, that Hamilton had been excluded from leaving any of the prints

found at the Holman murder scene. Id. at 32.

      Notably, Barringer’s memo was in the prosecution’s file but suppressed

throughout Mr. Hamilton’s trial, his initial state habeas corpus proceedings, and

federal habeas proceedings in the United States District Court:

      It was not until just before the June 21, 2019, hearing that the DA’s
      office turned over the pretrial memorandum written to [prosecutor]
      Colleen Barnett which shows that the trial prosecutors were aware,
      prior to trial, that Hamilton’s fingerprints did not match those found on
      the 40 oz. beer bottle.

Id. at 43. HCDAO’s post-conviction prosecutors professed ignorance of the HPD’s

policy of not documenting exclusions, stating they had only just learned in 2019 of

the pretrial fingerprint analysis in Mr. Hamilton’s case. Id. As the trial court

concluded, “if the [post-conviction] attorneys working for the State of Texas did not

know that the prints in this case had been compared to Hamilton’s and excluded, then

Hamilton’s attorneys could not have known” either. Id. at 42–43.

         3. HPD suppressed of exculpatory evidence pursuant to policies
            and standard practices that were not abandoned until well after
            the trials of Mr. Medina and Mr. Hamilton.

      Ms. Benningfield’s testimony established that it was the “policy” and “standard

practice” of the HPD Identification Division to report only inclusions in their police

reports; if a suspect was eliminated, no report would be generated. Id. at 27; 29; 31;

40. According to Ms. Rachel Green, a fingerprint examiner for the Houston Forensic



                                          9
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 11 of 137



Science Center (“HFSC”) which has replaced the HPD crime lab, “the former HPD

crime lab has since changed its policy” and now documents all comparisons regardless

of the outcome. Id. at 41. Ms. Green joined the former HPD lab in 2006, the same year

Ms. Benningfield departed. Id.

      Ms. Benningfield was not the only HPD analyst to testify to HPD’s policy of

not documenting exclusions. A firearms examiner testified in the 2019 hearing that,

prior to Mr. Hamilton’s trial in 2002, he had been asked to compare shell casings from

the Yellowstone Murder (to which Mr. Hamilton admitted) to shell casings from the

Holman Murder. “Once again, . . . there was also an elimination” but “no offense

report supplement was ever made concerning this comparison.” Id. at 40. The HPD

firearm examiner explained that he would have conveyed the result to the

investigating officers but “it was not the standard practice of HPD at the time of trial

to document eliminations.” Id. at 40–41. However, “[h]ad there been an identification

between the two shell casings, then there would have been a report made.” Id. The

Hamilton court found “that the firearm examiner's testimony is yet more proof that

it was the practice of the HPD crime lab to create supplemental offense reports when

identifications were made, but to not make supplemental reports if exclusions were

made.” Id. at 41.

      The suppression resulting from HPD’s policy of omitting exculpatory testing

from its official reports was exacerbated by a practice of intentionally stonewalling

non-law enforcement people seeking information. Ms. Benningfield testified that

“members of the District Attorney’s Office could simply call the lab and ask if



                                          10
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 12 of 137



fingerprints had been compared, and learn the results,” but “[t]his would not happen

with defense attorneys.” Id. at 27. “If a defense attorney called, the examiner would

not discuss a case with them, but would notify HPD legal about the defense’s request

to speak with the examiner.” Id. Indeed, “[d]uring [Mr. Hamilton’s recent] state

habeas proceedings, Debbie Benningfield refused to have a meeting with habeas

counsel without the Assistant District Attorney’s being present,” and testified that

the “same would have been true prior to Hamilton’s trial—Benningfield would not

have spoken to defense counsel, but would have referred them to HPD legal.” Id. at

30. The Hamilton court found that “[t]his policy compounded the problem in this case,

and amounts to an active suppression of evidence.” Id. at 27

                                         ****

      Mr. Hamilton’s trial prosecutors defied a pretrial order to disclose forensic

testing and represented to the court and defense counsel that there were no

fingerprint comparisons done. The HCDAO resisted Mr. Hamilton’s efforts to develop

his claims, insisting as late as 2017 that “here, there is no indication the evidence

had been tested prior to trial, or that the State was in possession of the results of this

testing.” Id. at 42. Thus, as the Hamilton court found, “[e]ven the representatives of

the Harris County District Attorney’s Office, throughout these current proceedings,

were not aware that the fingerprints had previously been tested.” Id. The exculpatory

evidence was buried by design in the non-public files of HPD and the HCDAO.

Hamilton illustrates why HCDAO prosecutors cannot be relied upon to produce

exculpatory evidence that emerges during an HPD investigation.



                                           11
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 13 of 137



        B.     Prible v. Davis: Hiding Brady evidence in the HCDAO “work
               product” file.

             1. Mr. Prible’s conviction depended on two key pieces of evidence:
                the testimony of a jailhouse informant and DNA allegedly
                deposited contemporaneously with the murder.

        Ronald “Jeff” Prible was sentenced to death for killing a couple, Steve Herrera

and Nilda Tirado, and starting a fire that killed three children in the home. According

to the court, “the State’s case against Mr. Prible was not strong,” and “rested on six

main facts:”

        The State presented evidence that: 1) [Prible] was the last person seen
        with Steve at the house prior to the murders; 2) he had a motive to kill
        Steve; 3) the bullets that killed Nilda and Steve were fired from the same
        weapon; 4) [Prible’s] sperm was deposited in Nilda’s mouth at some
        point prior to her death; 5) a fire was set to destroy physical evidence,
        including evidence of [Prible’s] DNA; and 6) [Prible] admitted to [fellow
        federal inmate Michael] Beckcom that he committed the murders.

Prible, 2020 WL 2563544, at *2 (citing Prible v. State, 175 S.W.3d 724, 730 (Tex. Crim.

App. 2005)). As the federal court observed, “most of this evidence does not explicitly

inculpate Prible in the murders.” Id. Indeed, “[t]he State’s case rested on two facts:

(1) a single witness who testified that Prible confessed to the murders and (2)

testimony suggesting that Prible’s DNA had entered Tirado’s mouth only a short

while before her death.” Id. at *21.

        The State’s star witness was Michael Beckcom, who was housed with Mr.

Prible in a federal prison when Mr. Prible was indicted for capital murder. 10 Mr.



10The capital murder occurred in 1999. Mr. Prible was questioned at the time and informed the police
that he was having an affair with the female victim and had engaged in consensual oral sex with her
on the night she died. Mr. Prible had an alibi: a teenage neighbor had seen the male victim drop Mr.
Prible off at his home before the crime. Thus, Mr. Prible was not even arrested. Two years later, Harris
County prosecutor Kelly Siegler reviewed the case and—without any new evidence—charged Mr.

                                                  12
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 14 of 137



Beckcom testified that Mr. Prible confessed to him and another inmate named

Nathan Foreman (Mr. Foreman did not testify at trial). Prior to trial, the defense

sought discovery of information related to Beckcom, including information about the

State’s contacts with Beckcom and the terms of any deals Beckcom had with the

prosecution. Id. at *2. The prosecutor balked at providing information about her

contacts with the informant witness or her notes, and the trial court agreed that this

information constituted work product. Id. *3. The prosecutor stated that she agreed

to notify the AUSA who prosecuted Beckcom about the informant’s cooperation, but

downplayed the significance of this by stating she had no control over whether the

AUSA would do anything with this information and, if he did, whether the federal

judge would reduce Beckcom’s sentence. Id.

       The other pillar of the State’s case was the fact that Mr. Prible’s semen had

been found in Ms. Tirado’s mouth, but

       [l]ong before Prible was charged with capital murder, the prosecution
       knew that Prible’s semen had been found in Tirado’s mouth. That fact
       alone was not necessarily inculpatory. The evidence did not suggest that
       Tirado had been sexually assaulted, and while Prible admitted that he
       had sexual relations with Tirado, he claimed that it was consensual and
       had occurred long before the murders.

Id. at *31. Thus, “the prosecution . . . needed to prove that ‘[t]here is no way in the

world that that semen wasn’t deposited either moments before or seconds after

[Tirado] died.’” Id. at *31 (quoting the prosecutor’s argument at trial).




Prible with capital murder. Prible, 2020 WL 2563544 at *1–*2. At the time he was indicted, Mr. Prible
was serving time in a federal prison for bank robbery. Id. at *2.


                                                 13
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 15 of 137



      The State called two expert witnesses to testify about the DNA evidence. Chief

Harris County Medical Examiner Dr. Joye Carter “did not help the State’s theory

that Prible’s sexual contact with Tirado had to have occurred seconds before she was

killed,” as she “testified that sperm cells can be found in a person’s mouth for hours

after ejaculation.” Id. at *31. The State “bolstered its theory with testimony from

William Watson, an expert in molecular biology,” who testified that “the quantity of

the DNA sample was inconsistent with the semen being deposited into Tirado’s

mouth as long as an hour before she was killed.” Id. His testing “certainly would be

consistent with” Prible depositing the semen in Tirado’s mouth “moments, if not

seconds, before she was killed.” Id.

      The prosecutors’ closing arguments highlighted the importance of Mr.

Beckcom’s testimony and the DNA evidence. First, “[p]rosecutor Vic Wisner’s closing

focused on two factors: Beckcom’s testimony and the DNA evidence.” Id. at *7. Mr.

Wisner urged the jury to believe Mr. Beckcom because “everything he’s telling you

about what happened is the truth.” Id. Mr. Wisner argued that, “to believe the

defense’s case, jurors would have to find that ‘this Defendant is the unluckiest,

unluckiest [sic] criminal defendant who’s ever set foot in a courtroom.’” Id. Mr. Prible

was unlucky “because the semen found in Ms. Tirado’s mouth ‘had to come right

before she was killed or after she was killed,’ ‘[t]here is no way in the world that that

semen wasn’t deposited either moments before or seconds after Nilda died.’” Id.

(quoting HCDAO prosecutor Vic Wisner’s closing argument).




                                           14
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 16 of 137



      After the defense closing, jurors last heard “an emotionally charged argument”

from HCDAO prosecutor Kelly Siegler. Id. Ms. Siegler:

      challenged the defense DNA expert’s testimony by being “crude for a
      minute” and suggesting that it depended on Prible having “some kind of
      magic semen, magic sperm that somehow lives longer than any of y’alls
      or any other man’s in this whole universe.” Siegler continued that, to
      believe the defense, jurors would have to assume that “his semen is so
      tasty that she walked around savoring the flavor of it in her mouth for
      a couple hours.” In crass language, Siegler described Prible as someone
      so depraved that he could kill Tirado while sexually excited. Siegler
      summed up her argument: “[I]f Jeff Prible had managed to control his
      ejaculation and his mouth, he might not have ever been caught.”

Id. (record citations omitted). Turning to Mr. Beckcom, Ms. Siegler acknowledged

that he was himself a murderer but she asked the jury to consider the detailed nature

of his testimony:

         But the most important thing, how would Mike Beckcon [sic] know
         all the things that he does know unless the killer told him? Whose
         fault is it that Mike Beckcom came to court? It’s Jeff Prible’s for
         telling him. And whose fault is it that Mike Beckcom knew all the
         details? Jeff Prible’s for telling him. And how did Mike Beckcom
         know all the details? Because Jeff Prible did it. That’s how he knows
         all these details.

Id. at *8. The jury convicted Mr. Prible and subsequently sentenced him to death.

         2. The HCDAO maintained an “open file” for defense counsel’s
            inspection but stored Brady evidence in a dense “work product”
            file that only came to light when the Federal District Court
            ordered the HCDAO to produce its file for inspection.

      As in Hamilton and Mr. Medina’s case, throughout Mr. Prible’s post-conviction

proceedings, the HCDAO answered all Brady requests with the assertion that it

maintained an “open file.” Id. at *25 (in her federal deposition testimony, “[Ms.]

Siegler claimed that she had an ‘open file’ policy and did not maintain a separate



                                         15
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 17 of 137



work product file.”). As in Hamilton and Mr. Medina’s case, however, the existence of

a file open to the defense did not guarantee access to Brady evidence:

        In reality, however, the State maintained a dense work product file
        containing a significant amount of exculpatory information that was not
        disclosed to the defense, including notes memorializing meetings with
        Foreman and Beckcom concerning Prible’s case, letters from several
        [other] inmates . . . trying to inform on Prible, and a note revealing that
        Siegler had consulted Pam McGinnis,[ 11] the head of the Harris County
        Crime Lab, who told her semen could live up to seventy-two hours in the
        mouth. These materials came to light only because of court proceedings
        and court orders occurring after Prible filed his initial federal petition.

Id. at *25.

        Buried in the HCDAO “work product” file was evidence of numerous

undisclosed contacts with Mr. Beckcom and other jailhouse informants with whom

he was housed that told very different story from the one jurors heard at trial: the

“suppressed documents reveal[ed] the extent of Siegler’s involvement with the ring

of informants and, in particular, Beckcom.” Id. at *31. The Prible court described

these documents in great detail and concluded that

        the suppressed evidence—the letters to Siegler, the new information
        about Foreman, and the numerous other documents uncovered in
        Siegler’s work product folder—reveals an orchestrated effort by a ring of
        informants to fabricate a confession from Prible in return for sentence
        reductions. Had this evidence been disclosed, the defense could have
        argued not only that Beckcom was part of a ring of informants that
        sought to obtain incriminating evidence against Prible for their own
        gain, but also that Beckcom, the State’s star witness, had in fact
        fabricated and falsified evidence against Prible.

Id. at *33. Additionally, the “work product” file contained “[d]ocuments showing that,



11The Prible opinion refers to the head of the Harris County Crime Lab as both Pam “McGinnis” and
“McInnis.” The latter is the correct spelling.


                                               16
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 18 of 137



after Prible’s trial, Siegler strenuously lobbied Beckcom’s AUSA for a time cut and

evidently even recruited an AUSA working out of the Houston office to weigh in on

Beckcom’s behalf.” Id. at *31.

        Moreover, the Prible court’s inspection of the HCDAO “work product” file

revealed a suppressed expert opinion—from a law enforcement crime lab—

torpedoing the prosecution’s theory that the semen was deposited “moments before

or seconds after” the victim died:

        This Court performed an in camera review of the State’s work product
        file. Siegler’s notes revealed that she had investigated the survival
        period for semen to determine a PMI.[ 12] Siegler’s notes revealed that
        she had contacted Pam McInnis, the head of the Harris County Crime
        Lab. McInnis told Siegler that semen can survive in the mouth for up to
        seventy-two hours. Siegler made a note about this but buried it in her
        work product file rather than reveal it to the defense.

Id. at *32.

        After ordering discovery and an evidentiary hearing, the District Court

concluded:

        Without question, the prosecution in this case engaged in a pattern of
        deceptive behavior and active concealment. And the evidence
        suppressed sufficiently serves to controvert the primary basis for
        Prible’s conviction. Simply put, the prosecution withheld material
        evidence.

Id. at *35. The Court concluded that the HCDAO had suppressed exculpatory and

impeachment evidence in violation of Brady and used a jailhouse informant to




12“PMI” stands for “perimortem interval,” here the time between oral sex with the victim and her
death. Id. at *31.


                                              17
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 19 of 137



question a defendant in violation of Massiah and ordered a new trial. 13

II.      Hamilton and Prible are relevant to issues before this Court.

         A.    Discovery is the only mechanism for dislodging Brady evidence
               from the HCDAO and HPD.

         Mr. Medina requests discovery of exculpatory information contained in

HCDAO and HPD files and access to the individual law enforcement personnel with

relevant knowledge regarding the investigation and prosecution of this case. See Doc.

#148 (Motion for Discovery and an Evidentiary Hearing, and Memorandum of Law

in Support); Doc. #159 (Reply to Respondent’s Response to Petitioner’s Motion

Discovery and an Evidentiary Hearing, and Memorandum of Law in Support). Mr.

Medina has pled specific facts demonstrating, inter alia, that the HPD failed to

document exculpatory information in their police report (such as information from

eye-witnesses who reported seeing “African American” assailants) and that the

HCDAO suppressed a deal with a key prosecution witness. See Doc. #53 at 159–82;

Doc. #93 at 130–47. Even without the recent decisions described above, Mr. Medina

has documented the HCDAO’s pattern and practice of withholding exculpatory

information as “work product.” Doc. #133 at 77–78. Courts have held that even the

most senior HCDAO prosecutors from the era in which Mr. Medina’s case was tried

lacked a proper understanding of their Brady obligations. Doc. #133 at 74–87.




13Respondent argued throughout that the HCDAO’s conduct in Prible did not violate Brady; it has
noticed an appeal to the United States Court of Appeals for the Fifth Circuit. Prible v. Davis, No. 20-
70010 (5th Cir.).


                                                  18
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 20 of 137



        Hamilton demonstrates that until at least 2006, ten years after the

investigation and prosecution of this case, HPD had a policy and practice of not

documenting exculpatory information and stonewalling defense counsel. HCDAO

prosecutors represented to the court that they were unaware of HPD’s policy until

2019. Taken at face value, the prosecutors who tried Mr. Medina and opposed his

applications for state habeas relief may have had no reason to think HPD possessed

exculpatory information about this case. This fact alone is cause for great concern.

        Critically, however, Hamilton casts new light on the only forensic evidence

linking anyone to this crime: four identifiable latent palmprints 14 found on the bag in

which the murder weapon was stashed after the crime. See Doc. #53 at 45. When the

gun was recovered wrapped in plastic bags, the lead HPD detective submitted the

package to the HPD fingerprint section. The detective asked that any prints

recovered be compared against Mr. Medina and his cousin, Alex Perez. Id. Although

the fingerprint examiner discovered that two of the palmprints belonged to the other

suspect in the case—Dominic “Flaco” Holmes—in March of 1996, no supplement to

the police report was prepared until several months later, shortly before trial.

        Mr. Jimmy L. Schraub, the HPD fingerprint analyst in this case, testified in

1996 that he had worked in the HPD latent fingerprint laboratory for eleven years,

13 RR 1520, thus he was a contemporary of Ms. Debbie Benningfield and presumably

adhered to the HPD policies described in Hamilton. At trial, the prosecutor asked Mr.


14 The HPD examiner testified that an “identifiable” latent print is “one that contains sufficient clarity
and . . . enough . . . characteristics to make a direct comparison of the latent fingerprint to [an] inked
fingerprint.” 13 RR 1526.


                                                   19
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 21 of 137



Schraub whether he compared the palmprints to Mr. Holmes, but there was no

discussion of whether the prints were compared to anyone else and, if so, what results

were obtained. Two of the four identifiable palmprints belonged to Mr. Holmes, but

the prosecutor did not ask, and Mr. Schraub did not volunteer, whether the

contributor of the other prints had been identified and, if so, who it was. Id.

          To this day, Mr. Medina does not know whether HPD determined who

deposited the other two palmprints on the bag in which the murder weapon was

hidden, or even the identity of the people whose prints were compared to those prints.

Hamilton explains these deficits in the HPD report and testimony, substantiates an

inference that any undisclosed information about the testing of the palmprints is

exculpatory, and confirms that this information is only available through the

requested discovery.

          Additionally, in his motions for discovery, Mr. Medina has pointed to specific

evidence that is mentioned obliquely in HPD reports but is not otherwise

documented. For example, the report refers to the fact that a witness reported seeing

an “African American” assailant but does not identify the witness or provide any

other information.

          As Mr. Medina has informed this Court, his counsel have repeatedly invoked

the Texas Public Information Act (“PIA”) to review materials in possession of the

HCDAO and HPD. See Doc. 148 at 8–9. But cases like Hamilton and Prible, as well

as a number of others briefed by Mr. Medina, 15 illustrate why PIA requests are no


15   See Doc. #133 at 87–94.


                                            20
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 22 of 137



substitute for discovery in Harris County cases. As in Hamilton and Prible, Mr.

Medina’s counsel have seen the HCDAO’s “open file” and a dense “work product” file

remains withheld from him. See Doc. 148 at 8–9. As the Court noted in Prible, ‘“[t]he

privilege derived from the work-product doctrine is not absolute.’” Prible, supra, at

*25 n.21 (quoting United States v. Nobles, 422 U.S. 225, 239 (1975)). Brady trumps

the HCDAO’s work product privilege: ‘“Because Brady is based on the Constitution,

it overrides court-made rules of procedure. Thus, the work-product immunity for

discovery . . . prohibits discovery . . . but it does not alter the prosecutor’s duty to

disclose material that is within Brady.”’ Id. (quoting 2 Charles Alan Wright, Federal

Practice and Procedure § 254.2 (3d ed. 2000)). Yet, as illustrated in Hamilton, Prible,

and other cases described in Mr. Medina’s prior briefing, HCDAO prosecutors stash

exculpatory evidence in their work product files.

      Given the HCDAO’s documented failure to understand its Brady obligations,

see Doc. #133 at74–87, and its use of “work product” files to shield Brady materials,

the Respondent’s reassurances that Mr. Medina has had access to the HCDAO’s

public file are irrelevant. See Doc. #151 at 11–12. Respondent describes HCDAO’s

withholding of a dense “work product” file as “unremarkable.” Id. at 11. Remarkable

or not, burying Brady information in the work product file is unconstitutional.

      As previously briefed, HCDAO prosecutors held pretrial meetings with key

prosecution witnesses and subsequently elicited trial testimony that materially

differed from those witnesses’ sworn statements to HPD. See, e.g., Doc #148 at 11–

13. Though prosecutors obviously knew that the witnesses would contradict their



                                          21
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 23 of 137



prior sworn statements to the police, they did not provide any information about these

witness interviews to the defense. Evidence that prosecution witnesses lied to HPD

under oath is obviously Brady material, as is information about deals with witnesses

and other information identified by Mr. Medina. Respondent’s reflexive resort to the

trope that all discovery requests are “fishing expeditions” notwithstanding, Doc. #

151 at 11, Mr. Medina has identified the specific information he seeks and has

exhaustively documented HCDAO’s pattern of withholding Brady material as “work

product.” Mr. Medina has thus established good cause of for discovery.

      Additionally, pursuant to Mr. Medina’s PIA request, HPD has disclosed only

the official police report from this case. Pursuant to the HPD policies described in

Hamilton, these materials—by design—do not contain exculpatory identification

information.

      The HPD and HCDAO successfully withheld Brady materials in Hamilton and

Prible throughout trial, initial state habeas proceedings, and into federal habeas

proceedings. Only court-ordered fact development dislodged the information that the

prosecution had an affirmative duty to produce years beforehand. Mr. Medina seeks

only the same opportunity to prove his claims.

      B.       Mr. Medina is not at fault for the failure to secure the evidence
               withheld by the State needed to prove prosecutorial misconduct
               claims.

      Throughout these proceedings, Respondent has faulted Mr. Medina for not

providing more proof of the State’s misconduct. See, e.g., Doc. #151 (Mr. Medina “has

not provided information that the State had deals with any prosecution witnesses”).



                                         22
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 24 of 137



Mr. Medina, however, is similarly situated to Mr. Prible in this regard.

       Mr. Prible first heard about Ms. Siegler’s ring of informants after he arrived

on death row. He had no documentation but alleged the issue in two pro se state

habeas applications filed while his initial state application was pending, both of

which were dismissed as abusive. Prible, supra, at *8–*9. Mr. Prible alleged his

claims in federal court and, like Mr. Medina, requested fact development. The Court,

as in Mr. Medina’s case, denied requests for fact development without prejudice and

directed Mr. Prible to exhaust his claims in state court. Id. at *9; see also Prible v.

Davis, No. 09-cv-01896 (S.D. Tex. April 30, 2010) (Doc. #23).

       In support of his claims in the state court exhaustion proceedings, Mr. Prible’s

counsel was able to interview one of Ms. Siegler’s informants, Carl Walker, but he

could not secure an affidavit from Walker and instead submitted a transcript of the

interview. The CCA directed the trial court to hold a hearing on whether Mr. Prible’s

claims were previously unavailable and ultimately dismissed them as abusive. Id. at

*12.

       Upon his return to federal court, Mr. Prible was, for the first time, permitted

the fact development necessary to prove his claims. Id. at *12–*19. The materials—

documenting the ring of informants and attempts to fabricate statements from Mr.

Prible, as well as an opinion undermining the prosecution’s presentation of the DNA

evidence—were hidden in the HCDAO “work product” file. The federal court thus

determined that Mr. Prible had shown cause for the failure to develop and litigate his

claims on the merits in state court. First, the State itself was responsible for



                                          23
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 25 of 137



suppressing the proof necessary to substantiate his allegations:

      Although Prible may have suspected prosecutorial misconduct,
      including Brady violations, during the course of state court proceedings,
      Siegler’s efforts to suppress evidence of her contacts with Beckcom and
      the other informants left Prible with no concrete evidence to support
      such a claim during those proceedings, despite Prible and his counsel’s
      diligent efforts to discover such evidence. Prible may not be penalized
      for failing to raise claims for which he lacked any evidence.

Id. at *26. Second, Texas law imposed obstacles to developing and exhausting claims

in successive state proceedings:

      Prible also had no means to compel . . . testimony through court-ordered
      process. Texas law does not authorize discovery on subsequent
      applications unless a court finds that the application meets the
      requirements of Article 11.071 § 5, and the Texas Court of Criminal
      Appeals found that Prible did not meet those requirements.

Id. at *26 n.22.

      “In sum,” the court concluded, “Siegler’s suppression of evidence created an

external obstacle that impeded Prible’s ability to bring his Brady claims during state

habeas proceedings” and thus her “actions in this case therefore provide cause to

forgive the procedural default of Prible’s Brady claims.” Id. at *27.

      Mr. Medina has diligently requested discovery of Brady information at every

turn, including pre-trial and throughout state habeas proceedings. Like Mr. Prible,

Mr. Medina is not at fault for failing to produce evidence in the exclusive possession

of the State to which he has been denied access. Mr. Medina will likewise be able to

show cause to overcome any procedural default related to evidence suppressed by the

HCDAO.

                                   CONCLUSION



                                          24
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 26 of 137



      Mr. Medina respectfully submits the above authorities in support of his claims

for relief, his requests for discovery and evidentiary hearing, and his arguments that

this Court has the authority to consider and grant relief on prosecutorial misconduct

issues after the facts are fully developed.

                                         Respectfully submitted,

                                         /s/ James Marcus
                                         James William Marcus
                                         Texas Bar No. 00787963
                                         Capital Punishment Clinic
                                         University of Texas School of Law
                                         727 E. Dean Keeton Street
                                         Austin, Texas 78705
                                         TEL: 512-232-1475
                                         FAX: 512-232-9197
                                         jmarcus@law.utexas.edu

                                         Jason D. Hawkins
                                         Federal Public Defender

                                         Jeremy Schepers (Texas Bar No. 24084578)
                                         Jessica Graf (Texas Bar No. 24080615)
                                         Capital Habeas Unit
                                         Office of the Federal Public Defender
                                         Northern District of Texas
                                         525 Griffin Street, Suite 629
                                         Dallas, Texas 75202
                                         TEL: 214-767-2746
                                         Jeremy_Schepers@fd.org
                                         Jessica_Graf@fd.org

                                         Counsel for Petitioner Anthony Medina




                                              25
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 27 of 137



                             Certificate of Service

     I hereby certify that a true and correct copy of the foregoing has been served

by CM/ECF upon counsel for Respondent:

                        Mr. Garrett Greene, Esq.
                        Office of the Texas Attorney General
                        300 W. 15th Street, 8th Floor
                        Austin, Texas 78701
                        Telephone: (512) 936-1400
                        Email: garrett.greene@oag.texas.gov

     This 30th day of June, 2020.

                                      /s/ James Marcus
                                      James Marcus




                                        26
Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 28 of 137




               Appendix 1
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 29 of 137 10/14/2019 2:52 PM
                                                                    Marilyn Burgess - District Clerk Harris County
                                                                                         Envelope No. 37631616
                                                                                                       By: T Reed
                                                                                      Filed: 10/14/2019 2:52 PM
                                                                                                       Pgs-66
                                Cause No. 0901049-B
                                                                                                       ADDO
                                                                                                       (982)

THE STATE OF TEXAS                      §             IN THE DISTRICT COURT

                                        §




                                                                       k
                                                      180th JUDICIAL DISTRICT




                                                                    ler
v.                                      §




                                                                 tC
                                        §




                                                             ric
RONALD HAMIL TON, JR.                   §             HARRIS COUNTY, TEXAS




                                                          ist
                                                       sD
                                                     es
     APPLICANT HAMILTON'S PROPOSED FINDING OF FACT AND CONCLUSIONS OF




                                                  rg
                                  LAW

                                                Bu
        The Texas Court of Criminal Appeals remanded Claim One of Ronald
                                             n
Hamilton's subsequent application for writ of habeas corpus to this Court for
                                            ily
                                        ar


consideration. See September 12, 2018, Order. Claim One consists of three sub-
                                     M




claims which all relate to whether or not Hamilton committed an extraneous capital
                                  of
                                e




murder (hereinafter referred to as the "Holman Murder") used against him at his
                             ffic




punishment trial.     Claim One alleges: (1) that the State presented materially
                          O




inaccurate evidence that Hamilton had committed the Holman Murder in violation
                         y
                      op




of the Eighth Amendment to the U.S. Constitution; (2) that the State presented false
                   C




and misleading evidence that Hamilton had committed the Holman Murder in
                 ial




violation of the Federal Due Process Clause, and the Texas Constitution's Due
              fic




Course of Law provisions; and (3) that the State suppressed favorable evidence that
            of
        Un




was material to proving Hamilton did not commit the Holman Murder in violation
of Due Process. Additionally, as part of sub-claims one and two, Hamilton presented
that the State misled the trial court about the existence of a plea deal with Hamilton's


                                            1
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 30 of 137




co-defendant, Mr. Shawon Smith, allowing inaccurate, misleading, and false
evidence to go uncorrected.

        This Court finds that Mr. Hamilton has proven the constitutional violations
alleged in Claim One, and each of its sub-claims, and recommends that the Texas




                                                                       k
                                                                    ler
Court of Criminal Appeals grant relief and order that a new punishment hearing be




                                                                 tC
held in this matter.




                                                             ric
                                                          ist
                                  FINDINGS OF FACT




                                                       sD
I.      EVIDENCE PRESENTED AT TRIAL.




                                                    es
        Hamilton was indicted and charged with the offense of capital murder - for


                                                  rg
                                               Bu
the shooting death of Ismail Matalkah, a convenience store clerk, during the
                                               n
commission of a robbery (hereinafter the "Yellowstone Murder"). 16 RR at 10-18.
                                          ily

Hamilton entered a guilty plea to the indicted capital murder charge and the case
                                        ar



proceeded directly into the punishment phase. It was during this punishment phase
                                     M
                                  of




that the State introduced evidence of an extraneous capital murder - the Holman
                                e




Murder.
                             ffic
                          O




        A.    Evidence presented regarding the extraneous Holman Murder.
                          y
                       op




1.      The trial prosecutors, Colleen Barnett and Luci Davidson, represented to both
                   C




        the Court and defense during a pretrial conference that there were no
                ial




        fingerprint comparisons, or other testing results in connection with either the
             fic
             of




        Yellowstone or Holman Murders. 2 RR at 7-8, 13-14.
        Un




2.      The Holman Murder became the focus of the prosecution's case. The State
        discussed the Holman Murder in opening statements, referred to Yellowstone
        murder as the "first capital murder," called three police officers to testify
        about the Holman murder, called three civilian witnesses to testify about the
                                           2
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 31 of 137




        murder, and called medical examiner Paul Shrode who testified that the
        Holman murder was similar to the Yellowstone murder. 16 RR at 22-25; 17
        RR at 198-224, 224-299; 18 RR at 8-98, 98-102.
3.      The first witness the State called concerning the Holman murder was inmate




                                                                        k
        Joseph Montoyer. Montoyer testified that he cut Mr. Hamilton's hair in jail,




                                                                     ler
        and that he overheard Hamilton discussing a "Holman Street" robbery of an




                                                                  tC
        Asian or Chinese man.      17 RR at 182-88. Montoyer later explained the




                                                              ric
                                                           ist
        information about a "Chinese man" was not included in his statement to




                                                        sD
        police, and that he used the term "Holman" as a reference to a general area of




                                                      es
        Houston, not the street in particular. Id. at 188, 193-95, 197.



                                                   rg
4.      Prior to Montoyer' s testimony, trial prosecutor Luci Davidson told the defense
                                                 Bu
        that there had been no deals in exchange for Montoyer' s cooperation. 17 RR
                                                 n
        at 179-80. It was later revealed that Montoyer' s bond had been lowered in
                                          ily
                                        ar


        exchange for providing the information to the State.        19 RR at 113-17.
                                     M




        Montoyer admitted that he had two convictions for forgery, and a prior felony
                                   of




        conviction for possession of marijuana. 18 RR at 181, 19 RR at 128-29.
                                e
                             ffic




        Montoyer denied having any other felonies or crimes of moral turpitude
                          O




        besides the forgery. 17 RR at 195.
                         y
                      op




5.      Houston Police Department Officer Dunn was dispatched to the murder scene,
                   C




        located at 3235 Holman, at 6 p.m., on December, 9, 2001. 17 RR at 201.
                ial




        Officer Dunn knew the store owner, Mr. Huynh, by his nickname "Tulson."
             fic




        Through Officer Dunn, the State entered dozens of pictures of the Holman
           of
        Un




        crime scene, including gruesome pictures of Mr. Huynh lying in a pool of his
        own blood. Id. at 66-70.
6.      Houston Police Department Officer Thomas testified that he was friends with
        Mr. Huynh, knew that Mr. Huynh's wife had passed away shortly before Mr.

                                             3
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 32 of 137




        Huynh's murder, and pointed out Mr. Huynh's family in the courtroom. 17
        RR at 214-22. The prosecutors once again went over the pictures of Mr.
        Huynh lying in a puddle of his own blood. Id. at 218.
7.      Charles Douglas was an eyewitness to the Holman murder. He and his friend




                                                                        k
        Wanda Johnson walked to the Holman store on the night in question to




                                                                     ler
        purchase cigarettes and beer. 17 RR at 240. Douglas testified that he saw a




                                                                  tC
        man (he later identified in-court as Hamilton) at the counter of the store. Id.




                                                              ric
                                                           ist
        at 241, 259. Douglas took his beer and walked outside, looked back into the




                                                        sD
        store, and saw the man and Mr. Huynh struggling. Id. at 243. The man then




                                                     es
        shot Mr. Huynh one time, after which Douglas walked back into the store as



                                                  rg
        the man ran out. Id. at 24 7. Two days later Douglas met with a sketch artist
                                               Bu
        and helped to produce a sketch of the man. Id. at 249-50. Douglas was given
                                               n
        the sketch to take home with him. Id. at 254. Twenty days later, Douglas
                                          ily
                                        ar


        picked Hamilton out of a photo lineup. Id. at 256.
                                     M




8.      Mr. Douglas had originally identified the shooter as being a teenager weighing
                                  of




        140 pounds. 17 RR 254, 259. (Hamilton, who was born on April 21, 1977,
                                e
                             ffic




        was 24 years old at the time of the Holman Murder. Marshall Dwayne Knight,
                          O




        born on December 17, 1980, was 20 at the time of the murder). See also
                          y
                       op




        Defendant's Ex. 28 (District Clerk records showing that Knight weighed 150
                    C




        lbs.).
                    ial




9.      Wanda Johnson walked to the store with Mr. Douglas. 17 RR at 276. It was
                 fic




        dark when they arrived and she saw a dark two-door car parked on the side of
            of
        Un




        the store, and a man urinating over a bench and a 40-ounce beer bottle. Id. at
        277. A heavy-set black man was sitting in the driver seat of the car. Id. at
        279.     The man who was urinating walked into the store just before Ms.
        Johnson and approached the counter. Id. at 281-82. She made an in-court

                                           4
    Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 33 of 137




        identification that the man was Hamilton. Id. When she left the store, she
        heard a pop and saw Tulson (Mr. Huynh) fall to the floor. Id. at 283-85.
10.     Wanda Johnson also believed the shooter was in his late teens. 17 RR at 269-
        70. When she first met with police, she also believed that the shooter had an




                                                                                     k
        "afro." 18 RR at 56-57. She was given a copy of the police sketch just like




                                                                                  ler
        Mr. Douglas, and she looked at the sketch every day until she picked Hamilton




                                                                               tC
        out of a photo lineup weeks after the shooting. 17 RR at 295.




                                                                           ric
                                                                        ist
11.     Houston Police Department Detective Connie Park, one of the investigators




                                                                     sD
        for the Holman Murder, testified that the car and suspect descriptions in the




                                                                 es
        Yellowstone and Holman murders were similar. 18 RR at 43-44. She never



                                                              rg
        investigated whether the car used in the Yellowstone murder was available on
                                                          Bu
        the day of the Holman murder. 1 Park testified that prints had been found on
                                                         n
        the glass door of the store and on the 40 ounce bottle found outside of the store
                                                    ily
                                                 ar


        on a rail, and that none of the evidence tied back to Hamilton, or his Co-
                                             M




        Defendant, Shawon Smith.                 18 RR at 39-41.            However, no testimony
                                          of




        established the fingerprint evidence found at the scene had been compared to
                                       e
                                   ffic




        any suspects. Id.
                               O




12.     To combat the idea that Shawon Smith's car had not been used in the robbery,
                            y
                         op




        Detective Park falsely testified that Smith was not a suspect in this crime. 18
                      C




        RR at 45-47. 2
                  ial
               fic
            of
        Un




1
 The car used in the Yellowstone Murder was in a police impound lot on the day of the Holman murder. 18 RR at
110-12.



2
  We now know that Smith was a suspect in the Holman Murder, because he is listed as a suspect on the long-
suppressed evidence envelopes containing the fingerprint lifts in this case. See Defense Ex. 3, 4.

                                                     5
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 34 of 137




13.   Assistant Medical Examiner Paul Shrode testified that the Yellowstone and
      Holman murders were similar. 18 RR at 60-97. To prove the point, the State
      entered detailed photos of the autopsies of both complainant Matalkah and
      Huynh. Id. Prosecutor Barnett walked a picture of Mr. Huynh's brain in front




                                                                      k
      of the jury to drive the point home. Id. at 82-95.




                                                                   ler
14.   Immediately after showing the picture of Mr. Huynh's brain to the jury, the




                                                                tC
      State called Mr. Huynh's daughter to testify and entered a nice picture of




                                                            ric
                                                         ist
      Huynh.   18 RR at 97; State's Trial Exhibit 96. The State then rested its




                                                      sD
      punishment case.




                                                   es
15.   Prosecutor Luci Davidson presented the State's initial closing arguments. 21



                                                 rg
      RR at 4-25. She argued that "on December 9th of 2001, a little over one month
                                              Bu
      later, the defendant takes a gun, goes into the Tucson store and in a cold-
                                              n
      blooded manner blows away Mr. Tucson." 21 RR at 11. The jury was told
                                        ily
                                      ar


      "on December 9th of 2001 he blew away Mr. Tucson with one of his guns,
                                   M




      another unarmed man. That's how we know this defendant likes guns." Id. at
                                 of




      14. The jury was told Hamilton was frustrated he couldn't find a job so he
                                e
                            ffic




      killed Mr. Tucson. Id. at 16. Davidson spent four pages of closing argument
                           O




      explaining the reasons why the jury should believe Hamilton committed the
                      y
                   op




      Holman murder. Id. at 20-24. The prosecution noted the crimes were only a
                 C




      month apart, occurred in the same area of town, around the same time, and
              ial




      were at convenience stores. Id. at 21. The prosecutor also misled the jury by
           fic




      asking "[i]s it just a coincidence that there weren't any prints found at either
         of
      Un




      scene?" Id. at 22.
16.   Prosecutor Colleen Barnett made the State's final arguments. 21 RR at 69-
      91. Barnett repeatedly emphasized the two capital murders. Id. at 75, 77, 79,
      84-88.       Barnett argued: "[Hamilton] wanted to commit the two capital

                                          6
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 35 of 137




      murders," "[h]e is standing trial on two capital murder cases," "[W]e don't
      know what car he and Shawn used on that second capital. We don't know. I
      wish we did. We are doing everything we can to find it out. But we know he
      committed that second capital. And you know it, too.", "Even, ladies and




                                                                      k
      gentlemen, without that second capital, he is a future danger; but, with it, he




                                                                   ler
      is an absolute menace," "[Hamilton] will just go in there and kill the clerk a




                                                                tC
      second time," "[T]here is not a thing that you can do to him that is as horrible




                                                            ric
                                                         ist
      as what he did to Mr. Tucson." Id.




                                                      sD
17.   Prosecutor Barnett also misled the jury during her closing argument by




                                                    es
      suggesting there was no DNA to test in the Holman Murder. Id. at 85. The



                                                 rg
      State explained that because the witnesses "didn't come forward until two days
                                               Bu
      later. Certainly, there was not any evidence there to collect at that time." Id.
                                               n
      at 86.
                                         ily
                                      ar
                                   M




      B.       The prosecution's other future dangerousness evidence.
                                 of




18.   The State presented evidence during the punishment trial to prove that
                              e
                           ffic




      Hamilton had committed the Yellowstone Murder, the offense to which
                         O




      Hamilton had plead guilty. The State called Officer Wofshohl, who arrived
                        y




      the scene of the crime shortly after the shooting; Ms. Miller, who witnessed
                     op
                   C




      the suspects fleeing from the scene; and Ronald's friend Billy Norris to whom
                  ial




      Hamilton had confessed after the murder. 16 RR at 28-116. Brooke Rogers,
               fic




      Hamilton's child's mother, also testified that Hamilton had confessed to her.
           of
      Un




      Id. at 154-56. Officer Robertson testified about Hamilton's arrest which was
      based upon the tip from Brooke Rogers. Id. at 116-135. Detective Straughter
      explained the complete investigation into the Yellowstone murder, and fellow



                                           7
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 36 of 137




      clerk Ahmad N aimi explained what happened during the robbery that resulted
      in Mr. Matalkah's death.
19.   The State also presented evidence from Brooke Rogers (Hamilton's child's
      mother) about her various altercations with Mr. Hamilton -- specifically:




                                                                     k
      a. Mr. Hamilton was not a good father to their four-year-old son. 16 RR at




                                                                  ler
         136-40.




                                                               tC
      b. Mr. Hamilton and Brooke had fought about a remark another man made to




                                                           ric
                                                        ist
         her shortly after the birth of their son. She claimed that Hamilton had




                                                     sD
         kicked and pushed her, causing her to call the police. Hamilton took their




                                                  es
         child with him for the night, and did not bring him back till the next day.



                                                rg
         Id. at 161-62.
                                             Bu
      c. Hamilton and Brooke got into another fight where he assaulted her,
                                          n
         causing her to spray him in the eyes with air freshener, which prompted
                                        ily
                                     ar


         him to throw a telephone at her. Id. at 170-73; 17 RR at 62-70.
                                  M




      d. When asked if "he ever tried to shoot you," Brooke replied"[ a] while back.
                                 of




         I mean, he shot at me, but, I mean." 16 RR at 182. Brooke could not
                               e
                           ffic




         remember the year, month, or date that this event allegedly took place. Id.
                          O




20.   Mr. Hamilton had previously been arrested for various drug offenses:
                      y
                   op




      a. When Hamilton was 17 years old, and while he was walking down the
                   C




         street with his mom, he was arrested for possession of cocaine. 17 RR at
              ial




         26-29.
           fic




      b. Hamilton was arrested in 1997 - after he was caught running from a house
         of
      Un




         where marijuana was being sold. He was charged and plead guilty to
         felony possession of marijuana. 17 RR at 31-60.
      c. In 1998, Hamilton was stopped by police in a truck found to contain five
         grams of cocaine and a gun under the front seat.        17 RR at 106-07.

                                         8
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 37 of 137




                Hamilton was only charged with possession of a controlled substance and
                was sentenced to two years in prison. Id. at 111-12.
21.        Finally, the State offered evidence of Hamilton's misconduct while in the
           Harris County Jail. In 1997, Hamilton had been in a fight with a man named




                                                                                         k
           Ortiz in the county jail. 17 RR at 80. That same year, he admitted to putting




                                                                                      ler
           hair remover in another inmate's shampoo bottle. 17 RR at 114-16. In June




                                                                                   tC
           2002, Hamilton received two food trays during a meal. 17 RR at 127-28. Also




                                                                               ric
                                                                            ist
           in 2002, Hamilton fought with another inmate, Jason Gurley, who was in jail




                                                                         sD
           for aggravated assault with a deadly weapon. 17 RR at 141-48.




                                                                     es
           C.      Hamilton's dire upbringing and remorsefulness would provide a


                                                                  rg
                   convincing mitigation case, were it not for the extraneous capital
                   murder.                                    Bu
                                                             n
                                                        ily

22.         Billie Norris, a prosecution witness and friend of Hamilton's, explained that
                                                    ar



           his own dad and Hamilton's dad had been in prison together, that Hamilton's
                                                 M




           family consisted of drug addicts, that his mother was "walking the streets"
                                              of
                                           e




           when they were growing up, and that Hamilton was "fried out" 3 at the time of
                                      ffic




           the Yellowstone Murder. 16 RR at 90-101.
                                  O




23.        Norris also testified regarding Hamilton's remorsefulness about the
                                y
                             op




           Yellowstone Murder. Norris testified that Hamilton said "he made a mistake,"
                         C




           and that "he was sorry." 16 RR at 78-80. Norris testified that, following the
                     ial




           Yellowstone Murder, Hamilton was remorseful, started attending church
                  fic
                of




           every Sunday, and confessed his sins to the Lord. 16 RR at 80, 102.
           Un




24.        Brooke Rogers confirmed Billie Norris's testimony. She recalled that Mr.
           Hamilton's entire family was on drugs, and that he grew up in a crack house.


3
    This means that Hamilton was smoking embalming fluid laced with PCP. Id. at 193, 199.

                                                         9
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 38 of 137




      16 RR at 186-92. Hamilton's mother was prostituting herself and abusing
      drugs. Id. After the murder Hamilton had broken down and told her that he
      was trying to rob the store because he was broke (referring to the Yellowstone
      Murder). 16 RR at 155, 194-95.




                                                                     k
25.   Ronald Hamilton, Sr., is Hamilton's dad (hereinafter Hamilton, Sr.). While




                                                                  ler
      pregnant with Hamilton, Hamilton's mom smoked marijuana and drank beer




                                                               tC
      every day. 18 RR at 124. When Hamilton was a child, both of his parents




                                                           ric
                                                        ist
      sold drugs out of the house, but soon thereafter, Hamilton's parents separated




                                                     sD
      and he would rarely see his dad anymore. Id. at 124-27. Hamilton Sr.




                                                  es
      explained that the house where Hamilton grew up was in bad shape, and that



                                                rg
      the only stable person in the house was Hamilton's Aunt Viola. Id. at 132-33.
                                             Bu
      When she died in the 1980's, young Hamilton was left to fend for himself.
                                          n
      Id.at 135. Hamilton Sr. also explained that he had been a serious drug abuser
                                        ily
                                       ar


      himself, shooting drugs intravenously and smoking crack cocaine. Id. at 136-
                                  M




      37. However, Hamilton Sr. emphasized that he never used "fry" (the drug
                                 of




      Hamilton was using during the Yellowstone Murder) because that drug left its
                              e
                          ffic




      users "completely out of control." Id. Hamilton Sr. spent most of Hamilton's
                       O




      life either in prison or high on various drugs. Id. at 141. Hamilton Sr. also
                      y
                   op




      confirmed that Hamilton never learned to read and was socially promoted
                 C




      through school. Id. at 146-47.
              ial




26.   Elsie Tippins, Hamilton's mom, verified Hamilton Sr. 's testimony. She had
           fic




      smoked marijuana and drank during her pregnancy with Hamilton, and
         of
      Un




      confirmed that Hamilton grew up in a violent household. 18 RR at 182-86.
      Instead of caring for her boy, Elsie was engaged in prostitution and abusing
      cocaine. Id. at 186-193.


                                        10
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 39 of 137




27.   Hamilton's cousin Darious Graves testified that Hamilton had never been a
      violent person until he began smoking "fry." 19 RR at 15-24. He explained
      that Hamilton was a good person, but that when he smoked fry "his mind
      changed." Id. Graves recalled times when Hamilton would smoke fry and




                                                                       k
      punch holes in the walls, or cry, or run naked in the streets. Id. at 25-26.




                                                                    ler
28.   Finally, the defense called Deedee Halpin, an education diagnostician. She




                                                                 tC
      explained that Hamilton had always struggled in school, remaining in the 2nd




                                                             ric
      grade when he should have been in the 4th grade. 19 RR at 53-54. Hamilton




                                                          ist
                                                       sD
      suffered from a disorder that made him unable to assign a meaning or sound




                                                    es
      to letters. Id. Hamilton was placed in special education classes and when he



                                                 rg
      was thirteen, was still reading at the 1st grade level. Id.at 54. He was socially
                                               Bu
      promoted in school. Id. at 56-58. His reading ability was in the bottom .1
                                           n
      percentile.   Id.   Halpin explained that Hamilton's disabilities severely
                                         ily
                                      ar


      hampered his ability to perform in the social settings of school. Id. at 61-67.
                                   M




29.   The record also shows the defense intended to call Shawon Smith to testify
                                 of




      that "after the incident on Yellowstone, that Mr. Hamilton was very upset by
                               e
                           ffic




      what happened and very affected by what happened and very sorry for what
                          O




      happened." 19 RR at 118. Additionally, the defense intended to call Smith
                       y
                    op




      to testify: "that Mr. Smith was not present during the Holman Murder, that
                    C




      Mr. Smith's car was not used in that incident, and that, to Mr. Smith's
              ial




      knowledge, the defendant, Mr. Hamilton, was not involved in that incident,
           fic




      and Mr. Smith would also testify about his car being totaled by Mr. Hamilton
         of
      Un




      several days prior to the Holman incident occurring." 19 RR at 118. This
      plan was thwarted by the State's representation that it was no longer planning
      to honor the plea deal that it originally had in place because they had "to check
      some things out." 19 RR at 101.

                                          11
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 40 of 137




II.      MR. HAMIL TON DID NOT COMMIT THE HOLMAN MURDER.

         The evidence presented at trial showing that Hamilton committed the Holman
murder was false, misleading, and materially inaccurate. Hamilton has proven that
he did not commit this extraneous murder. This Court makes the following findings




                                                                        k
related to the previously designated issues:




                                                                     ler
                                                                  tC
         A.     The evidence is clear: the Holman shooter sat down the 40-ounce




                                                              ric
                bottle prior to shooting Mr. Huynh.




                                                           ist
30.      Wanda Johnson, the eyewitness to the Holman Murder, testified during the




                                                        sD
         habeas proceedings. Ms. Johnson is credible. She recalled the night of the




                                                     es
         Holman Murder, and she identified the crime scene.         5 RR2019 at 5-7;


                                                   rg
         Defense Exhibit 31.                     Bu
                                             n
                                           ily

31.      Ms. Johnson recalled walking to the Holman store about 7 p.m., with her
                                         ar



         friend Charlie. She bought a beer and pack of cigarettes. 5 RR2019 at 8.
                                       M




         After arriving at the store and making her purchase, Ms. Johnson was waiting
                                   of
                                 e




         outside of the store for Charlie. A car pulled up, and a guy drinking a 40-
                                ffic




         ounce beer got out. Id. at 9. He finished the 40-ounce and set it on the little
                            O




         iron bench outside the store, and then he urinated over it before walking into
                           y
                        op




         the store. Id. at 9.
                     C
                  ial




32.      Ms. Johnson describing the same 40-ounce bottle that HPD Fingerprint
               fic




         Examiner Debbie Benningfield found sitting outside of the Holman store
              of




         while processing Mr. Huynh's murder scene. 5 RR2019 at 9.
         Un




33.      After setting the bottle down and urinating the man walked into the store,
         waited in line, and eventually killed "Tulson" (Mr. Huynh). 5 RR2019 at 10.
         When Ms. Johnson saw this happen, she took off running. Id. at 11.

                                            12
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 41 of 137




34.   Ms. Johnson remembers telling the police about the bottle being sat down by
      the shooter, and she was also clear that the shooter never picked the bottle
      back up after it was sat down. 5 RR2019 at 12. She never told the police that
      shooter had not touched the bottle. Id. at 13.




                                                                       k
                                                                    ler
35.   Ms. Johnson has maintained that the shooter touched this 40-ounce bottle.




                                                                 tC
      Ms. Johnson told detectives this fact on the first day that she spoke with them.




                                                             ric
      See Hoffmaster Deposition at 15-16; Defendant's Exhibit 8, at 11.           Ms.




                                                          ist
      Johnson was clear about this during her testimony before the Court. 5 RR2019




                                                       sD
      at 17. Her testimony meshes with the Houston Police Department Holman




                                                    es
      Murder offense report, which states that although it was not included in her


                                                  rg
      written and sworn statement, Ms. Johnson told police she witnessed the
                                                Bu
      shooter "sit down an empty 40 once (sic) beer bottle on the rail that runs along
                                           n
                                          ily

      the Burkett side of the store."          See Hoffmaster Deposition at 15-16;
                                          ar



      Defendant's Exhibit 8, at 11; see also Defendant's Exhibit 31 (showing the
                                     M
                                   of




      store and the metal rail/bench). Ms. Johnson does not recall ever telling any
                                e




      detectives that shooter did not set down the bottle. Id. at 19.
                              ffic
                         O




36.   Ms. Johnson is so certain about the shooter setting down the bottle; she "would
                        y




      put [her] life on it." Id. at 29.
                     op
                  C




      B.     The fingerprints on the 40-ounce beer bottle belong to Marshall
               ial




             Knight.
            fic
           of




37.   Fingerprint Examiner Rachel Green, lead latent print exammer for the
      Un




      Houston Forensic Science Center (HFSC), is credible and is an expert in
      fingerprint analysis.    She explained that fingerprints are unique to each
      individual. 2 RR2019 at 32.


                                          13
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 42 of 137




38.   Examiner Green explained that AFIS,            the Automated Fingerprint
      Identification System, is a system which allows fingerprint labs to run
      unknown prints through a database of known prints in the hopes of finding a
      match. Id. at 35.




                                                                     k
                                                                  ler
39.   The HSFC uses "the Harris County system, the State (the DPS) system, and




                                                               tC
      the FBI system" in AFIS to search for known matching prints. 2 RR at 43.




                                                           ric
40.   When reviewing records from the Holman murder, Ms. Green found pictures




                                                        ist
                                                     sD
      of the latent print collected from "from a 40-ounce Schlitz Malt Liquor bottle
      recovered on metal rail outside beside store." 2 RR2019 at 65. She matched




                                                  es
                                                 rg
      these prints to Marshall Knight. Id. at 66. She made this match from the FBI
                                             Bu
      AFIS database. Id. at 67. Ms. Green obtained Knight's actual print card from
                                          n
      the FBI and verified that the print on the 40-ounce bottle was indeed Marshall
                                        ily
                                     ar


      Knight's print. Id. at 67-68. She was also able to match a second copy of a
                                  M




      fingerprint taken from the same bottle to Marshall Knight. Id. at 72, 121. See
                                of




      Defendant's Ex. 16; State's Exhibit 1, Latent Print Section.
                               e
                           ffic




41.   The only other identifiable print found by Ms. Green was a fingerprint of
                          O




      eyewitness Charles Alonzo Douglas, which was found on a "Schlitz malt
                      y
                   op




      liquor can on top of outside ice cooler." 2 RR2019 at 43, 118; State's Exhibit
                 C




      1, Latent Print Section, at 1-2; Defendant's Ex. 16. This matches with trial
              ial




      testimony showing that Charles Douglas had purchased a beer at the
           fic
         of




      convenience store prior to the shooting.
      Un




42.   None of the fingerprints found on the 40-ounce Schlitz Malt Liquor bottle
      matched Ronald Hamilton. 2 RR2019 at 75; see Defendant's Ex. 16. He was



                                        14
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 43 of 137




      excluded from leaving any of the comparable prints found at the scene. 2
      RR2019 at 99; see Defendant's Ex. 16.

43.   No technology was needed to compare the fingerprints of a known suspect,
      Ronald Hamilton, to the prints found at the scene. 2 RR2019 at 124. This




                                                                       k
                                                                    ler
      could have been done prior to trial without running Hamilton's prints through




                                                                 tC
      AFIS. Id.




                                                             ric
                                                          ist
      C.    Marshall Knight asserted his Fifth Amendment Privilege and
            refused to answer any questions posed by Applicant.




                                                       sD
44.   Marshall Knight was called by Mr. Hamilton as a witness during the habeas




                                                    es
                                                 rg
      hearing. He was represented by appointed counsel at the request of the parties.
                                               Bu
      Defense counsel tendered six questions to Mr. Knight and his appointed
                                           n
      counsel. 6 RR2019 at 8. Mr. Hamilton intended to ask Mr. Knight (1) if he
                                         ily
                                      ar


      was at the Tulson Convenience Store at 3235 Holman Street on December 8th
                                   M




      of 2001; (2) if he "set down a 40-ounce beer bottle on the rail outside of the
                                 of




      store on December 8th of 2001"; (3) if he could "explain how [his]
                               e
                           ffic




      fingerprints were found on the bottle sitting outside the store on the railing on
                        O




      December 8th of 200 l "; (4) if he had possession of or access to a .3 80 auto
                       y
                    op




      handgun on December 8th of2001; (5) ifhe entered the store at 3235 Holman
                  C




      Street on December 8th of2001; and (6) whether he shot the clerk inside 3235
              ial




      Holman on December 8, 2001. Id. at 8-9.
           fic




45.   Knight, through his appointed counsel, asserted his Fifth Amendment rights
           of
      Un




      and refused to answer any questions. 6 RR2019 at 9. Knight's counsel
      verified he had discussed the matter with Knight and that Knight would
      "indeed invoke his right against self-incrimination to each question." Id.



                                          15
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 44 of 137




46.    The Court finds that the Marshall Knight had an arrest record prior to the
       Holman murder. See Defendant's Ex. 15. Knight had been arrested by the
       Houston Police Department five times prior to the date of the Holman Murder.
       Id.   Those arrests included unlawfully carrying a weapon and aggravated




                                                                     k
       robbery with a deadly weapon. Id. The Court also finds that Knight was




                                                                  ler
       adjudicated guilty for this aggravated robbery in February 2002, for using




                                                               tC
       alcohol while on community supervision. See Defendant's Ex. 21.




                                                           ric
                                                        ist
47.    The Court finds that the Houston Police Department had taken Mr. Knights




                                                     sD
       prints and loaded them into the local AFIS system prior to the date of the




                                                  es
       Holman murder. See Defendant's Exhibit 29, AFIS records including prints



                                                rg
       from 1998.
                                             Bu
                                          n
       D.     The fingerprints on the bottle are more direct proof about the
                                        ily

              identity of the perpetrator of the Holman murder than the prior
                                     ar


              eyewitness identifications.
                                  M




48.    Eyewitnesses Douglas and Johnson both described the shooter as being in his
                                of
                              e




       teens. Mr. Douglas had originally identified the shooter as being a teenager
                           ffic




       weighing 140 pounds. 17 RR 254,259.
                        O




4 9.   Hamilton, who was born on April 21, 1977, was 24 years old at the time of
                       y
                    op




       the Holman murder. Additionally, records indicate that Hamilton weighed
                  C




       170 lbs. See Defendant's Ex. 3, at 3. Marshall Dwayne Knight was born on
                ial




       December 17, 1980, and was 20 at the time of the murder. See Defendant's
             fic
             of




       Ex. 28. Knight weighed 150 lbs. Applicant's Memorandum, Appendix 2 -
       Un




       Mugshot Photos & Criminal History Info of Marshall Dwayne Knight.
50.    The police failed to use an up-to-date photo of Mr. Hamilton in the photo
       lineup. Witnesses Douglass and Johnson were presented with Hamilton's


                                        16
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 45 of 137




      September 3, 1998, booking photo, instead of the more recent January 21,
      2002, booking photo. Cf Defendant's Ex.'s 11, 13.
51.   Dr. Trent Terrell is a professor at the University of Mary Hardin-Baylor in
      Belton, Texas. 4 RR2019 at 124. Dr. Terrell's main area of research is




                                                                        k
      eyewitness memory, and eyewitness identification. Id. at 126-27. The Court




                                                                     ler
      finds that Dr. Terrell was properly qualified as an expert in eye-witness




                                                                  tC
      identification, and that eye-witness identification is a proper area for scientific




                                                              ric
                                                           ist
      witness expert testimony.




                                                        sD
52.   Dr. Terrell testified about factors that affect the ability of witnesses to make




                                                     es
      an identification from a photo-lineup. 4 RR2019 at 137. Certain variables



                                                  rg
      affect a person's ability to correctly identify a suspect at a later time, and the
                                               Bu
      "most important factor by far" is "called latency" which relates to the amount
                                            n
      of time which passes between witnessing a crime and a later identification.
                                          ily
                                       ar


      Id. at 14 7. In this case, seven weeks had passed between the crime and when
                                    M




      the witnesses picked Hamilton out of a photo-lineup. Id. After a week's delay
                                  of




      "you see a majority of participants not able to make a correct identification."
                               e
                            ffic




      Id.
                         O




53.   Even the accuracy of the police sketch, which was made three days after the
                       y
                    op




      crime, could have suffered from the effects of latency. Id. at 148.
                 C




54.   Dr. Terrell was certain that witness Wanda Johnson's identification of
               ial




      Hamilton would have been affected by the police providing her the police
            fic




      sketch, which she looked at every day. Id. at 148. The police sketch "very
            of
      Un




      likely became [the witnesses] memory of who they saw ... " Id. at 150. "The
      presence of the sketch is the biggest problem in this case." Id. at 211.
55.   As Dr. Terrell pointed out, and as mentioned at trial, Ms. Johnson had
      originally described the shooter as having an afro, while Mr. Douglas

                                          17
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 46 of 137




      described the shooter as clean shaven with short hair. 4 RR2019 at 208,213;
      18 RR at 56-57.
56.   This Court finds noteworthy that the simultaneous "six-pack" lineup used in
      this case is not the currently suggested best practice. 4 RR2019 at 153. Today,




                                                                      k
      it is recommended that a sequential administration be used. Id. "Someone is




                                                                   ler
      more likely to make an identification when they are shown all the photos at




                                                                tC
      once rather than when they see them one at a time." Id. However, at the time




                                                            ric
                                                         ist
      the lineup was made, the Department of Justice had not suggested that a




                                                      sD
      sequential lineup was preferable to a simultaneous lineup. Id. at 198-99.




                                                    es
57.   Dr. Terrell also noted that the lineup created in this case showed Hamilton



                                                 rg
      "clearly holding a sign right here." 4RR2019 at 154; see Defense Exhibit 11.
                                               Bu
      This is a problem because "[a]nything that is distinctive can cause a photo to
                                           n
      be chosen when that feature is not present in the others." Id. at 155. Outside
                                         ily
                                      ar


      of Hamilton's holding of a sign, this was a "pretty good lineup." Id. at 200.
                                    M




      Dr. Terrell also agreed that three of the six persons in the lineup had some sort
                                 of




      of distinguishing mark in their picture, but that Hamilton's was the most
                               e
                             ffic




      obvious. Id. at 202.
                        O




58.   Hamilton's lineup was also "presented by an officer who knew who the
                       y
                    op




      suspect was." 4 RR2019 at 156. This is not the most reliable way to present
                 C




      a lineup, instead, whoever presents the lineup should have "no knowledge
              ial




      whatsoever of who the suspect is." Id.
           fic




59.   Whenever creating a lineup, "[a]n effort should always be made to find as
         of
      Un




      recent a picture as possible." 4 RR2019 at 162. As noted above, the detectives
      in this case did not use a recent picture of Hamilton when creating the lineup.
      See Defense Exhibit 13, Defense Exhibit 11. Instead, the detectives used a
      mugshot over three years old.

                                         18
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 47 of 137




60.   The Court finds that Dr. Terrell cannot testify concerning whether or not Mr.
      Hamilton committed the Holman murder. 4 RR2019 at 175. However, the
      Court finds Dr. Terrell's testimony is relevant in explaining how and why two
      eyewitnesses could mistakenly identify Hamilton as the shooter even if he was




                                                                      k
      not involved in the Holman Murder.




                                                                   ler
61.   The Court finds that the fingerprints found on the 40-ounce bottle are the most




                                                                tC
      direct and reliable evidence showing who committed the Holman Murder. As




                                                            ric
                                                         ist
      discussed above, the eyewitnesses in this case both identified a teenager as




                                                      sD
      having committing the Holman Murder, and one witness originally described




                                                   es
      the shooter as having an afro. The Court finds that the long period of time in



                                                 rg
      between the commission of the Holman murder and the presentation of the
                                              Bu
      line-up; the providing the witnesses with the sketch from a sketch artist; the
                                           n
      use of a lineup where Mr. Hamilton is holding a booking placard; the use of
                                        ily
                                      ar


      an outdated photo; the presentation of the lineup by detectives who knew the
                                   M




      identity of the suspect; and the use of a the six pack lineup all contributed to
                                 of




      a false identification of Hamilton as related to the Holman murder.
                              e
                           ffic




      E.    The DNA evidence is also exculpatory for Hamilton.
                       yO




62.   The parties' experts both agree that Hamilton cannot be included as
                    op
                 C




      contributor to the DNA found under Mr. Huynh's fingernails or on the mouth
              ial




      of the 40-ounce bottle. However, the experts disagree about whether the items
           fic




      of evidence were suitable for comparison.
           of
      Un




63.   After Hamilton's trial, the Houston Forensic Science Center performed DNA
      testing and analysis on a few items of evidence collected in this case,
      specifically "one was a swab from the mouth area of the malt beer bottle, and
      then two other fingernail scrapings from the right fingernail and the left

                                         19
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 48 of 137




      fingernail from the victim; and then they also received two reference samples,
      which would be the victim's profile and suspect's profile." 5 RR2019 at 78;
      State's Ex. 1, 12-14.
64.   Dr. Collins, who testified as an expert for Mr. Hamilton, explained that he




                                                                     k
      disagreed with the Houston Forensic Science Center's (HFSC's) conclusion




                                                                  ler
      about the DNA found on the mouth of the bottle. 5 RR2019 at 91-92. The




                                                               tC
      HFSC concluded that there was a partial DNA profile found on the bottle, but




                                                           ric
                                                        ist
      also found there was potentially a second contributor to the DNA found on




                                                     sD
      the mouth of the 40-ounce bottle. Id. at 91; State's Ex. 1 at 13. Because of




                                                  es
      the potential second contributor, the lab concluded the DNA on the bottle was



                                                rg
      not suitable for comparison. Id.
65.                                            Bu
      Dr. Collins believed a scientifically acceptable conclusion is that the DNA
                                           n
      recovered from the mouth of the bottle came from a single person - so that
                                         ily
                                      ar


      the results showed only a single DNA profile. Id. at 91-92. Based upon the
                                     M




      single contributor conclusion, Mr. Hamilton is excluded from the partial
                                 of




      profile found on the 40-ounce malt liquor bottle. Id. at 94-95. Dr. Collins
                               e
                              ffic




      believed a single male profile was present because the data showed no
                        O




      possible alleles above the analytical threshold (which would have suggested a
                      y
                   op




      second contributor). 7 RR2019 at 95.
                 C




66.   Related to the right fingernail scrapings from Mr. Huynh, Dr. Collins agreed
              ial




      that Ronald Hamilton was excluded as a contributor to the major component
           fic




      of this DNA mixture. 5 RR2019 at 96. However, he once again disagreed
         of
      Un




      with the HFSC's conclusion that the minor profile was not suitable for
      comparison. Id. at 96-97. Instead, he explained that, assuming Mr. Huynh's
      DNA was present under his own fingernails, Hamilton would be excluded
      from the remainder of the DNA found. Id. at 99. He testified that Hamilton

                                          20
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 49 of 137




      could not have contributed the minor profile found under Mr. Hunyh's
      fingernails. Id. at 99; 7 RR2019 at 61.
67.   Dr. Collins also found that, assuming Mr. Huynh's DNA was present in the
      fingernail scrapings from his left hand, Mr. Hamilton was excluded as a




                                                                      k
      contributor to the DNA discovered under the fingernails on Mr. Huynh's left




                                                                   ler
      hand. Id. at 99-100.




                                                                tC
68.   On cross-examination, Dr. Collins affirmed that his single contributor




                                                            ric
                                                         ist
      conclusion about the 40-ounce bottle was based upon the fact that there were




                                                      sD
      never more than two alleles at any location on the allele table. 7 RR2019 at




                                                   es
      32.



                                                 rg
69.   No witnesses testified that any of the DNA tested from the scene belonged to
      Mr. Hamilton. 7 RR2019 at 41.
                                              Bu
                                           n
70.   Jessica Powers is a DNA analyst with the Houston Forensic Science Center.
                                        ily
                                      ar


      7 RR2019 at 69-70.
                                    M




71.   Ms. Powers affirmed that a DNA allele should only be "called," or considered
                                 of




      an allele, when it is above the analytical threshold. 7 RR2019 at 82. In the
                              e
                             ffic




      HFSC lab the analysist will "not use data below the analytical threshold to
                        O




      call as a true allele because it hasn't been called by the software." Id. at 84.
                       y
                    op




      However, the lab analyst will still consider non-called alleles in their
                 C




      interpretation. Id. Although only the alleles above the analytical threshold
               ial




      are "considered real," peaks below the threshold cause the lab analyst to be
            fic




      cautious. Id. at 84.
            of
      Un




72.   Ms. Powers, like Dr. Collins, would only use the alleles above the analytical
      threshold when making a comparison. 7 RR2019 at 85.




                                         21
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 50 of 137




73.    Ms. Powers believed the DNA found on the mouth of the 40-ounce bottle was
       low template DNA, meaning there was very little DNA. 7 RR2019 at 89.
       Therefore, she had to be cautious. Id.
74.    Ms. Powers would not make the same conclusions about Ronald Hamilton




                                                                       k
       being excluded as a contributor the DNA tested because she is cautious. 7




                                                                    ler
       RR2019 at 88.




                                                                 tC
7 5.   Ms. Powers does not dispute that the DNA profile on the 40-ounce beer bottle




                                                             ric
                                                          ist
       was a single source DNA profile, but she did decide not to draw any




                                                       sD
       conclusions about the beer bottle. 6 RR2019 at 105. She wanted to be




                                                    es
       cautious in calling this a single source DNA profile. Id. at 106. She was able



                                                  rg
       to base her opinions on her "[a]nalyst discretion, whenever it's used in our
                                                Bu
       standard operating procedure, it just means that you have a little bit of
                                            n
       flexibility in what you're looking at on your electropherogram." Id. at 107.
                                         ily
                                       ar


       She decided that presence of peaks below the analytical threshold might, or
                                    M




       might not, mean there is a second contributor. Id.at 111. She "would say that
                                  of




       there is evidence that there is possibly a second contributor." Id. at 114.
                               e
                            ffic




76.    Regarding the fingernail scrapings, Ms. Powers agreed that it was permissible
                         O




       to subtract Mr. Huynh's profile from the DNA sample, which is what Dr.
                        y
                     op




       Collins had done in reaching his conclusion.        7 RR2019 at 61-62; 109.
                  C




       However, Ms. Powers did not do that in this case. Id. Once again, Ms. Powers
               ial




       did not "make any calls on the minor" contributor the DNA. Id.at 109.
            fic




       According to Ms. Powers, the minor contributor DNA could have belonged
          of
       Un




       to a mixture ofup to four people. 7 RR2019 at 122.
77.    Regarding Dr. Collins exclusion of Hamilton from the DNA samples taken
       from Mr. Huynh's fingernail scrapings, Ms. Powers simply explained she
       "would not use that approach in our lab." Id. at 110.

                                          22
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 51 of 137




78.   Ms. Powers thought that Dr. Collins technique "would be bias, unfair, and not
      correct." Id. at 126.
79.   Ms. Powers knew who the "suspect" or "defendant" was prior to beginning
      her analysis. 7 RR2019 at 127-28




                                                                     k
80.   All of the data suggesting there might have been a second contributor to the




                                                                  ler
      DNA found on the 40oz beer bottle was below the analytical threshold. 7




                                                               tC
      RR2019 at 130.




                                                           ric
                                                        ist
81.   Ms. Powers agreed, that "if I made the assumption that all of these alleles




                                                     sD
      called were from one contributor, I would have excluded Ronald Hamilton




                                                  es
      from this piece of evidence." Id. at 131. Ms. Powers thought that the DNA



                                                rg
      sample in this case was "somewhere in between" a single source and mixture
                                               Bu
      DNA sample. 7 RR2019 at 131-32. She also recognized that she could not
                                           n
      "call this [DNA sample] two [people], because you don't see clear signs of
                                        ily
                                      ar


      two." 7 RR2019 at 134. That is why the sample is not a mixture. Id. at 134.
                                     M




82.   Related to the fingernail scrapings, Ms. Powers agreed that "if I were able to
                                 of




      say that this was a mixture of that two and I assumed that there were only two,
                               e
                              ffic




      I would have excluded Ronald Hamilton from the minor contributor." Id. at
                        O




      135-36.
                       y
                    op




83.   Ms. Powers was clear that the assumption of a single source DNA sample on
                 C




      the bottle, and a two-person mixture under Mr. Hunyh's fingernails, were
                ial




      simply "more aggressive than we're willing to do in our lab." 7 RR2019 at
             fic




      137.   However, she would not go so far as claiming that Dr. Collins'
         of
      Un




      assumptions were unsupported by the evidence. Id.
84.   The Court finds that DNA evidence collected at the scene is additional
      evidence that Hamilton was not involved the Holman Murder. Hamilton's
      DNA was not found at the scene or on the bottle which the shooter sat down

                                          23
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 52 of 137




       prior to shooting Mr. Huynh. Further, although Ms. Green would not have
       made the same conclusions about the number of contributors to the DNA in
       question, the court finds that a jury might credit Dr. Collins testimony about
       the number of contributors because there are no alleles above the analytical




                                                                        k
       threshold which prove there was more than a single contributor to the DNA




                                                                     ler
       found on the bottle, or more than two contributors to the DNA found under




                                                                  tC
       Mr. Huynh's fingernails. A jury could have given weight to the fact that




                                                              ric
                                                           ist
       Hamilton's DNA profile was not present on any of the evidence found at the




                                                        sD
       scene.




                                                     es
85.    The Court also finds there is no proof that the DNA evidence in this case was



                                                  rg
       tested or compared prior to trial. The DNA evidence was in the possession of
                                               Bu
       the State of Texas at all times. Specifically, the evidence was in the possession
                                            n
       of the Houston Police Department. As a result, the Court finds the DNA
                                          ily
                                       ar


       evidence is new evidence which was not previously available to Hamilton.
                                    M
                                  of




Ill.   THE STATE AND ITS PROSECUTION TEAM - THE HOUSTON POLICE
                                e




       DEPARTMENT, TRIAL PROSECUTORS, INVESTIGATORS AND FINGERPRINT
                            ffic




       EXAMINERS -- ACTIVELY SUPPRESSED EXCULPATORY EVIDENCE.
                         O




86.    The Court finds, and is troubled by, the prosecution team's active suppression
                        y
                     op




       of exculpatory evidence.     The Court finds that both the Houston Police
                  C




       Department and trial prosecutor Colleen Barnett actively suppressed
               ial




       exculpatory evidence that Mr. Hamilton was excluded from contributing the
            fic
          of




       fingerprints at the Holman Murder scene, and particularly on the 40-ounce
       Un




       bottle that witness Johnson saw the shooter set down.




                                          24
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 53 of 137




      A.    Fingerprint Examiner Debbie Benningfield actively suppressed
            that she had compared Mr. Hamilton's fingerprints to those found
            at the scene, and that he had been excluded as a contributor.

87.   Debbie Benningfield is now retired from the Houston Police Department and
      her previous role as a fingerprint examiner. 3 RR2019 at 57-58. She spent




                                                                     k
                                                                  ler
      her entire career in the HPD Identification Department. She had previously




                                                               tC
      worked in the Ten Print Section, where her job was to record fingerprints of




                                                           ric
      people who were arrested. 59. By 1985, HPD had obtained an automated




                                                        ist
      fingerprint system. Id at 60-62. Eventually Ms. Benningfield became the




                                                     sD
      manager of the AFIS for HPD.




                                                  es
88.   Ms. Benningfield was well versed in using HPD's AFIS system. 3 RR2019


                                                rg
                                             Bu
      at 63. At the time of the Holman murder, HPD used an AFIS system called
                                          n
      Print Track. Id. at 64. HPD had access to the Texas Department of Public
                                        ily

      Safety fingerprint system, called NES. Id. at 65. Also, Print Track would
                                     ar
                                  M




      have contained the HPD database. Id.       Someone at HPD had the job of
                                of




      entering the fingerprints of arrested people into the AFIS system. Id. at 69.
                              e




      Anyone arrested on a j ailable offense would have had their fingerprints taken
                          ffic




      and entered into the HPD AFIS system. ID. at 71. Even when fingerprints
                      y O




      were taken by ink, HPD would try to get the prints entered into the AFIS
                   op




      system the same day they were taken. Id. at 73. HPD has a policy of keeping
                 C
              ial




      and saving fingerprints of anybody that they arrest. Id. at 145. HPD would
           fic




      have had "their own fingerprints in their system based on the arrests within
           of




      their agency." 4 RR2019 at 70, 101-02.
      Un




89.   A record should have been made when any unknown latent print was entered
      into the Print Track system for comparison with known prints. Id. at 76. The
      record would be made by notation on the envelope containing the print.

                                        25
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 54 of 137




90.   On December 9, 2001, around 8 pm, Ms. Benningfield was called to the scene
      of a murder at 3235 Holman in Houston, Texas. Id. at 81. Benningfield would
      have discussed the scene with the detectives, and would have collected
      whatever evidence she deemed relevant. Id. at 82.




                                                                     k
91.   At scene of the murder Ms. Benningfield collected: "[ o]ne Schlitz Malt Liquor




                                                                  ler
      can, one 24-ounce Heineken bottle, one 40-ounce Schlitz Malt Liquor beer




                                                               tC
      bottle, and one 12-ounce Heineken bottle." Id. at 84. She would not just




                                                           ric
                                                        ist
      randomly pick up trash outside of stores. Id. at 85. She might have decided




                                                     sD
      to pick up bottles and cans outside of the Holman store because she had been




                                                  es
      told by the "daughter [of] the complainant ... that the business was kept clean



                                                rg
      by her father." 3 RR2019 at 86. Benningfield learned it was rare for there to
                                             Bu
      be trash outside of the store where the Holman Murder took place. 4 RR2019
                                          n
      at 111. She would have collected evidence she felt "was important or could
                                        ily
                                      ar


      have an impact. .. " on solving the murder. 3 RR2019 at 87.
                                   M




92.   The bottles collected were submitted to the crime lab for DNA testing and
                                of




      fingerprinting. 3 RR2019 at 87.
                              e
                           ffic




93.   If "prints of value" were found on any evidence, an offense report supplement
                        O




      would be created. Id. at 89. A supplement would be made "[i]fwe made the
                      y
                   op




      scene, then we had a supplement. If we brought evidence back to the lab and
                 C




      processed it, we did a supplement. If there was a comparison request or if
              ial




      there was an identification in the case, then a supplement was typed." 3
           fic




      RR2019 at 89.
         of
      Un




94.   However, if there was a request to test fingerprints, and a known suspect was
      excluded from having left a fingerprint recovered from a crime scene, no
      offense report supplement would be made. Id. at 90.


                                        26
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 55 of 137




95.   The Court finds there was no evidence of a comparison or exclusion of
      fingerprint evidence in the offense report related to the Holman Murder. See
      Defendant's Ex. 8. Indeed, there is no evidence in the offense report or
      elsewhere that the fingerprints collected from the scene, or evidence collected




                                                                      k
      from the scene, were ever compared to any suspect. Id.




                                                                   ler
96.   According to Debbie Benningfield, it was HPD's policy to only make an




                                                                tC
      offense report supplement if there was a fingerprint match found. Id. at 90.




                                                            ric
                                                         ist
      HPD's "standard practice" was not to issue reports on eliminations. 4 RR2019




                                                      sD
      at 61. A supplement would have been typed had there been an identification.




                                                    es
      4 RR2019 at 61. The only notice given in the case of an elimination would



                                                 rg
      have been to the person requesting the comparison. Id. at 62.
97.                                           Bu
      The HPD policy of not documenting fingerprint exclusions is troubling and
                                           n
      directly led to the suppression of evidence in this case. If a defendant was
                                        ily
                                      ar


      excluded from leaving a print at a scene or on an item of evidentiary value,
                                   M




      that information should always be turned over the to the defense. HPD policy
                                 of




      prevented that from happening in this case.
                              e
                           ffic




98.   Benningfield testified that members of the District Attorney's Office could
                        O




      simply call the lab and ask if fingerprints had been compared, and learn the
                       y
                    op




      results. 5 RR2019 at 62. This would not happen with defense attorneys. Id.
                 C




      at 62. If a defense attorney called, the examiner would not discuss a case with
              ial




      them, but would notify HPD legal about the defense's request to speak with
           fic




      the examiner. Id. at 63. This policy compounded the problem in this case, and
         of
      Un




      amounts to an active suppression of evidence.
99.   Three fingerprints suitable for comparison were found on the 40 oz. Schlitz
      Malt Liquor bottle prior to Hamilton's trial. Id. at 91. This is the bottle that
      came from a rail outside of the business. Id. at 91. The bottle was taken to

                                         27
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 56 of 137




      Montgomery County, to a man named Butch Emmons, so that he could take
      special pictures of the print.    This was done to get a better print for
      comparison. Id. at 92.
100. Based on a review of the Offense Report Supplements created by Debbie




                                                                     k
      Benningfield, there was absolutely no indication that she compared any




                                                                  ler
      fingerprints in the Holman murder. 4 RR2019 at 93. Nor was there any




                                                               tC
      indication that there was a request made to compare the prints. Id. at 94.




                                                           ric
                                                        ist
101. Someone else would have given Debbie Benningfield the names of "suspects"




                                                     sD
      which were written on the envelopes containing fingerprints in this case. Id.




                                                  es
      at 98; Defendant's Ex. 3-4.



                                                rg
102. Debbie Benningfield compared the fingerprints found at the scene, and on the
                                              Bu
      40 oz. Schlitz malt liquor bottle, to both Ronald Hamilton and Shawon Smith
                                          n
      prior to trial. Id. at 101, Defendant's Ex. 3-4. This fact was never mentioned
                                        ily
                                       ar


      in her offense report supplements. Id. at 101. Hamilton and Smith were
                                    M




      excluded as having left all of the fingerprints found at the scene. Id. at 101-
                                of




      03. Debbie Benningfield did not make a notation in the offense report about
                               e
                           ffic




      this exclusion because "if we did not identify the print, we did not type a
                        O




      supplement if we excluded it." Id. at 101. However, the information about
                      y
                   op




      the exclusion would be relayed to the person who requested the comparison.
                 C




      Id. at 102. The Court finds that either Detective Park or Hoffmaster knew that
              ial




      Hamilton had been excluded from leaving the prints found at the scene.
           fic




103. Prior to trial, Hamilton was excluded from leaving the prints found on the side
         of
      Un




      of the cash register, the 40-ounce Schlitz Malt Liquor bottle, and all other
      prints found at the scene of the Holman Murder. 5 RR2019 at 67.
104. In addition to excluding Hamilton from the prints found at the scene, the print
      from the malt liquor bottle was run through the Houston and Texas AFIS

                                         28
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 57 of 137




      databases. 3 RR2019 at 109-110. Based on the fact that there was no offense
      report made about the AFIS search, Debbie Benningfield concluded the AFIS
      search did not return any fingerprints matching the prints from the 40 oz
      Schlitz Malt Liquor bottle. Id. at 113-114.




                                                                     k
105. Notes found with the fingerprint evidence suggest that Connie Park,




                                                                  ler
      investigator in this case, requested that the prints found at the scene be




                                                               tC
      compared with potential suspects, including Ronald Hamilton. Id. at 127-28.




                                                           ric
                                                        ist
      Further, it was generally the investigators who would guide Benningfield




                                                     sD
      concerning what evidence to collect and test. 4 RR2019 at 43, 4 7.




                                                    es
106. In addition to testing Hamilton's and Smith's prints against those found at the



                                                rg
      scene, Debbie Benningfield also compared the prints to previously
      undisclosed suspects.                  Bu
                              Those additional suspects were also eliminated as
                                          n
      having left the prints at the scene. 3 RR2019 at 131.        Once again, this
                                        ily
                                     ar


      elimination was not reported in the offense report. See Defense Ex. 8. The
                                  M




      names and identities of these additional suspects was not mentioned anywhere
                                of




      in the offense report, and were never disclosed to the defense.
                              e
                           ffic




107. The only way a non-law-enforcement person could have discovered that the
                        O




      fingerprints were compared to Hamilton's would be for the person to
                      y
                   op




      personally view the evidence collected from the scene, specifically the
                 C




      envelopes containing the fingerprints. 5 RR2019 at 51-53. However, even if
              ial




      this was done, the person would not know the prints had been compared to
           fic




      Hamilton's, and that he was excluded, unless the person knew Debbie
         of
      Un




      Benningfield's standard practices for recording her work. Id.
108. Debbie Benningfield could not recall if she had run the fingerprints associated
      with Marshall Knight (the prints found on the 40-ounce bottle) through the
      AFIS system. 4RR2019 at 88-89. If an unknown print was run through AFIS

                                        29
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 58 of 137




      but not saved in the AFIS system, HPD policy at the time was simply to not
      record that the print had been run through AFIS. Id.
109. Debbie Benningfield knew, prior to trial, that the four prints suitable for
      comparison collected at the scene of the Holman Murder excluded Ronald




                                                                     k
      Hamilton, and his co-defendant Shawon Smith, from having left the prints. 4




                                                                  ler
      RR2019 at 94.     She actively suppressed this evidence by not making a




                                                               tC
      supplement to the police report.




                                                           ric
                                                        ist
110. During these habeas proceedings, Debbie Benningfield refused to have a




                                                     sD
      meeting with habeas counsel without the Assistant District Attorney's being




                                                  es
      present.   4 RR2019 at 94-96.      The same would have been true prior to



                                                rg
      Hamilton's trial - Benningfield would not have spoken to defense counsel,
                                               Bu
      but would have referred them to HPD legal. Id. at 96.
                                           n
111. If the District Attorney had walked in and asked to the see evidence envelopes,
                                         ily
                                      ar


      they would have been shown the evidence envelopes, but if a defense attorney
                                     M




      asked to the do the same thing, the defense attorney would have been directed
                                 of




      to HPD legal.     Id.    Without permission from HPD's legal department,
                               e
                              ffic




      Benningfield would not speak with defense counsel, and would show them
                        O




      nothing. 4 RR2019 at 96-97.
                      y
                   op




112. There was no indication in the police report about Hamilton's (or Shawon
                 C




      Smith's) prints being compared to those found at the scene, nor was there any
              ial




      mention of the other suspects. 4 RR2019 at 97-98; Defendant's Ex. 8.
           fic




113. Benningfield would have obtained the names of Levigne and Brown, the
         of
      Un




      alternative suspects, from one of the detectives, although this was never
      mentioned in the offense report. 4 RR2019 at 97-99.
114. Nothing in the offense report even suggests that comparisons were ever made
      to the prints found at the scene. 4 RR2019 at 98.

                                          30
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 59 of 137




115. The Court finds that HPD' s policy of not documenting exclusions was
      designed to suppress relevant evidence from defense counsel, and that the
      policy succeeded in this case.

      B.    The Harris County District Attorney's Office, the prosecution




                                                                     k
            team, and trial prosecutor Colleen Barnett were aware the




                                                                  ler
            fingerprints on the 40 oz. bottle did not belong to Mr. Hamilton, or




                                                               tC
            his co-defendant.




                                                           ric
116. George "Buddy" Barringer was an investigator for the Harris County District




                                                        ist
                                                     sD
      Attorney's office at the time of Hamilton's trial. 5 RR2019 at 41. The Court
      finds that his testimony at the habeas hearing was credible.




                                                  es
                                                rg
117. As part of his job, Barringer would follow up on tasks he had been assigned
      by trial prosecutors. 4 RR2019 at 45.   Bu
                                          n
118. As part of Hamilton's case, Mr. Barringer was asked by trial prosecutor
                                        ily
                                       ar


      Colleen Barnett to conduct certain tasks. 4 RR2019 at 47. Specifically, Mr.
                                  M




      Barringer was asked to check for fingerprint results in both the Yellowstone
                                of




      Capital Murder, and in the separate Holman Murder.             4 RR2019 at 48;
                              e
                           ffic




      Defense Ex. 9. Mr. Barringer discovered that prints were found in the Holman
                        O




      Murder case, and that they were "compared to defendants and eliminated."
                      y




      Defense Ex. 9.
                   op
                 C




119. Mr. Barringer was confident that the trial prosecutor would have known that
              ial




      Hamilton, and his co-defendant, had been eliminated from having left the
           fic




      prints found at the scene of the Holman Murder. Id. at 48.
           of
      Un




120. Mr. Barringer believed, based on reviewing his Investigator's Reply, that he
      would have checked on the fingerprint results prior to April 15, 2002. 5
      RR2019 at 53, Defense Ex. 9. Pretrial proceedings did not commence in



                                        31
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 60 of 137




      Hamilton's case until October 7, 2002, and testimony did not begin until
      November 6, 2002. See Trial Reporters Records vol. 2 and 16.
121. Mr. Barringer explained that as a member of the District Attorney's Office,
      he could simply call up HPD and ask for the result of the print comparisons,




                                                                     k
      and the agency would "report back whether or not - they wouldn't give me a




                                                                  ler
      written report. They would do that in a supplement type thing to their cases."




                                                               tC
      5 RR2019 at 52.




                                                           ric
                                                        ist
122. Mr. Barringer also believed that generally an offense report would tell you if




                                                     sD
      prints had been tested. Id. at 53.




                                                  es
123. The Court finds based upon Mr. Barringer's testimony, and the Investigators



                                                 rg
      Reply (Defendant's Exhibit 9) that trial prosecutor Colleen Barnett knew, or
                                                Bu
      should have known, prior to trial that Hamilton had been excluded from
                                            n
      leaving all of the prints recovered from the Holman Murder scene.
                                           ily
                                      ar
                                   M




IV.   THE DEFENSE WAS NEVER MADE AWARE THAT HAMILTON'S FINGERPRINTS
      HAD BEEN EXCLUDED FROM ALL FINGERPRINTS COLLECTED FROM THE
                                 of




      HOLMAN MURDER SCENE.
                               e
                            ffic




124. Loretta Muldrow is an experienced criminal defense attorney practicing
                        O




      mostly in Harris County. 6 RR2019 at 21-22. Prior to practicing criminal
                       y
                    op




      defense, she worked for 6 years at the Harris County District Attorney's office
                 C




      as an assistant district attorney. id. Ms. Muldrow was lead counsel for the
              ial




      defense at Hamilton's capital murder trial. Id. at 27. The Court finds her
           fic
         of




      testimony credible.
      Un




125. At the time of Hamilton's trial, the discovery practices in Harris County were
      "arduous. Where what you had to do was go to the [DA's] office." 6 RR2019
      at 23. The DA's office would not allow defense counsel to make copies of


                                           32
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 61 of 137




      offense reports; defense counsel would be allowed to review the offense report
      and take handwritten notes. Id. At 24.
126. The defense was not provided with copies of any documents prior to trial. Id.
      at 24.




                                                                      k
127. Defense counsel would not be permitted to review DA work product. 6




                                                                   ler
      RR2019 at 25. Ms. Muldrow did not recall ever seeing work product in any




                                                                tC
      of the DA files she was permitted to review at the time of Hamilton's trial.




                                                            ric
                                                         ist
128. If Ms. Muldrow had question for the HPD latent print lab, as a defense




                                                      sD
      attorney, it would not have been possible for her to simply call the lab and ask




                                                   es
      them a question. 6 RR2019 at 26. If she tried to call the lab, she would be



                                                 rg
      directed to "go through the D.A.'s Office and that was never ever going to be
                                                 Bu
      a direct call to law enforcement." Id. In 2001, "[l]aw enforcement and the
                                             n
      Defense community had a gulf between them and there was no bridge
                                        ily
                                      ar


      connecting either side." Id. at 27.
                                   M




129. Related to the future dangerousness special issue, the Holman Murder was the
                                 of




      most important portion of the case for the defense. 6 RR2019 at 30.
                              e
                           ffic




130. The defense intended to prove that Hamilton was not involved in the Holman
                        O




      Murder though the testimony of Shawon Smith. 6 RR2019 at 31.
                       y
                    op




131. Defense counsel knew of a plea deal that Smith reached with the State through
                   C




      prosecutor Colleen Barnett and Smith's attorney, Alvin Nunnery. Id. At 32.
                  ial




      The defense expected that Smith would testify at Hamilton's trial if called as
               fic




      a witness.
         of
      Un




132. The defense planed on proving that Smith's car, the same car used in the
      Yellowstone Murder, had been wrecked and was in the impound storage lot
      at the time of the murder. 6 RR2019 at 32. Ms. Muldrow's belief was that
      the state acted as if Shawon Smith might no longer have a deal simply because

                                            33
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 62 of 137




      the state did not want Smith to testify that Hamilton could not have committed
      the Holman Murder. 6 RR2019 at 32-40. She was not aware of the State
      needing to perform any additional investigation related to Smith. Id.
133. The Court finds that the defense team was aware of the deal in place for the




                                                                      k
      co-defendant prior to trial.




                                                                   ler
134. Ms. Muldrow noted that after the time for a motion for new trial had passed,




                                                                tC
      the prosecution team from Hamilton's case went ahead and honored the




                                                            ric
                                                         ist
      agreement with Smith. Id. at 41.




                                                      sD
135. Ms. Muldrow was allowed to view the offense report in this case, prior to trial.




                                                   es
      6 RR2019 at 41-42. However, the report did not mention that any fingerprints



                                                rg
      found at the scene had been compared to any known persons prints. Id.
                                               Bu
136. The defense never learned prior to trial that the fingerprints had been
                                           n
      compared in this case. 6 RR2019 at 42. The defense never learned from any
                                         ily
                                      ar


      sources that Hamilton's fingerprints had been excluded from all the prints
                                     M




      collected in this case. 6 RR2019 at 42.
                                 of




137. Had the defense known that Hamilton's prints had been compared to, and
                               e
                           ffic




      excluded from, all prints found at the Holman Murder scene, the defense
                        O




      strategy would have changed. 6 RR2019 at 43-44. Defense counsel would
                       y
                    op




      have employed her own fingerprint expert. Id. at 44.
                 C




138. Defense counsel did have a Brady motion granted in this case, but defense
               ial




      counsel was never allowed, before trial, to review any evidence except for the
            fic




      offense report. 6 RR2019 at 45-46.
         of
      Un




139. Defense counsel never saw the envelopes containing the latent prints, which
      were in the possession of the Houston Police Department, prior to trial. 6
      RR2019 at 46.


                                          34
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 63 of 137




140. Based upon the statements of the trial prosecutors, and the lack of lab
      supplements noting fingerprint comparisons, defense counsel was led to
      believe that there were no identifiable fingerprints recovered at the scene of
      the Holman Murder - not that Hamilton was actually excluded from the found




                                                                      k
      prints. 6 RR2019 at 48.




                                                                   ler
141. The open file policy in Harris County at the time of Hamilton's trial meant




                                                                tC
      defense counsel had "to rely on the integrity of the person who was presenting




                                                            ric
                                                         ist
      those files for review, either prosecutors or the State of Texas." 6 RR2019 at




                                                      sD
      49.




                                                   es
142. When Ms. Muldrow examined Connie Park at trial, she did not know whether



                                                 rg
      or not the fingerprints from the Holman Murder scene had actually been
                                              Bu
      examined. 6 RR2019 at 50. Because the State had represented in the pretrial
                                           n
      hearing that there were no scientific results in this case, she presumed there
                                        ily
                                      ar


      would be no prints to prove a "connection to Ronald James Hamilton, Junior
                                   M




      and Shawon D. Smith." 6 RR2019 at 51. Had she been told that the prints
                                 of




      excluded both men, Ms. Muldrow would have changed the way she examined
                                e
                           ffic




      Investigator Park. Id. Further, Ms. Muldrow chose to stop her examination
                        O




      regarding the absent of fingerprints linking Hamilton to the scene because she
                      y
                   op




      believed the prints had never been tested. 6 RR2019 at 132-33.
                 C




143. Ms. Muldrow recalls that the DA's file related to Mr. Hamilton's case was
               ial




      generally in the possession of Colleen Barnett. 6 RR2019 at 59. Colleen
            fic




      Barnett was the person Ms. Muldrow would typically deal with on the
            of
      Un




      prosecution team. 6 RR2019 at 71.
144. Ms. Muldrow explained that during the preparations for a capital murder trial,
      the defense has to focus not only investigating and strategizing for the charged
      offense, but also for all other future dangerousness evidence, and the

                                         35
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 64 of 137




      mitigation case. 6 RR2019 at 70-71. The defense cannot simply focus on any
      single aspect the case. Id.
145. The defense team had multiple investigators working on various parts of the
      case from guilt and innocence to mitigation. 6 RR2019 at 87-91. In spite of




                                                                     k
      these investigators, the State has completely failed to present any evidence




                                                                  ler
      showing that any of the investigators knew, or should have known, that the




                                                               tC
      prosecution team had suppressed the fact that Hamilton had been excluded




                                                           ric
                                                        ist
      from leaving any of the prints discovered at the scene of the Holman Murder.




                                                     sD
146. There is evidence, on a note from the prosecutor's file, that Ms. Muldrow was




                                                   es
      provided with copies of some discovery in this case. 6 RR2019 at 97-98;



                                                   rg
      State's Ex. 7. The note discusses Hamilton's statement to police, a copy of
                                              Bu
      scene photos, a copy of the photo spread, a copy of the "c.m.," a copy of the
                                          n
      composite sketch, and a copy of Smith's statement. Id. The note shows these
                                         ily
                                     ar


      documents were for the benefit of Hamilton's co-defendant, Shawon Smith,
                                    M




      and were being given to Alvin Nunnery through Ms. Muldrow. Id. There is
                                    of




      no evidence that the defense was provided a copy of the Holman Murder
                               e
                           ffic




      offense report, or was ever notified that the fingerprints obtained from the
                        O




      scene of the Holman Murder had been compared to Hamilton's and that
                       y
                    op




      Hamilton was excluded from leaving the prints.
                 C




147. The State has not presented any evidence showing that the defense was aware,
              ial




      or was made aware, that the comparable fingerprints found at the scene of the
           fic




      Holman murder were compared to Hamilton and Smith, but that they were
         of
      Un




      both excluded from having left the prints.
148. The Court notes that the State did not call the original trial prosecutors,
      Colleen Barnett or Lucy Davidson to testify in this case. There is no evidence
      that the fingerprint evidence was ever made known to the defense. Rather,

                                         36
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 65 of 137




        the credible evidence presented to this Court is that the defense team was
        never made known about Hamilton's exclusion from the fingerprint testing
        prior to trial.
149. The defense theory related to the Holman Murder was that Hamilton was not




                                                                       k
        present at the scene. 6 RR2019 at 100-101. Proving that his fingerprints were




                                                                    ler
        not present at the scene would have been strong evidence bolstering the




                                                                 tC
        defense punishment case.




                                                             ric
                                                          ist
150. Defense counsel believed Prosecutor Davidson when she explained there were




                                                       sD
        no comparison tests performed in this case. 6 RR2019 at 114. The Court




                                                    es
        finds it is reasonable for a defense attorney to rely on the representations of



                                                  rg
        trial prosecutors.
                                               Bu
151. At trial, prosecutor Barnett told the court that there were no scientific tests,
                                            n
        including fingerprint comparisons in this case.     6 RR2019 at 131. Ms.
                                          ily
                                        ar


        Muldrow rightfully took the prosecutor at her word. Id. At 131, 134, 138.
                                     M




152. Ms. Muldrow was never shown the investigator's report proving that
                                   of




        Hamilton had been excluded from leaving the prints recovered from the
                                  e
                              ffic




        Holman Murder. Id. At 139-40.
                             O
                             y




V.      THE PROSECUTION HAD REACHED A DEAL WITH CO-DEFENDANT SHAWON
                          op




        SMITH PRIOR TO TRIAL.
                     C




153. Alvin Nunnery is a long time Harris County criminal defense attorney, who
                 ial
              fic




        also previously worked for the Harris County District Attorney's Office, the
            of




        Tarrant County District Attorney's Office, and the Texas Attorney General's
        Un




        Office. 5 RR2019 at 107-08. The Court finds Mr. Nunnery to be credible.

154. Mr. Nunnery represented Mr. Hamilton's co-defendant, Shawon D. Smith. Id.
        at 108. Mr. Nunnery, after reviewing the clerk's record from his client's case,

                                          37
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 66 of 137




      testified that there was a plea agreement in place for his client. Id. at 110. "In
      exchange for him testifying in the matter of the State vs. Mr. Hamilton, his
      charge wherein he was indicted for capital murder was to be reduced to
      aggravated robbery. And in exchange for truthful testimony, he was to be




                                                                       k
      sentenced to 20 years TDC, credit for any time that he had already served."




                                                                    ler
      Id.




                                                                 tC
                                                             ric
155. Mr. Nunnery was certain this plea agreement would have been solidified prior




                                                          ist
      to setting the case for a plea. Id. at 111. Mr. Nunnery remembered the plea




                                                       sD
      "would have been entered into and negotiated prior to the trial of Mr.




                                                    es
      Hamilton." Id. at 111. The clerk's records show that the plea would have


                                                  rg
      been agreed upon by October yct, 2002. 5 RR2019 at 111. The trial testimony
                                               Bu
      did not begin until November 6, 2002. See Trial Reporter Record vol 16.
                                            n
                                         ily
                                       ar


156. Mr. Nunnery would have made the deal with either Prosecutor Colleen
                                    M




      Barnett or Luci Davidson. 5 RR2019 at 12.
                                  of
                                  e




157. Mr. Nunnery also affirmed that his client, Shawon Smith, had previously
                            ffic




      provided information to the prosecution in exchange for his plea agreement.
                         O




      5 RR2019 at 117.
                       y
                    op




158. Mr. Nunnery was present at Hamilton's trial on the day Mr. Smith was
                 C
               ial




      expected to testify. 5 RR2019 at 114-15. He has no idea of the reason why
            fic




      the plea agreement was potentially revoked, but because of prosecutor Luci
            of




      Davidson's suggestion that there was no longer a plea agreement in place, Mr.
      Un




      Nunnery was forced to invoke the Fifth Amendment on behalf of his client.
      Id. at 115-16, 131, 13 5.



                                          38
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 67 of 137




159. It was Mr. Smith's position that he was not involved in the Holman Murder.
      5 RR2019 at 133. Further, Mr. Smith believed that Ronald Hamilton was not
      involved in the Holman Murder. Id. However, after the State suggested it
      had revoked Mr. Smith plea offer, Mr. Nunnery would not have permitted his




                                                                      k
      testimony. Id. at 134.




                                                                   ler
                                                                tC
160. Had the prosecution not suggested the plea deal for Mr. Smith had been called




                                                            ric
      off, Mr. Nunnery would have permitted his client to testify at Hamilton's trial.




                                                         ist
      Id. at 136. Mr. Smith knew that Hamilton did not commit the Holman Murder




                                                      sD
      based upon "Mr. Hamilton's inability to or not have access to the vehicle." Id.




                                                   es
      at 137. "And that their relationship was such that had he been involved; I


                                                 rg
      think he said he would have probably told [him]." Id.
                                              Bu
                                           n
161. Mr. Nunnery believed that Smith would have testified "[t]hat Mr. Hamilton
                                        ily
                                      ar


      could not be involved in that extraneous if he did not have access to his car,
                                   M




      which I understood he would testify to was at a mechanic shop." 5 RR2019
                                 of




      at 140.
                               e
                           ffic




162. After Hamilton's trial, the prosecution decided to honor its previous plea
                        O




      agreement with Smith. Id. at 117 -18. Mr. Smith did not do anything after the
                       y
                    op




      trial to have the original plea agreement put back in place. Id.
                 C
              ial




163. The Court finds that prior to Hamilton's trial the State of Texas had reached
           fic




      a deal with co-defendant Shawon Smith.          Shawon Smith was to testify
         of




      truthfully at Hamilton's trial, and in exchange would plead guilty to
      Un




      aggravated robbery and a 20-year sentence.        The Court finds that Smith
      provided consideration for this deal, specifically, he had already provided



                                         39
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 68 of 137




      information to the police and prosecution team. After Hamilton's trial was
      complete, Mr. Smith was given the same deal agreed to before trial.
164. The Court finds that there was no evidence presented by the State of Texas
      showing that additional investigation was needed, at the time of Hamilton's




                                                                     k
      trial, before the State of Texas would honor the previously agreed upon deal




                                                                  ler
      with Mr. Smith. Instead, the most likely reason that the prosecution claimed




                                                               tC
      there was no deal in place is because the prosecution knew Smith would testify




                                                           ric
                                                        ist
      truthfully about Hamilton's non-involvement in the Holman Murder, and




                                                     sD
      sought to prevent that testimony.




                                                  es
VI.   THE FACTUAL BASIS OF THESE CLAIMS WAS NOT PREVIOUSLY AVAILABLE TO



                                                 rg
      HAMILTON.
                                             Bu
                                            n
165. The Court finds that the State's failure to disclose Hamilton's exclusion from
                                           ily

      the prints found at the scene is the direct result of the Houston Police
                                      ar



      Department's policy of not reporting exclusions related to forensic evidence,
                                   M
                                 of




      and the Harris County District Attorney's Office's failure to tum over the
                               e




      fingerprint evidence in this case.
                           ffic




166. The Court would note that, in addition to the withheld fingerprint comparisons
                        O




      which excluded Hamilton, other comparison evidence was omitted from the
                       y
                    op




      offense report. For example, although not dispositive to the issue of who
                 C




      committed the Holman Murder, the Court would note that there was a
              ial
           fic




      comparison of firearm shell casings related to the Holman Murder, but that no
         of




      offense report supplement was ever made concerning this comparison. 4 RR
      Un




      at 14-22. Once again, related to the shell casing's comparison, there was also
      an elimination. The firearm examiner would have conveyed the results of the
      comparison to the investigating officers who apparently did not request that
      an offense report supplement be made. 4 RR2019 at 21. However, had there
                                       40
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 69 of 137




      been an identification between the two shell casings, then there would have
      been a report made. Id. at 22.
167. The firearm examiner, like the fingerprint examiner, explained that it was not
      the standard practice ofHPD at the time of trial to document eliminations. Id.




                                                                     k
      at 24.




                                                                  ler
168. The Court finds that the firearm examiner's testimony is yet more proof that




                                                               tC
      it was the practice of the HPD crime lab to create supplemental offense reports




                                                           ric
                                                        ist
      when identifications were made, but to not make supplemental reports if




                                                     sD
      exclusions were made.




                                                  es
169. Appropriately, the former HPD cnme lab has since changed its policy.



                                                rg
      Fingerprint Examiner Green testified that she always documents everything
                                              Bu
      she does in cases. 2 RR2019 at 76. This includes documenting comparisons
                                           n
      that don't result in a match, and any prints that are run through AFIS. Id. at
                                        ily
                                       ar


      76. This is done for transparency, and has been a consisted part of her job no
                                   M




      matter what lab she was working with. Id. For the last 13 years that she
                                of




      worked as an examiner, she has always documented exclusions. Id. at 100,
                              e
                           ffic




      123. Had Ms. Green eliminated Hamilton from prints found at the scene, she
                        O




      would have made a record of the elimination. Id. at 124. She would make a
                       y
                    op




      report. Id. at 125. In the hours and hours of training that Ms. Green has gone
                  C




      through, it has never been suggested that she should not record and report
                  ial




      elimination comparisons. Id. at 139.
               fic




170. Fingerprint Examiner Green, who had access to all of the evidence in this case,
         of
      Un




      had not seen any evidence that, prior to her work, the prints in this case were
      previously compared. 2 RR2019 at 77,92-39, 134-35. The Court finds that if
      the State's own fingerprint examiner experts could not tell that the prints had


                                         41
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 70 of 137




      been previously tested, then Hamilton and his attorneys certainly could not
      tell that the prints had been tested prior to trial.
171. Even the representatives of the Harris County District Attorney's Office,
      throughout these current proceedings, were not aware that the fingerprints had




                                                                         k
      previously been tested. As the State recognized in its State's Original Answer




                                                                      ler
      After Remand: "here, there is no indication the evidence had been tested prior




                                                                   tC
      to trial, or that the State was in possession of the results of this testing.




                                                               ric
                                                            ist
      Additionally, even during the October 7, 2002, pretrial conference, the State




                                                         sD
      informed the trial court there were no reports of any scientific tests like DNA




                                                      es
      or fingerprint comparisons." See State's Original Answer After Remand at



                                                    rg
      23. Additionally, the State represented: "On May 11, 2017, the applicant's
                                                 Bu
      federal habeas counsel contacted the State to see if the State would oppose
                                              n
      forensic testing in the Holman Murder. After checking with HPD and finding
                                           ily
                                        ar


      no indication that any forensic analysis had been conducted on the recovered
                                     M




      prints or DNA swabs, the State did not oppose counsel's request for the
                                   of




      forensic testing and comparison of certain items."           See State's Original
                                e
                            ffic




      Answer After Remand at 11.
                         O




172. The State learned for the first time just days prior to June 21, 2019, that there
                        y
                     op




      were no written supplements made for any comparisons, because HPD did not
                  C




      "do elimination reports at the time." R.R. June 21, 2019, Hearing, at 5-6. The
               ial




      lab only made "positive identification reports." Id. at 6. This is why HPD's
            fic




      general litigation did not find any fingerprint comparison reports. Indeed, had
         of
      Un




      the Harris County DA's office had known that Hamilton's prints had been
      excluded from those found at the scene prior to this date, the DA's office
      would not have agreed to retesting. Id. The DA's "post-conviction counsel
      did not know about these eliminations." Id.            The Court finds that if the

                                            42
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 71 of 137




      attorneys working for the State of Texas did not know that the prints in this
      case had been compared to Hamilton's and excluded, then Hamilton's
      attorneys could not have known that the fingerprints on the 40-ounce bottle,
      and the Holman Murder scene, had ever been compared to Hamilton and that




                                                                        k
      he had been excluded.




                                                                     ler
173. It was not until just before the June 21, 2019, hearing that the DA's office




                                                                  tC
      turned over the pretrial memorandum written to Colleen Barnett which shows




                                                              ric
                                                           ist
      that the trial prosecutors were aware, prior to trial, that Hamilton's fingerprints




                                                        sD
      did not match those found on the 40 oz. beer bottle. R.R. June 21, 2019,




                                                     es
      Hearing, at 5-9.



                                                  rg
174. Defense counsel cannot be faulted for failing to go beyond the police report
                                               Bu
      in trying to discover that the fingerprint evidence had been tested. Detective
                                            n
      Hoffmaster explained that pretty much everything that was learned by
                                          ily
                                       ar


      detectives would go into the police report. Depo at 8. Hoffmaster believed
                                    M




      that everything relevant would make it into the offense report. Id. Detective
                                  of




      Hoffmaster believed that if the lab had performed testing or comparisons on
                               e
                            ffic




      forensic evidence, the lab personnel would create a supplement concerning
                         O




      the results of the forensic testing. Id. at 20, 23-24, 29. If it was reasonable
                       y
                    op




      for the investigating detective to believe the offense report was complete and
                 C




      accurate, it was also reasonable for Hamilton's defense counsel to believe the
               ial




      offense report was complete and accurate.
            fic




175. The DNA in this case was never tested until ordered by this Court, but, as
         of
      Un




      noted by the prosecution, Hamilton had no legal ability to have the DNA
      evidence tested until the District Attorney's office agreed to his request.




                                          43
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 72 of 137




                                CONCLUSIONS OF LAW

I.      HAMILTON WAS SUBJECTED TO CRUEL AND UNUSUAL PUNISHMENT IN
        VIOLATION OF THE EIGHTH AMENDMENT TO THE U.S. CONSTITUTION
        THROUGH THE STATE'S USE OF MATERIALLY INACCURATE EVIDENCE.

1.      Hamilton was subjected to cruel and unusual punishment in violation of the




                                                                      k
                                                                   ler
                                                                tC
        Eighth Amendment to the U.S. Constitution, applicable to the States via the




                                                            ric
        Fourteenth Amendment to the U.S. Constitution, because his death sentence




                                                         ist
                                                      sD
        was obtained upon the use of materially inaccurate evidence. Accordingly,




                                                   es
        this Court recommends that the Texas Court of Criminal Appeals grant relief



                                                 rg
        on this claim.                         Bu
                                            n
2.      In Johnson v. Mississippi, the Supreme Court reversed a sentence of death
                                         ily
                                       ar



        where the 'jury was allowed to consider evidence that has been revealed to be
                                    M
                                  of




        materially inaccurate." Id at 590. The Johnson Court applied a two-factor
                                e
                            ffic




        test in analyzing the presented Eighth Amendment claim: I) determining
                           O




        whether the jury was allowed to consider materially inaccurate evidence; and
                            y
                         op




        2) determining whether the evidence was prejudicial. Id. at 586. This Court
                   C
                ial




        applies this test in analyzing Hamilton's presented Eighth Amendment claim.
             fic
           of




3.      This Court concludes that, with respect to the first factor, the jury in
        Un




        Hamilton's case was allowed to consider materially inaccurate evidence -

        namely, any and all evidence presented at the original trial that Hamilton

        committed the extraneous Holman Murder.         The evidence regarding the
                                          44
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 73 of 137




        Holman Murder presented originally at trial is described in Section I-A of the

        above Findings of Fact and is incorporated by reference herein.

4.      This evidence presented at the punishment trial was materially inaccurate in




                                                                          k
        light of the firmly established evidence showing that the perpetrator of the




                                                                       ler
                                                                    tC
        Holman Murder held, drank out of, and set down a particular 40-ounce beer




                                                                ric
        bottle on a rail outside of the store immediately prior to committing the murder




                                                             ist
                                                          sD
        - and that forensic testing on this bottle excludes Hamilton and inculpates




                                                       es
        another individual, Marshall Knight, in the Holman Murder. See Findings of


                                                    rg
                                                 Bu
        Fact Section II-A, II-B (incorporated by reference herein).
                                              n
5.      Eyewitness Wanda Johnson observed the shooter holding this bottle, drinking
                                            ily
                                         ar



        out of it, setting it down on a metal rail outside the store, and urinating over it
                                      M
                                    of




        immediately before entering the store and shooting and killing Mr. Huynh.
                                 e
                              ffic




6.      This 40-ounce bottle was collected as evidence by HPD Fingerprint Examiner
                           O




        Debbie Benningfield during the scene investigation which took place
                         y
                      op




        immediately following the murder. Forensic testing on this bottle, including
                   C
                ial




        fingerprint and DNA testing, establishes that Hamilton was not the person
             fic
           of




        who possessed or touched this bottle. Hamilton was excluded as a contributor
        Un




        to the fingerprints found on the bottle.      Hamilton was also excluded as a

        contributor to any and all identifiable fingerprints found at the Holman

        Murder scene. Additionally, a scientifically valid interpretation of the DNA
                                         45
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 74 of 137




        testing results excludes Hamilton as a contributor to the DNA found on the

        bottle. (This Court observes that the State's DNA expert, using interpretative

        discretion, concluded that the DNA on the fingernail scrapings was




                                                                       k
        insufficient for comparison - thus, the State's expert made no conclusions




                                                                    ler
                                                                 tC
        regarding the DNA test results.).




                                                             ric
7.      Additional forensic DNA testing was conducted on both the left and right




                                                          ist
                                                       sD
        fingernail scrapings of the Holman Murder victim, Mr. Huynh, with whom




                                                    es
        the shooter had a brief physical struggle before committing the murder. A


                                                  rg
                                              Bu
        valid interpretation of the DNA testing results excludes Hamilton as a
                                             n
        contributor to both these left and right fingernail scrapings. (This Court
                                            ily
                                       ar



        observes that the State's DNA expert, using interpretative discretion, and
                                    M
                                  of




        concluded that the minor profile DNA from the fingernail scrapings was
                                e
                            ffic




        insufficient for comparison - thus, the State's expert made no conclusions
                          O




        regarding the DNA test results.).
                        y
                     op




8.      Fingerprint testing and comparisons were originally conducted on the prints
                   C
                ial




        taken from this bottle in 2002. The prints from the bottle were compared with
             fic
           of




        the known prints of Hamilton and his co-defendant, Shawon Smith. The
        Un




        results of the 2002 fingerprint testing and comparisons excluded Hamilton,

        Smith, and two other suspects that were never previously disclosed to the

        defense. Similarly, the exclusion of both Hamilton and Smith from being the
                                          46
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 75 of 137




        contributors to these fingerprints was never revealed or disclosed to Hamilton

        or the defense.

9.      Despite the State's awareness of these facts, prosecutors Colleen Barnett and




                                                                       k
        Luci Davidson represented to the trial court and to the defense that there were




                                                                    ler
                                                                 tC
        no fingerprint comparisons during the original pretrial hearing. 2 RR at 8-9.




                                                             ric
10.     Additional fingerprint testing, in 2017, excluded Hamilton and identified




                                                          ist
                                                       sD
        Marshall Dwayne Knight as the individual whose fingerprints were found on




                                                    es
        the bottle. See Findings of Fact Section II-B (incorporated herein for all


                                                  rg
                                               Bu
        purposes). This Court also notes that the Houston Police Department would
                                             n
        have had Knight's fingerprints, through multiple arrests, in their fingerprint
                                            ily
                                        ar



        database at the time of the fingerprint testing and comparisons in 2002. There
                                     M
                                  of




        is no direct evidence, however, that the Houston Police Department identified
                                e
                             ffic




        Knight prior to the 2017 testing.
                          O




11.     The DNA testing was conducted exclusively in 2017, and there 1s no
                         y
                      op




        indication that any DNA testing was conducted prior to 2017.
                   C
                ial




12.     In addition to the forensic evidence directly linking Knight to the bottle,
             fic
           of




        Knight's physical description was also similar to the descriptions provided by
        Un




        eyewitnesses Charles Douglas and Wanda Johnson. Both witnesses described

        the shooter as being a teenager.     And eyewitness Douglas described the

        shooter as weighing 140 pounds. Knight was 20 years old at the time of the
                                        47
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 76 of 137




      Holman Murder, and District Clerk records indicate that Knight weighed 150

      lbs. By contrast, Hamilton would have been 24 years at the time of the

      Holman Murder and records indicate that Hamilton weighed 170 lbs.




                                                                     k
13.   Knight also had a criminal history involving violence, and a history involving




                                                                  ler
                                                               tC
      alcohol use. At the time of the Holman Murder, Knight had been previously




                                                           ric
      convicted of unlawful carrying of a weapon and was on a deferred




                                                        ist
                                                     sD
      adjudication for aggravated robbery with a deadly weapon.        Knight was




                                                  es
      adjudicated guilty for this aggravated robbery in February 2002, for using


                                                rg
      alcohol while on community supervision.Bu
                                          n
14.   Knight was called as a witness during the writ hearing and exercised his Fifth
                                        ily
                                     ar



      Amendment privilege to refuse to answer the questions that were posed by
                                  M
                                of




      Applicant. See Findings of Fact Section II-C (incorporated herein for all
                              e
                          ffic




      purposes).
                        O




15.   In light of the above, and this Court's Findings of Fact, this Court concludes
                      y
                   op




      that Hamilton has proven by a preponderance of the evidence that the State
                   C
              ial




      presented materially inaccurate evidence at Hamilton's punishment trial.
           fic
         of




      Further, the Court finds it is more likely that Marshal Knight committed the
      Un




      Holman murder than Hamilton.

16.   This Court concludes, after analyzing the second factor, that Hamilton was

      prejudiced by the State's introduction of the materially inaccurate and false
                                        48
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 77 of 137




      and misleading evidence - the extraneous Holman capital murder in this death

      penalty case.

17.   Because Hamilton had entered a guilty plea to the capital murder charge with




                                                                     k
      which he was indicted, the Yellowstone Murder, the Holman Murder became




                                                                  ler
                                                               tC
      the State's main focus during the punishment trial.




                                                           ric
18.   At the punishment phase of the trial, the jury was tasked with answering




                                                        ist
                                                     sD
      Texas's two special issues relating to future dangerousness and mitigation.




                                                  es
      See 2 CR at 330; see also TEX. CODE CRIM. PROC. art. 37.071 §(b)(l),


                                                rg
      (e)(l).                                Bu
                                          n
19.   The extraneous capital murder was material to the analysis of both special
                                        ily
                                     ar



      ISsues.
                                  M
                                of




20.   At the outset of the punishment trial, prosecutor Colleen Barnett emphasized
                              e
                          ffic




      the importance of the Holman Murder, stating during opening statements that
                         O




      the State would prove the extraneous murder beyond a reasonable doubt and
                         y
                      op




      that, therefore, the State would meet their burden on both prongs of the
                    C
               ial




      punishment question. 16 RR at 22-25.
            fic
         of




21.   During the trial, the State presented eight witnesses, hundreds of pages of
      Un




      testimony, and numerous exhibits to prove up that Hamilton had committed

      this extraneous capital murder. See Findings of Fact I-A (incorporated by

      reference).     These exhibits included, among other items, gruesome
                                       49
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 78 of 137




      photographs of Mr. Huynh laying in his own blood and pictures of his brain.

      Prosecutor Barnett walked the picture of Mr. Huynh's brain in front of the

      jury just before resting the State's case. Id.




                                                                       k
22.   The State also heavily and repeatedly emphasized and relied on this




                                                                    ler
                                                                 tC
      extraneous capital murder in each of its closing arguments - arguing that the




                                                             ric
      jury should answer the special issues in a manner that resulted in a death




                                                          ist
                                                       sD
      sentence. See Findings of Fact I-A, (incorporated by reference) (discussing




                                                       es
      the closing arguments given by prosecutors Colleen Barnett and Luci


                                                  rg
      Davidson).                               Bu
                                            n
23.   The jury was also instructed that it could not consider evidence of an
                                          ily
                                       ar



      extraneous crime or bad act in answering the special issues, unless the State
                                    M
                                  of




      had first shown beyond a reasonable doubt that Hamilton had committed the
                               e
                            ffic




      extraneous crime or bad act. 2 C.R. at 325. Both prosecutors emphasized that
                         O




      the jury should find beyond a reasonable doubt that Hamilton committed the
                       y
                    op




      Holman Murder - an extraneous capital murder.           The State made this
                   C
               ial




      argument while depriving Hamilton of the strongest evidence that he did not
            fic
         of




      commit this extraneous capital murder - exculpatory forensic testing results
      Un




      from an item of physical evidence left behind by the true Holman shooter.

24.   This Court finds that Hamilton has proven by a preponderance of the evidence

      that he was deprived of his right to be free from cruel and unusual punishment
                                          50
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 79 of 137




      under the Eighth Amendment to the U.S. Constitution through the State's use

      of materially inaccurate evidence at his punishment trial.          This Court

      recommends that the Texas Court of Criminal Appeals grant relief on this




                                                                      k
      claim.




                                                                   ler
                                                                tC
25.   Finally, the Court finds that the factual basis of this claim was not previously




                                                            ric
      available to Mr. Hamilton. See Tex. C. Crim. P.art.11.071, Sec. 5 (a)(l); See




                                                         ist
                                                      sD
      Findings of Fact, VI, supra. The fact that the fingerprint evidence had been




                                                   es
      compared to Hamilton's prior to trial, and that Hamilton was excluded from


                                                 rg
                                              Bu
      all fingerprint evidence was actively suppressed by the prosecution team.
                                           n
      Further, the DNA evidence, which has been in the exclusive possession of the
                                        ily
                                      ar



      prosecution team, was not tested until after Hamilton's initial habeas
                                   M
                                 of




      application was denied, and Hamilton had no legal mechanism to have the
                              e
                           ffic




      DNA evidence tested without the blessing of the state. Finally, the identity of
                        O




      Marshal Knight and the presence of his fingerprints on the 40-ounce beer
                       y
                    op




      bottle was not known or disclosed until after Hamilton's initial application
                 C
              ial




      was denied.
           fic
         of




26.   The Court also finds that "[a] rule thus declaring 'prosecutor may hide,
      Un




      defendant must seek' is not tenable in a system constitutionally bound to

      accord defendants due process." Banks v. Dretke, 540 U.S. 668, 696 (2004).


                                         51
      Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 80 of 137




         Based upon clear Due Process jurisprudence the failure to disclose the

         favorable evidence in this case falls on the State of Texas.


II.      HAMILTON WAS DEPRIVED OF HIS RIGHT TO DUE PROCESS OF LAW UNDER




                                                                         k
         THE FOURTEENTH AMENDMENT OF THE U.S. CONSTITUTION AND DEPRIVED




                                                                      ler
         OF HIS RIGHT TO DUE COURSE OF LAW UNDER THE TEXAS CONSTITUTION




                                                                   tC
         THROUGH THE STATE'S USE OF FALSE AND MISLEADING EVIDENCE.




                                                               ric
27.      This Court finds Hamilton was deprived of his right to due process of law




                                                            ist
                                                         sD
         under the Fourteenth Amendment to the U.S. Constitution because his death




                                                      es
         sentence was obtained upon the use of false and misleading evidence material



                                                    rg
         to the punishment decision.             Bu
                                              n
28.      This Court also finds that Hamilton was deprived of his right to due course of
                                           ily
                                         ar



         law under Art. I, §§ 13 and 19 of the Texas Constitution because his death
                                       M
                                    of




         sentence was obtained upon the use of false and misleading evidence material
                                 e
                              ffic




         to the punishment decision in this case.
                           O




29.      The Fourteenth Amendment's due process clause prohibits the State from
                          y
                       op




         securing a conviction or death sentence through the use of false or highly
                    C
                 ial




         misleading evidence. See Napue v. Illinois, 360 U.S. U.S. 264, 269 (1959)
              fic
            of




         (holding that "a conviction obtained through use of false evidence, known to
         Un




         be such by representatives of the State, must fall under the Fourteenth

         Amendment.") "The same result [is obtained] when the State, although not



                                            52
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 81 of 137




      soliciting false evidence, allows it to go uncorrected when it appears." Id. at

      79.

30.   It is not necessary that the State actually knew that the testimony in a case was




                                                                       k
      false, it is enough that the prosecution should have known as much. See e.g.,




                                                                    ler
                                                                 tC
      U.S. v. Agurs, 427 U.S. 97, 103) (1976) (explaining this error occurs with the




                                                             ric
      use of false evidence where the "evidence demonstrates that the prosecution's




                                                          ist
                                                       sD
      case included perjured testimony and that the prosecution knew, or should




                                                    es
      have known, of the perjury."). Convictions based on false evidence must be


                                                 rg
                                               Bu
      reversed if the false evidence "may have had an effect on the outcome of the
                                           n
      trial." Napue, 360 U.S. at 272 (1959).
                                         ily
                                      ar



31.   Texas also recognizes that '" [t ]he Due Process Clause of the Fourteenth
                                   M
                                 of




      Amendment can be violated when the State uses false testimony to obtain a
                               e
                           ffic




      conviction, regardless of whether it does so knowingly or unknowingly."" Ex
                        O




      Parte Chavez, 371 S.W.3d 200, 207-08 (Tex. Crim. App. 2012) (citing Ex
                       y
                    op




      parte Robbins, 360 S.W.3d446, 459 (Tex.Crim.App.2011)); see also Ex parte
                 C
               ial




      Ghahremani, 332 S.W.3d 470,478 (Tex. Crim. App. 2011).
            fic
            of




32.   The question is whether the testimony, taken as a whole, gives the jury a false
      Un




      impression. Ghahremani, 332 S.W.3d at 477.

33.   "The present standard for materiality of false testimony is whether there is a

      'reasonable likelihood that the false testimony affected the applicant's'
                                      53
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 82 of 137




      conviction or sentence. This standard is 'more likely to result in a finding of

      error' than the standard that requires the applicant to show a 'reasonable

      probability' that the error 'affected the outcome."' Ex Parte Chavez, 371




                                                                       k
      S.W.3d at 206-07 (internal citations omitted).




                                                                    ler
                                                                 tC
34.   As with Hamilton's related Eighth Amendment claim, this Court finds that




                                                             ric
      Hamilton has proven the constitutional violation.




                                                          ist
                                                       sD
35.   This Court concludes that, with respect to the first factor, the jury in




                                                   es
      Hamilton's case was allowed to consider materially inaccurate evidence -


                                                 rg
                                             Bu
      namely, any and all evidence presented at the original trial that Hamilton
                                           n
      committed the extraneous Holman Murder. See Findings of Fact section I-A.
                                        ily
                                      ar



36.   This evidence presented at the punishment trial was materially inaccurate in
                                   M
                                 of




      light of the firmly established evidence showing that the perpetrator of the
                              e
                           ffic




      Holman Murder held, drank out of, and set down a particular 40-ounce beer
                        O




      bottle on a rail outside of the store immediately prior to committing the murder
                       y
                    op




      - and that forensic testing on this bottle excludes Hamilton and inculpates
                 C
              ial




      another individual, Marshall Knight, in the Holman Murder. See Findings of
           fic
         of




      Fact Section II-A, II-B (incorporated by reference herein); see also
      Un




      Conclusions of Law Section I.

37.   In light of the above, and this Court's Findings of Fact, this Court concludes

      that Hamilton has proven by a preponderance of the evidence that the State
                                      54
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 83 of 137




      presented false and misleading evidence at Hamilton's punishment trial.

      Indeed, based upon the evidence before this Court, the Court finds that

      Hamilton has proven his false and misleading evidence claim by clear and




                                                                     k
      convincing evidence.




                                                                  ler
                                                               tC
38.   This Court concludes, after analyzing the second factor, that Hamilton was




                                                           ric
      prejudiced by the State's introduction of the false and misleading evidence -




                                                        ist
                                                     sD
      the extraneous Holman capital murder in this death penalty case.          See




                                                  es
      Conclusions of Law Section I (detailed discussion of harm).


                                                rg
39.                                         Bu
      This Court concludes that the record shows that there is a reasonable
                                           n
      likelihood that the false and misleading evidence - that Hamilton had
                                       ily
                                     ar



      committed the Holman Murder - affected the judgment of the jury during the
                                  M
                                of




      punishment phase of trial. See Chavez, 371 S.W.3d at 207-08.
                              e
                          ffic




40.   Because Hamilton had entered a guilty plea to the capital murder charge with
                       O




      which he was indicted, the Yellowstone Murder, Hamilton's trial went
                      y
                   op




      directly into the punishment phase. The Holman Murder became the State's
                C
              ial




      focus during the punishment trial.
           fic
         of




41.   The extraneous capital murder was material to the analysis of both special
      Un




      issues - to both the future dangerousness and mitigation prongs.

42.   The State relied upon the false evidence that Hamilton committed a second

      capital murder throughout trial, starting with opening statements and ended in
                                          55
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 84 of 137




      closing argument. The State used the testimony to prove that Hamilton was a

      future danger to and to refute the defense's mitigation case. The State called

      eight witnesses to prove the Holman murder, but concealed the evidence




                                                                     k
      needed for Hamilton to prove he was not involved in the murder. See also




                                                                  ler
                                                               tC
      Conclusions of Law Section I (discussing harm in more detail).




                                                           ric
43.   This Court finds that Hamilton has proven by a preponderance of the evidence




                                                        ist
                                                     sD
      that he was deprived of his right to due process of law under the Fourteenth




                                                  es
      Amendment to the U.S. Constitution, and under the due course of law


                                                rg
                                              Bu
      provisions of the Texas Constitution, based on the State's use of false and
                                           n
      misleading evidence at his punishment trial. This Court recommends that the
                                        ily
                                      ar



      Texas Court of Criminal Appeals grant relief on this claim.
                                    M
                                of




44.   For the reasons discussed in Conclusion of Law no. 25, and Findings of Fact
                              e
                           ffic




      section VI, the factual basis of this claim was not previously available to Mr.
                        O




      Hamilton. See Tex. C. Crim. P. art. 11.071, Sec. 5 (a)(l); See also Findings
                      y
                   op




      of Fact, VI, supra. Further, to the extent that this claim relies upon the
                 C
              ial




      unknowing use of false testimony, the legal basis of this claim was not
           fic
         of




      previously available to Mr. Hamilton. Ex Parte De La Cruz, 466 S.W.3d 855
      Un




      (Tex. Crim. App. 2015) ( establishing the Ex parte Chabot grated new law for

      Texas' applicants in 2009).


                                         56
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 85 of 137




Ill.   HAMILTON WAS DEPRIVED OF HIS RIGHT TO DUE PROCESS OF LAW UNDER
       THE FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION, AND UNDER
       THE DUE COURSE OF LAW PROVISIONS OF THE TEXAS CONSTITUTION,
       BECAUSE THE STATE FAILED TO DISCLOSE EXCULPATORY EVIDENCE THAT
       WAS MATERIAL TO HAMILTON'S DEFENSE.




                                                                       k
45.    Hamilton was deprived of his right to due process oflaw under the Fourteenth




                                                                    ler
                                                                 tC
       Amendment to the U.S. Constitution because the State failed to disclose




                                                             ric
       exculpatory information that was material to Hamilton's defense. Hamilton




                                                          ist
                                                       sD
       was also deprived of his right to due course of law under Art. I, §§ 13 and 19




                                                    es
       of the Texas Constitution because of the State's failure to disclose exculpatory


                                                  rg
                                               Bu
       information that was material to Hamilton's defense. Accordingly, this Court
                                            n
       recommends that the Texas Court of Criminal Appeals grant relief on these
                                         ily
                                       ar



       claims.
                                    M
                                  of




46.    In Brady v. Maryland, the Supreme Court held that suppression by the State
                               e
                            ffic




       of "evidence favorable to the accused upon request violates due process where
                         O




       the evidence is material either to guilt or punishment, irrespective of the good
                        y
                     op




       faith or bad faith of the prosecution." Brady v. Maryland, 373 U.S. 83, 87
                  C
               ial




       (1963). Brady applies even if there has been no request by the defendant,
            fic
          of




       United States v. Agurs, 427 U.S. 97 (1976), and that this duty includes both
       Un




       impeachment and exculpatory evidence. United States v. Bagley, 473 U.S.

       667 (1985).


                                          57
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 86 of 137




4 7.   The State is deemed to possess evidence that is in the possession of any part

       of the prosecutorial team. Kyles v. Whitley, 514 U.S. 419, 437 (1995). The

       Court finds, that in addition to the trial prosecutors, the prosecutor's




                                                                       k
       investigator, and all police officers investigating this case (including Debbie




                                                                    ler
                                                                 tC
       Benningfield) were part of the prosecution team. Ex Parte Miles, 359 S.W.3d




                                                             ric
       647,665 (Tex. Crim. App. 2012).




                                                          ist
                                                       sD
48.    Evidence withheld by the State is material, and a new trial is required, if there




                                                    es
       is a reasonable probability that, had the evidence been disclosed to the


                                                  rg
                                               Bu
       defense, the outcome of the proceeding would have been different. See e.g.
                                            n
       Giglio v. US., 405 U.S. 150, 154 ("A new trial is required if 'the false
                                         ily
                                       ar



       testimony could ... in any reasonable likelihood have affected the judgment
                                    M
                                  of




       of the jury.)
                               e
                            ffic




49.    With respect to the first and second prongs, this Court finds that the State
                         O




       failed to disclose favorable evidence to Hamilton - evidence that was both
                          y
                       op




       exculpatory and had impeachment value.
                  C
                ial




50.    The prosecution team failed to disclose to Hamilton that fingerprint
             fic
          of




       comparisons had been made from the fingerprints taken from the Holman
       Un




       Murder scene, and particularly from the 40-ounce bottle that witness Wanda

       Johnson saw the shooter hold, drink from, and set down on the metal rail


                                          58
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 87 of 137




      immediately before committing the murder. See Findings of Fact Sections

      III-IV, supra, fully incorporated by reference herein.

51.   Wanda Johnson told police when she was first interviewed that the shooter




                                                                     k
      held the bottle.    Either Detective Connie Park or Sgt. Larry Hoffmaster




                                                                  ler
                                                               tC
      documented Johnson's statement about the shooter holding the bottle in the




                                                           ric
      Holman Murder offense report.




                                                        ist
                                                     sD
52.   The prosecution team knew about the existence of the fingerprint




                                                   es
      compansons.        Members of the prosecution team specifically knew that


                                                rg
                                              Bu
      Hamilton and Shawon Smith were excluded from leaving all identifiable
                                           n
      prints at the murder scene, but the prosecution team actively concealed this
                                        ily
                                      ar



      information from the defense team.
                                   M
                                 of




53.   HPD had a policy of not documenting fingerprint comparisons that resulted
                               e
                            ffic




      in an exclusion, and specifically did not document these exclusions in the
                         O




      offense report or any supplement to the offense report in this case. Rather,
                       y
                    op




      Benningfield would relay the result of the exclusion to the person who had
                 C
              ial




      requested that she conduct a comparison - either Detective Connie Park of
           fic
         of




      Sgt. Larry Hoffmaster, the HPD lead investigators in this case.
      Un




54.   The State's prosecutors were made aware of the results of the fingerprint

      exclusions before trial. Prosecutor Colleen Barnett assigned DA's Office

      investigator George "Buddy" Barringer the task of determining whether there
                                         59
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 88 of 137




      were fingerprint comparisons and results in the Holman Murder. Barringer

      documented in an internal DA's office memorandum that in the Holman

      Murder case "prints found were compared to defendants and eliminated."




                                                                     k
      This information was never given to Hamilton or his defense, and was only




                                                                  ler
                                                               tC
      revealed in the days before the habeas hearing in this Court.




                                                           ric
55.   Compounding this error, the State's prosecutors represented to both the trial




                                                        ist
                                                     sD
      court and the defense team during the pre-trial conference that there were no




                                                  es
      fingerprint comparisons. 2 RR at 8-9. Further, the State was ordered to turn


                                                rg
                                             Bu
      over fingerprint comparisons, but specifically failed to do so. 2 RR at 14.
                                          n
56.   Hamilton's exclusion from the fingerprints on the bottle has significant
                                        ily
                                     ar



      exculpatory and impeachment value. Exculpatory evidence is that which may
                                  M
                                of




      justify, excuse, or clear the defendant from fault. Ex parte Miles, 359 S.W.3d
                              e
                           ffic




      647,665 (Tex.Crim.App. 2012). The fingerprints constituted direct forensic
                        O




      evidence about the identity of the shooter in the Holman Murder, as it was an
                      y
                   op




      item of physical evidence the State's own witness, Wanda Johnson, observed
                 C
              ial




      the shooter leave behind at the murder scene. And she told police about this
           fic
         of




      fact on the day she was interviewed.       The testing of these prints, and
      Un




      Hamilton's resulting exclusion, would have been the strongest evidence

      available to clear Hamilton from fault in that extraneous capital murder - and


                                        60
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 89 of 137




      he was wholly deprived of using this evidence, despite specifically asking that

      fingerprint comparisons be produced.

57.   Additionally, the testing results showing Hamilton's exclusion from this




                                                                     k
      physical evidence would serve to dispute, disparage, deny, and contradict the




                                                                  ler
                                                               tC
      entirety of the State's evidence presented suggesting Hamilton's involvement




                                                           ric
      in the Holman murder - a vitally important task in Hamilton's defense of the




                                                        ist
                                                     sD
      extraneous capital murder, and what was described as the most important task




                                                  es
      in the defensive effort to keep Hamilton from receiving a death sentence.


                                                rg
58.                                           Bu
      Finally, although there is no direct evidence that the Houston Police
                                          n
      Department identified Knight prior to the 2017 testing, Knight's fingerprints
                                        ily
                                      ar



      were in the Houston Police Department's database on account of his multiple
                                   M
                                of




      arrests. The Houston Police Department arrested Knight shortly after they
                              e
                           ffic




      arrested Hamilton in connection with the Yellowstone Murder. Knight was
                        O




      arrested and booked by the Houston Police Department on February 11, 2002,
                       y
                    op




      many months before Hamilton's November 2002 trial ultimately took place.
                  C
               ial




      It could very well be the case that had this favorable evidence been turned
            fic
         of




      over, and not actively suppressed, that either the State or Hamilton's defense
      Un




      team would have been able to figure out what was established in 201 7 -

      Marshall Knight's identity and the fact that it was his fingerprints that were

      on this bottle.
                                         61
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 90 of 137




59.   For these reasons, and those described below, the Court finds that the withheld

      and favorable evidence was material - and that there is a reasonable

      probability that, had the evidence been disclosed, the outcome of the trial




                                                                     k
      would have been different.




                                                                  ler
                                                               tC
60.   This Court applies the principles set forth in Kyles v. Whitley, 514 U.S. 419,




                                                           ric
      437 (1995), in conducting its materiality analysis and concluding that there is




                                                        ist
                                                     sD
      a reasonable probability that, had the evidence been disclosed, the outcome of




                                                  es
      the trial would have been different.


                                                rg
61.                                           Bu
      The confidence in Hamilton's punishment verdict is undermined by the
                                             n
      State's failure to disclose the favorable evidence in this case. Restated, the
                                        ily
                                      ar



      undisclosed favorable evidence related to the extraneous capital murder could
                                   M
                                of




      reasonably be taken to put the whole case in such a different light as to
                              e
                           ffic




      undermine confidence in the punishment verdict.
                        O




62.   The Holman Murder - an extraneous capital murder - was, in connection with
                      y
                   op




      the Yellowstone Murder - the strongest future dangerousness evidence
                 C
              ial




      presented in this death penalty punishment case. Additionally, it was the
           fic
         of




      strongest evidence that there was not a sufficient mitigating circumstances or
      Un




      circumstances warranting that a sentence of life imprisonment rather than

      death be imposed.


                                         62
   Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 91 of 137




63.    This Court does recognize that other evidence was presented in the State's

       future dangerousness and lack of sufficient mitigation case. See Findings of

       Fact I-B, supra (incorporated by reference). However, none of the other




                                                                        k
       presented bad acts or extraneous crimes rise nearly to the level of a second




                                                                     ler
                                                                  tC
       capital murder -- none were as severe, strong, or determinative in evaluating




                                                              ric
       the future dangerousness and mitigation special issues.      And the State




                                                           ist
                                                        sD
       recognized as much in its closing arguments, heavily emphasizing the




                                                   es
       importance of this extraneous capital murder in the jury's analysis of the


                                                rg
       special issues.                          Bu
                                           n
64.    The verdict given in the punishment phase of this case is not worthy of
                                         ily
                                      ar



       confidence where Hamilton was deprived of the most vital and important
                                   M
                                 of




       evidence illustrating that he did not commit the extraneous Holman Murder -
                               e
                           ffic




       forensic testing excluding him from an important piece of physical evidence
                         O




       and inculpating another in that crime.
                        y
                     op




6 5.   This Court finds that Hamilton has proven by a preponderance of the evidence
                  C
               ial




       that the State violated his right to due process of law under the Fourteenth
            fic
          of




       Amendment to the U.S. Constitution and under the due course of law
       Un




       provisions of due course of law under Art. I, §§ 13 and 19 of the Texas

       Constitution. Accordingly, this Court recommends that the Texas Court of

       Criminal Appeals grant relief on these claims.
                                         63
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 92 of 137




66.   Finally, the Court finds that the factual basis of this claim was not previously

      available to Mr. Hamilton. See Tex. C. Crim. P.art.11.071, Sec. 5 (a)(l); See

      Findings of Fact, VI, supra. The fact that the fingerprint evidence had been




                                                                      k
      compared to Hamilton's prior to trial, and that Hamilton was excluded from




                                                                   ler
                                                                tC
      all fingerprint evidence discovered at the Holman murder scene was actively




                                                            ric
      suppressed by the prosecution team.




                                                         ist
                                                      sD
                                   CONCLUSION




                                                   es
                                                 rg
      Ronald Hamilton's death sentence was obtained in violation of the United
                                              Bu
States and Texas Constitutions. The Applicant has demonstrated that his death
                                            n
sentence was unlawfully obtained, and therefore it is recommended to the Texas
                                        ily
                                      ar


Court of Criminal Appeals that relief be granted in the from of a new punishment
                                   M




proceeding.
                                 of
                              e




By the following signature the Court adopts these findings of fact and
                           ffic




conclusions oflaw in this cause number and recommends that relief be granted.
                       yO
                    op




                                       Signed this ~ day of                  ,2019
                 C




                                                                  OCTOBER


                                    101:~1;~,d~ 1fiW
                 ial
              fic




                                       Honorable DaSean Jones
         of
      Un




                                       180 th District Court, Harris County, Texas




                                         64
     Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 93 of 137




                                   Cause No. 0901049-B



THE STATE OF TEXAS                       §             IN THE DISTRICT COURT

                                         §




                                                                         k
                                                                      ler
v.                                       §             180th JUDICIAL DISTRICT




                                                                   tC
                                         §




                                                               ric
RONALD HAMIL TON, JR.                    §             HARRIS COUNTY, TEXAS




                                                            ist
                                                         sD
                                                       es
                                         ORDER




                                                   rg
                                                  Bu
THE CLERK IS HEREBY ORDERED to prepare a transcript of all papers in cause
                                              n
number 901049-B and transmit same to the Court of Criminal Appeals as provided
                                             ily

by Article 11.071 of the Texas Code of Criminal Procedure. The transcript shall
                                         ar



include certified copies of the following documents:
                                      M
                                    of




     1. all of the applicant's pleadings filed in cause number 901049-B including any
                                   e
                             ffic




        exhibits and affidavits;
                          O




     2. all of the Respondents pleadings filed in cause number 901049-B including
                         y
                      op




        exhibits and affidavits;
                   C




     3. all orders of the Court (including the order regarding Larry Hoffmaster's
                 ial




        deposition, and the deposition itself);
              fic




     4. all proposed findings filed by either party;
           of
        Un




     5. A complete transcript of all Reporters Records relating to the proceedings
        which took place before this Court (including the habeas hearing and all
        recorded habeas proceedings);
     6. the indictment, judgment, sentence, docket sheet;

                                             65
  Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 94 of 137




   7. appellate record in cause number 901049 unless they have been previously
      forwarded to the Court of Criminal Appeals, and;
   8. Any other matters used by the convicting court in resolving issues of fact.

THE CLERK IS FURTHER ORDERED to send a copy of these findings to both




                                                                        k
                                                                     ler
parties, either by electronic means or by mail.




                                                                  tC
                                        .
                                       S1gne d th"1s   30TH   day of _____
                                                                     OCTOBER , 2019




                                                              ric
                                                           ist
                                                        sD
                                       Honorable DaSean Jones




                                                       es
                                       180 th District Court, Harris County, Texas



                                                  rg
                                              Bu
                                           n
                                         ily
                                      ar
                                   M
                                 of
                               e
                           ffic
                       yO
                    op
                 C
               ial
            fic
          of
      Un




                                         66
Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 95 of 137




               Appendix 2
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 96 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)




                 2020 WL 2563544                                  I. BACKGROUND
  Only the Westlaw citation is currently available.
  United States District Court, S.D. Texas, Houston
                      Division.
                                                                    A. The Murders, The Investigation, and Prible’s
         Ronald Jeffery PRIBLE, Petitioner,                         Arrest
                          v.                                      At around 6:00 a.m. on April 24, 1999, a neighbor saw
     Lorie DAVIS, Director, Texas Department of                   smoke pouring from Esteban “Steve” Herrera’s house.
      Criminal Justice, Correctional Institutions                 Authorities found Herrera lying in the middle of the garage
                Division, Respondent.                             in a pool of blood. Four bodies were found inside the
                                                                  smoky house. Herrera’s girlfriend Nilda Tirado lay face-
                       H-09-CV-1896                               down on a couch inside, naked from the waist down. Three
                             |
                                                                  children were found dead in the bedrooms.
                    Signed 05/20/2020
                                                                  A forensic investigation revealed that the assailant had
Attorneys and Law Firms                                           used an accelerant to create a flashfire that self-
                                                                  extinguished, but not before suffocating the sleeping
Gretchen N. Scardino, Scardino LLP, Austin, TX, James             children. Both Tirado and Herrera had died from a single
Gregory Rytting, Hilder Associates PC, Houston, TX,               gunshot to the back of the head. Both adults had died before
Philip Harlan Hilder, Hilder & Associates, P.C., Houston,         the fire started.
TX, for Petitioner.
                                                                  Prible, a friend of Herrera and Tirado, was quickly
Jefferson David Clendenin, George A. D’Hemecourt, Kelli           identified as a suspect. The police investigation established
L. Weaver, Thomas M. Jones, Office of the Attorney                that Prible had spent the evening with Herrera. Herrera’s
General, Austin, TX, Tina Dettmer Miranda, Criminal               brother-in-law had accompanied Prible and Herrera to a
Appeals Division, Austin, TX, for Respondent.                     club until around 2:00 a.m. on the morning of the murders.
                                                                  They returned to the Herrera home. Herrera and Prible
                                                                  were in the garage playing pool when the brother-in-law
                                                                  left.

      MEMORANDUM OPINION AND ORDER                                Scientific evidence confirmed that Prible had been present
                                                                  in the Herrera home. A forensic examination uncovered
KEITH P. ELLISON, UNITED STATES DISTRICT                          sperm cells from oral, vaginal, and anal swabs taken from
JUDGE                                                             Tirado’s corpse. Herrera’s DNA matched the anal and
                                                                  vaginal swabs. DNA testing identified Prible as the source
*1 In 2002, a Texas jury convicted Ronald Jeffery Prible          of the semen found on the oral swab.
of capital murder. He was sentenced to death. After
unsuccessfully seeking state appellate and post-conviction        The police questioned Prible, but he disclaimed any
remedies, Prible filed a federal petition for a writ of habeas    involvement in the murder. Prible admitted that he had
corpus in 2009. Now before the Court is Prible’s Fourth           been in the Herrera home after returning from the club, but
Amended Petition for Writ of Habeas Corpus. The matters           said that Herrera drove him home at around 4:00 a.m.
raised by Prible’s petition have required significant factual     When the police asked what he would do if they found his
development, extensive briefing, and serious judicial             DNA at the scene, he added that he had been having an
consideration. For the reasons described below, the Court         affair with Tirado and had engaged in consensual oral sex
finds that Prible is entitled to federal habeas corpus relief.    with her.

                                                                  Police searched the home of Prible’s parents, where Prible
                                                                  also resided. The search uncovered guns and ammunition.

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         1
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 97 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



A firearms examiner later testified at trial that a magazine                  including evidence of [Prible’s]
found at Prible’s residence could hold bullets similar to                     DNA; and 6) [Prible] admitted to
those found at the crime scene. But the murder weapon was                     Beckcom that he committed the
never recovered. Investigators could not find blood stains,                   murders.
accelerant, or any forensic evidence on Prible or his
clothing.

In addition, Prible had an alibi. A teenage neighbor saw                Prible v. State, 175 S.W.3d 724, 730 (Tex. Crim.
Herrera drop Prible off at his parents’ home in the early         App. 2005).
morning hours.
                                                                  Most of this evidence, however, does not explicitly
Prible’s DNA alone was not enough to pursue prosecution.          inculpate Prible in the murders. At issue in the instant
Prible was not arrested, let alone indicted, in connection        proceedings are the two factors that the State argued
with the murders for two years. The case went cold.               directly incriminated Prible: the State’s use of inmate
                                                                  testimony and the DNA evidence.
*2 In early 2001, Harris County Assistant District Attorney
Kelly Siegler was asked to review the cold case. By that
point, no new information had been developed that would
come out at trial. The State, nonetheless, charged Prible
with capital murder on July 5, 2001.
                                                                     B. The State’s Use of Inmate Testimony Against
At that time, Prible was housed in the federal prison FCI            Prible
Beaumont Low for a federal bank robbery conviction.1              The star witness for the State was Michael Beckcom, a
Rather than be transferred to Harris County custody for the       “jailhouse snitch” who was housed with Prible at FCI
state capital murder charges, however, on the day Prible          Beaumont Medium. Beckcom’s key inculpatory testimony
was charged he was transferred to FCI Beaumont Medium.            was that Prible confessed to him and his cellmate, Nathan
That same day, Nathan Foreman was also transferred to             Foreman, on November 24, 2001. Before trial, the trial
FCI Beaumont Medium and eventually became cellmates               court held a conference devoted largely to discussing the
with Michael Beckcom. Beckcom would later testify at              State’s interaction with its anticipated witness Beckcom.
trial that Prible had confessed the murders in detail to him      Trial counsel requested that the State provide (1)
and Foreman.                                                      information about Beckcom’s criminal record and any
                                                                  sentence reductions he had received; (2) information about
Siegler presented Prible’s case to the grand jury on August       “the date, time, place, and manner of the State’s contacts
29, 2001, without calling any witnesses. The grand jury           with [Beckcom], including a statement of how the contact
returned an indictment. The State of Texas tried Prible for       was first issued and with whom it was made”; (3)
capital murder in 2002. The State’s case against Prible was       information about any other cases in which he had
not strong. As summarized on direct appeal, the State’s           provided testimony; (4) a copy of Beckcom’s statement to
case rested on six main facts:                                    prosecutors and any notes related to conversations between
                                                                  Beckcom and prosecutors; and (5) a copy of any agreement
                                                                  about what Beckcom would receive for his testimony. 2 RR
                                                                  4, 6, 8.2 The trial court ordered the release of the first
            The State presented evidence that:                    category of information, Beckcom’s prior history of
            1) [Prible] was the last person seen                  testifying, and information about any deals with the
            with Steve at the house prior to the                  prosecution.
            murders; 2) he had a motive to kill
            Steve; 3) the bullets that killed Nilda               *3 The prosecution balked at providing information about
            and Steve were fired from the same                    its contacts with Beckcom. Siegler stated:
            weapon; 4) [Prible’s] sperm was
            deposited in Nilda’s mouth at some
            point prior to her death; 5) a fire was
            set to destroy physical evidence,                                 I’ll agree to tell Mr. Gaiser how we

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                      2
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 98 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



             came into contact and the times that                 Id. at 29. In that same pre-trial conference, the parties
             we’ve met. I don’t remember the                      discussed the admission of any written and oral statements
             dates. I didn’t take any notes. And                  the prosecution intended to use. The prosecution had
             the best that I can remember, I’ll let               already given the defense all written statements. Id. at 27.
             him know what they are, but I’m not                  Siegler told the defense that Prible “made comments and
             going to write it all down. He can                   statements to other people in the Beaumont prison” but she
             come to my office and I’ll sit down                  already “gave [the defense] their names.” Id. She told the
             and tell him what I can remember.                    defense that Beckcom was the only federal inmate the
                                                                  prosecution would use at trial. Id. at 28.

                                                                  The State’s opening statement at trial discussed extensively
Id. at 5–6. The trial court granted the second request “as to     Beckcom’s proposed testimony. The State bluntly told
Siegler’s oral transmission of the information to Mr. Gaiser      jurors that Beckcom is a “vial [sic], disgusting man
as described on the record.” Id. at 6. The prosecution            himself. Who is himself an ex-con several times over. Who
provided the defense a summary of Beckcom’s statement,            is himself convicted of murder on a case that was at one
but the trial court agreed that any notes constituted attorney    time a capital murder....You’re not going to like him. He’s
work product. Id. at 7. The prosecution also agreed to tell       going to make you sick to your stomach.” 21 RR 79. The
the defense about any disciplinary violations Beckcom             State then informed the jury that Beckcom hoped for, but
may have committed. Id. at 24.                                    was not guaranteed, a benefit from his testimony. Id. at 79–
                                                                  81. The State’s emphasis on Beckcom foretold his
The prosecution also provided some information about any          importance to their case because only Beckcom would “tell
deals it made with Beckcom in exchange for testifying. At         you all of the details of everything that Jeff Prible told him
the hearing, Siegler stated:                                      about how he did it that night, including the fact that he was
                                                                  proud of the fact that he killed the whole family.” Id. at 82.

             [I]n exchange for his cooperation                    Beckcom was the State’s penultimate witness in its case-
             and truthful testimony, when this                    in-chief. After preliminary questions regarding his
             trial is completely over with and                    background, the State asked Beckcom about his extensive
             resolved I will notify his Assistant                 criminal history. At the time of trial, Beckcom had been
             United States Attorney [whose]                       incarcerated in federal prison for five years. 26 RR 9.
             name is Mark Cullers, in Fresno,                     Beckcom explained that he had previously testified against
             California,       that     [Beckcom]                 others in exchange for deals with the government. Id. at
             cooperated in this case, what the                    12–13. Beckcom explained the deal he made with the State
             level of his cooperation was, the                    that resulted in his testimony against Prible: “[I]f I testify
             extent of his cooperation, and                       truthfully to this Court that you will reciprocate by calling
             whether or not I believe that it was                 my Federal prosecutor. At that point it’s out of your hands,
             truthful. At that time it will be Mark               but just to let him know what I’ve done.” Id. at 14.
             Cullers’ decision as to whether or                   Otherwise, testified Beckcom, the State made him no other
                                                                  promises. Id. at 17. Beckcom testified that he could not
             not to file a [Federal Rules of
                                                                  return to FCI Beaumont because other inmates knew about
             Criminal Procedure] Rule 35
                                                                  his testimony against Prible. Id. at 19–20. He had, in fact,
             reduction. Even if he files that                     already been put into protective custody. Id. at 21.
             Rule 35 reduction, it will be his
             superior’s decision whether or not to                *4 When asked when he had heard about Siegler, Beckcom
             proceed with it. And even if they                    responded: “I didn’t learn about your name until...probably
             decide to proceed with it, it will be                the end of September, early October of 2001.” Id. at 22.
             his Federal Judge in California’s                    Beckcom testified that “[p]rior to that I had heard of the
             decision whether or not to give him                  case just briefly, something about a guy coming from the
             any kind of reduction in his                         [FCI Beaumont] Low charged with murder. I didn’t really
             sentence.                                            get too much information on it.” Id. Beckcom testified that
                                                                  he got Siegler’s name from Nathan Foreman who “lived in
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          3
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 99 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



[his] unit at the prison and then ultimately became [his]         “everybody knew [he] was having an affair with her,”
cellmate.” Id. at 23. When he learned about Siegler,              because she and Herrera “had some kind of open
Beckcom stated, he did “[n]othing immediately,” but               relationship.” Id. at 33–34. Prible also said that the police
eventually called her in “the first half of October 2001.” Id.    “were looking for a .38 caliber pistol that they knew he had
at 23, 24. He told her that he “had information regarding         had, but he had sold it.” Id. at 34. At any rate, “[i]t was
this case involving a murder.” Id. at 24. Siegler visited him     clean. That wasn’t the [murder] weapon.” Id. Still, Prible
in “either late November or early December.” Id. Siegler          described Herrera as “his best friend.” Id. at 39.
brought investigator Johnny Bonds with her. Id. at 24–25.
Beckcom thought Siegler was “probably a little skeptical          Beckcom “at one point...actually became interested in”
of another inmate maybe spinning a yarn to [her].” Id. at         contacting Siegler so he “began prodding [Prible] into
25. Beckcom gave her a letter dated December 10, 2001,            conversations at times.” Id. at 36. When Beckcom asked
detailing his knowledge of the crime. Id. Beckcom testified       Prible if he was “sure [the murder weapon] can’t be found,”
that he had “spoken” with Siegler on the phone “two or            Prible answered, “asphalt’s good some times for hiding
three times” and that the phone calls were mostly about her       things.” Id.
recommending a sentence reduction. Id. at 26–27.
                                                                  Eventually, Beckcom contacted Siegler. From her,
In his direct testimony, Beckcom testified as follows             Beckcom learned that he would have to know “[s]pecifics
regarding his interactions and conversations with Prible:         about the case, facts,” so he “sought to find out as much as
                                                                  [he] could.” Id. at 37.
Beckcom and Prible met in the recreation yard through a
shared acquaintance. Id. at 28– 29. Prible began exercising       After speaking with Siegler for the first time, Beckcom told
with the two men, but did not engage Beckcom in                   Prible that he did not care whether Prible had committed
conversation for “weeks or maybe a month.” Id. at 31.             the murders, and Prible “softened up a bit” and gave
Initially, they engaged in “general conversation” mostly          Beckcom more details. Id. at 47–48. Prible described how
about people they both knew. Id. at 32. Beckcom had               “Steve was shot in the pool room. Nilda was face down on
previously “heard bits and pieces of information when             the couch, shot in the back of the head, she was partially
[Prible] got there,” but he “still really didn’t know who he      clothed.” Id. at 48. Prible said the children died from smoke
was.” Id. Eventually, Beckcom asked Prible about the              inhalation. Id. at 49. Prible “gave [Beckcom] the
capital charges. Id. The two men initially had general            impression” that he had sex with the victim “in the
conversations about the capital prosecution, but Prible           bathroom” on the night of the murder. Id. at 44. At the time,
disclaimed any involvement in the crime. Id. at 33–34.            Herrera was “[i]n the pool room, in the garage.” Id. at 45.
Beckcom claimed that he “wasn’t paying a lot of attention”        Prible told Beckcom that he had “a witness that saw
to Prible’s statements about his case, “because it’s not          [Herrera] take me home that night.” Id. at 40. “[A] child of
something [he] care[d] to relive, [his] capital murder case.”     maybe 12 or 13 years ...had gotten up in the middle of the
Id. at 34.                                                        night to use the restroom and saw him through the window
                                                                  with [Herrera] out in front of his parents’ home.” Id. at 41.
In “bits and pieces of conversations,” Prible began to
provide Beckcom with details about the crime. Id. at 33.          *5 Prible increasingly gained confidence in Beckcom and
Details came out in “[s]everal conversations” over “weeks         Foreman. Beckcom said: “He became close to Foreman
if not a month.” Id. at 37. In the beginning, when Prible         and I. He called us his brothers and said he loved us....[A]t
“was still struggling with actually confiding a lot,” he told     one point he told us he’s told us things that only he and God
Beckcom: “ ‘I’m not a sane man’....‘Your deepest, darkest         knows.” Id. at 49. The two men expressed interest in
reaches of your worst nightmares don’t come close to me,          forming a business with Prible after their incarceration.
don’t come close to what I am capable of.’ ” Id. at 42.           Beckcom specifically testified that “Foreman was
Prible also implied that he would murder for hire. Id. at 42–     interested. Foreman was interested in investing in the
43.                                                               business so we were actually making plans on something
                                                                  to do when we got out.” Id. at 35.
At first, Beckcom “was getting information...with no
intention of even using it. I was actually curious, trying to     The last, and most important, conversation was on
find out what the situation looked like.” Id. at 37. Prible       November 24, 2001. Id. at 53. That day, Beckcom,
told Beckcom that “they got DNA on [Tirado],” but                 Foreman, and Prible took a photograph together with their
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         4
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 100 of 137


                                                   Marcus, James 6/5/2020
                                                  For Educational Use Only


Prible v. Davis, Slip Copy (2020)



parents. Id. at 56. Later that night, Prible “really poured it       only ones that could convict me, but basically he had made
all out.” Id. at 53. Prible had “finally gotten used to us and       his peace. He said, If you do that you’ll have to live with
relaxed. He felt like, you know, we were going to help him           it. I’m prepared to die.” Id. at 54–55.
out. We told him we would give him any help we could.
We planned on doing business.” Id. Beckcom described the             In cross-examination, trial counsel reviewed Beckcom’s
circumstances under which Prible finally described the               extensive criminal history, including prior times he had
murders:                                                             assisted the Government to get a lesser sentence. Id. at 64–
                                                                     69, 77– 80. Beckcom admitted: “Oh, I’ve told lies in the
  We were sitting out in the rec yard that particular                past,” but assured that he was now “just telling...what
  evening. It was getting dark, we were sitting under—we             [Prible] told me.” Id. at 62. Beckcom admitted that he had
  had these little pavilions out on the rec yard with tables         lied under oath before. Id. at 91.
  underneath where you can play cards and dominoes.
                                                                     *6 When trial counsel questioned why Prible would trust
  And [Prible] was just sitting there and he got pretty quite        Beckcom and confess after only a few months, Beckcom
  [sic] for a while and I could tell he was thinking about           said: “[O]ne of the first things I told him is you shouldn’t
  some things. So, he pulled Foreman and I aside and                 be talking about a case that’s pending.” Id. at 70–71.
  that’s when he gave me the information....                         Beckcom admitted that there were similarities between
                                                                     Prible’s crime and a capital murder charge which Beckcom
  He said, “You know, Steve screwed me. He screwed me                had faced, leaving Beckcom with the impression that Prible
  out of $250,000.00. That was my money.” And then he                “seemed to want to try to understand how they were going
  gave me the story about, you know, they were planning              to approach him, how long this thing might play out how,
  to buy some drugs....                                              how long he might be in jail. And I told him mine took, you
                                                                     know, a year.” Id. at 72. Beckcom admitted that he made
  Well, [Prible] was very agitated especially when he got
                                                                     notes about Prible’s story. Id. at 75.
  to the part, “Well, he was going to steal my money and
  he’s going to kill me, fuck him.” And he was literally
                                                                     Trial counsel also asked Beckcom about the written
  spitting on us. He was pretty agitated. I could tell he was
                                                                     statement that he provided to Siegler after Prible’s alleged
  thinking back to the scene like he was thinking back to
                                                                     confession in order to impeach his credibility:
  the actual event.
                                                                       Trial counsel: And you knew at that point in time, from
Id. at 53–54. Prible said that Herrera “was going to kill
                                                                       the time you wrote this statement from a previous
[him], so [he] handled [his] business.” Id. at 51. Prible
                                                                       conversation you had with Ms. Siegler that what she
described how, while they were arguing, he shot Herrera,
                                                                       wanted was details, right? Beckcom: I pretty much had
then when Tirado ran into the house to call the police,
                                                                       them all by that time. Trial Counsel: But you knew—
Prible shot her. Id. Prible looked for the stolen money, but
                                                                       well, he had left by that time, but you knew
could not find it. Id. at 52. Prible lit a fire to cover evidence,
but “it didn’t take.” Id. at 51–52.                                    what you needed to make this story come to life, right?
Beckcom asked Prible: “How the hell did you get in and                 Beckcom: I didn’t necessarily know what I needed. I just
out of this house without being seen?” Prible responded:               gave her what
“Anybody that can go in a house and take out a whole
family and get out without being seen is a bad mother                  he gave me.
fucker and I’m that mother fucker.” Id. at 52–53. Referring
to his military service, Prible “said that his parents lived a       Trial Counsel: So, you had to put the details, specific
couple of miles from there so it wasn’t far. And he said it          details of the murder itself so that— Beckcom: So that she
was a high intensive, low drag maneuver. That’s what I was           would believe me, sure. Id. at 84. Beckcom stated that he
trained for, in and out. I’m a ghost.” Id. at 55.                    had not seen or heard anything from any person or media
                                                                     about Prible’s case, except for Prible’s own statements. Id.
Beckcom’s direct testimony ended with a confirmation of              at 85 (“Q: [N]obody talked to you about the case, you
Prible’s confidence in his prison friends. Prible said: “You         didn’t know anything about it...all the knowledge you
know, I trust you guys. You’re my brothers. You’re the               acquired, you acquired from Jeff Prible? A: Yes.”).

                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          5
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 101 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



Beckcom said that he received Siegler’s name from                 the male profile “certainly would be consistent with” Prible
Foreman, and that he understood that Foreman had                  depositing the semen in Tirado’s mouth “moments, if not
provided other informants to Siegler. Id. at 82. He also          seconds, before she was killed.” Id. at 101–03.
confirmed that he and Foreman knew that they were
planning to provide Siegler with information about Prible         *7 Dr. Robert Benjamin, a molecular biologist, testified for
when they took the photo together the day of Prible’s             Prible. Dr. Benjamin said that he did not agree with
confession to corroborate that they knew him. Id. at 83.          Watson’s testimony because there were too many variables
Beckcom clarified that, while Prible told them about his          and Watson made too many assumptions. Dr. Benjamin
case “[i]n bits and pieces” over two months, he “pretty           stated that, if the semen had been deposited in a consensual
much had [all the details] by” the time he talked to Siegler.     act, the recipient may not take steps to remove it from the
Id. at 84.                                                        mouth. 27 RR 118–21. Dr. Benjamin also stated that using
                                                                  quantities of DNA to estimate time since ejaculation is
On redirect, Siegler had Beckcom review numerous details          “just not scientifically valid.” Id. at 123–24. He said that
from the crime and affirm that he learned them from Prible.       “there were no controlled scientific studies” to support
Id. at 92–95.                                                     Watson’s conclusions. Id. at 136.




   C. Testimony About Prible’s DNA                                   D. Arguments and Conviction
The jury also heard evidence about the DNA found in               The arguments made by the prosecutors in closing
Tirado’s mouth. The State presented two witnesses. The            foreshadowed the issues raised in the instant proceedings.
Chief Harris County Medical Examiner, Dr. Joye Carter,            Prosecutor Vic Wisner’s closing focused on two factors:
testified that sperm cells can be found in a person’s mouth       Beckcom’s testimony and the DNA evidence. On one
at least several hours after ejaculation, and maybe longer.       hand, Wisner bolstered Beckcom’s testimony, urging
She testified that “semen is a very sticky substance and          jurors that “Mike Beckcom is telling the truth.” 28 RR 7.
some of it could actually adhere or stick to like placque         On the other hand, Wisner guaranteed that “[w]e’ve got
that’s on the teeth or in the recesses of the mouth [and] not     enough without him. Beckcom just kind of fleshes out what
fully be cleaned out.” 23 RR 68. She also stated that there       happened, fills in some of the details. We have enough
was “no indication” that Tirado had been sexually                 evidence without him, but I suggest to you everything he’s
assaulted. Id. at 128.                                            telling you about what happened is the truth.” Id. Wisner
                                                                  told jurors that, in order to believe the defense’s case, jurors
William Watson also testified for the State. At the time of       would have to find that “this Defendant is the unluckiest,
trial, Watson held a master’s degree in biology. He               unluckiest [sic] criminal defendant who’s ever set foot in a
performed DNA testing on the sperm cells found on                 courtroom. And there has been a conspiracy to frame this
Tirado. Watson testified that a “microscopic” amount of           Defendant both in the free world and prison, so audacious
DNA was collected on the swabs taken from Tirado’s                it makes any frame up that has ever been conducted in the
mouth. This DNA was Prible’s. 24 RR 118. In the report            annals of crime look like child’s play.” Id. at 9. In
that he prepared after the murders, Watson did not try to         particular, Prible was unlucky “from a practical hands-on
estimate exactly how long before death the sperm had been         perspective,” because the semen found in Ms. Tirado’s
deposited in her mouth. Watson testified that he had never        mouth “had to come right before she was killed or after she
developed a DNA profile from an oral swab and had not             was killed.” Id. at 10. In fact, “[t]here is no way in the world
seen it in the literature. Id. at 100, 112. However, Watson       that that semen wasn’t deposited either moments before or
stated that the fact that he could develop a profile from the     seconds after Nilda died.” Id. at 11.
oral swab was “consistent with there being a great deal of
sperm present.” Id. at 94. Watson testified that the fact that    In their closing argument, the defense tried to bolster their
he was able to generate a full and complete male profile          DNA testimony and detract from Beckcom’s credibility.
from the oral swab was inconsistent with the semen being
deposited into Tirado’s mouth a long time before she was          But jurors heard last from Siegler. In an emotionally
killed. He also said that the fact that he was able to obtain     charged argument, Siegler attempted to dismantle the

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            6
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 102 of 137


                                                  Marcus, James 6/5/2020
                                                 For Educational Use Only


Prible v. Davis, Slip Copy (2020)



defense’s case. Siegler dismissed the claim that Prible and         The jury convicted Prible of capital murder.
Tirado had an affair, because “appearance is what leads to
affairs” and Prible “is creepy and gives you the creeps.” Id.
at 55. Siegler challenged the defense DNA expert’s
testimony by being “crude for a minute” and suggesting
that it depended on Prible having “some kind of magic
semen, magic sperm that somehow lives longer than any of               E. Punishment
y’alls or any other man’s in this whole universe.” Id.              Under Texas law, a jury decides a capital convict’s
Siegler continued that, to believe the defense, jurors would        sentence by answering special issue questions. In this case,
have to assume that “his semen is so tasty that she walked          the jury had to answer two questions: (1) would Prible be a
around savoring the flavor of it in her mouth for a couple          future threat to society and (2) did mitigating
hours.” Id. at 55–56. In crass language, Siegler described          circumstances warrant a life sentence? The State presented
Prible as someone so depraved that he could kill Tirado             testimony from Prible’s former wife, a Harris County
while sexually excited. Id. at 59. Siegler summed up her            Sheriff’s deputy, and a former business partner whom
argument: “[I]f Jeff Prible had managed to control his              Prible threatened. The State also relied on evidence of
ejaculation and his mouth, he might not have ever been              Prible’s prior bank robberies. The defense presented
caught.” Id. at 72.                                                 testimony from a correctional counselor and family
                                                                    members, and evidence about Prible’s good character. The
Siegler’s argument eventually turned to Beckcom’s                   jury answered Texas’ special issues in a manner requiring
testimony, arguing: “Is there any evidence in this trial that       the imposition of a death sentence.
Michael Beckcom got any facts about what happened
anywhere except out of the mouth of this Defendant?” Id.
at 75. She also told jurors: “[Y]ou can believe everything
Mike Beckcom said and find him guilty of capital murder.
You can hate his guts and think he’s a creep and believe
                                                                    II. PROCEDURAL BACKGROUND
he’s telling the truth and find this Defendant guilty of
capital murder or you cannot believe one word he had to
say and still find Jeff Prible guilty of capital murder.” Id. at
77. After addressing problems with Beckcom’s credibility,              A. State Litigation
Siegler said:                                                       On direct appeal, Prible claimed that the evidence
                                                                    supporting his capital-murder conviction was insufficient.
                                                                    Prible emphasized that “Beckcom’s testimony was
             *8 But the most important thing,                       questionable because he testified in the hope of having his
             how would Mike Beckcon [sic]                           own sentence reduced and he could have learned the details
             know all the things that he does                       of the alleged offense through the probable cause affidavit
             know unless the killer told him?                       in [Prible’s] possession.”       Prible v. State, 175
             Whose fault is it that Mike Beckcom                    S.W.3d 724, 730 (Tex. Crim. App. 2005) (internal
             came to court? It’s Jeff Prible’s for                  quotation marks omitted). The Texas Court of Criminal
             telling him. And whose fault is it                     Appeals found that,
             that Mike Beckcom knew all the
             details? Jeff Prible’s for telling him.                  Beckcom, however, testified about some details that
             And how did Mike Beckcom know                            were not contained in the probable cause affidavit. For
             all the details? Because Jeff Prible                     example, he knew that there was a pool table in the
             did it. That’s how he knows all these                    garage and [Prible] had drops of catsup on his shoe.
             details.                                                 Beckcom’s testimony also contradicted or excluded
                                                                      some details that were contained in the probable cause
                                                                      affidavit. He testified that [Prible] told him that Steve
                                                                      “took $250,000 of [his] hard-earned money,” but the
Id. at 81.                                                            amount recited in the probable cause affidavit was
                                                                      $45,000. He knew that the police had DNA evidence and

                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         7
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 103 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



  that [Prible] claimed to have had an affair with Nilda,
  but he apparently did not know about [Prible’s] and
  Nilda’s alleged sexual encounter in the bathroom while
  Steve was in the garage. The jury was free to take these
  discrepancies into account and to believe or disbelieve
  Beckcom’s testimony based on their evaluation of his              B. Initial Stages of Federal Litigation
  credibility.                                                   Prible timely filed his original federal habeas petition on
                                                                 June 18, 2009. (Doc. No. 1). The petition raised numerous
Id. (alterations in original). The Court of Criminal Appeals     claims, four of which related to the State’s development
concluded that, “[b]ased on the evidence at trial, a rational    and use of inmate testimony for trial:
jury could have concluded beyond a reasonable doubt that
[Prible] committed the murders of Nilda Tirado and Steve                 • The State intentionally sponsored false and
Herrera during the same criminal transaction.” Id.                       misleading testimony in violation of Prible’s due
                                                                         process rights, as established in   Giglio v. United
Prible’s initial state habeas application, which was filed by            States, 405 U.S. 150 (1972).
state habeas counsel on November 19, 2004, did not raise
any issues relating to Beckcom’s testimony or mention                    • The State violated Prible’s due process rights by
anything about an alleged ring of informants. Then, while                suppressing evidence of the nature of the arrangement
on death row, Prible started to hear about other                         between Beckcom, Foreman, and the lead prosecutor,
defendants—including a man named Hermilo Herrero—                        contrary to      Brady v. Maryland, 373 U.S. 83
who had been prosecuted by Siegler using what seemed to                  (1963).
be an overlapping set of prison informants. (Doc. No. 17,
at 19). Suspecting that something similar had happened in                • The State violated Prible’s rights under the Sixth
his case, Prible filed two pro se applications in 2007,                  Amendment and       Massiah v. United States, 377
raising Brady,3 Giglio,4 Massiah,5 and Strickland6 issues                U.S. 201 (1964), by employing Beckcom as a state
relating to the use of inmate testimony in his case. In one              agent.
application, Prible alleged that “the prosecution (Kelly
Siegler) hid her true ties to Mike Beckom [sic] and her                  • Trial and habeas counsel provided ineffective
jailhouse informants in Beaumont Federal Prison” and was
“using Beckom [sic] and his group of friends from Federal                representation under  Strickland v. Washington,
Prison to aid her in making cases.” (Doc. No. 99, at 44                  466 U.S. 668 (1984), for not raising a Massiah
(citing Ex. 24, at 00384)). Prible argued that, had he “been             objection.
made aware of the ties [Siegler] had to Beckcom and his
                                                                 (Doc. No. 1). Unlike some of Prible’s other claims,7 the
group of friends who aided Siegler in other cases,” he could
                                                                 above four claims had not been properly exhausted in state
have used that as impeachment evidence in his case. (Id.
                                                                 court.
(citing Ex. 24, at 00386)). In the other application, Prible
alleged that his trial counsel was ineffective for not
                                                                 Prible filed an amended petition on August 17, 2009. (Doc.
investigating Hermilo Herrero as a potential witness. (Id.
                                                                 No. 7). Respondent then moved for summary judgment.
at 45 (citing Ex. 25, at 00411–15)).
                                                                 (Doc. No. 12). On April 30, 2010, the Court denied the
                                                                 summary judgment motion without prejudice and stayed
*9 The Court of Criminal Appeals denied Prible’s initial
                                                                 this action to allow Prible to seek state court review of his
state habeas application and construed the second and third
                                                                 unexhausted claims. (Doc. No. 23, at 3). This Court’s stay
pro se pleadings as subsequent applications, found that
                                                                 order noted that “Prible secured the affidavits supporting
they did not meet the requirement for merits review
                                                                 his unexhausted claims after state habeas review had
because neither application contained “sufficient specific
                                                                 concluded,” raising the possibility that the state court might
facts establishing that the application meets one of the
                                                                 allow Prible to file a successive state habeas action. (Id.).
exceptions set out in in Art. 11.071, § 5,” see TEX. CODE
CRIM. PRO. art. 11.071, § 5, and dismissed them as
abusive. Ex parte Prible, Nos. WR-69,328-01, WR-
69,328-02, WR-69,328-03, 2008 WL 2487786, at *1 (Tex.
Crim. App. June 18, 2008).
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         8
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 104 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



  C. Successive State Proceedings                                Beckcom “had more direct control or direct
On September 8, 2010, Prible filed a successive application      communication with the prosecutor.” (Id. at 9, 29).
for habeas relief in the 351st District Court of Harris
County, raising the following claims:                            According to Walker, Beckcom and Foreman knew from
                                                                 Siegler that Prible was coming to FCI Beaumont even
     • Whether “[t]he State violated Prible’s rights             before Prible arrived. (Id. at 9). Walker described how
     guaranteed by the Sixth Amendment” and Massiah;             Beckcom and Foreman “s[at] me down, they t[old] me
                                                                 these various events and supposedly details of [Prible’s]
     • Whether “[t]he State intentionally sponsored false        case and whose [sic] who, and what’s what.” (Id. at 11).
     and misleading testimony in violation of Prible’s due       Beckcom and Foreman then gave Siegler’s number to
     process rights,” as established in Giglio;                  Walker and directed Walker to call Siegler so that she
                                                                 could assess whether Walker was “a candidate” to testify
     • Whether “[t]he State violated due process by              against Prible. (Id. at 13). Walker said he called Siegler
     concealing the nature of the arrangement between            “[o]nce or twice.” (Id.). The other men were “always on the
     Beckcom, Foreman and the lead prosecutor,” contrary         phone” with Siegler. (Id. at 23). Foreman was “on the
     to Brady;                                                   phone almost on a daily basis” regarding the case. (Id. at
                                                                 28). Walker also said that the recruiters directed him to
     • Whether “[i]n violation of due process, the State
                                                                 “write a letter” to be sent to Siegler describing “details
     permitted its key witness to mislead the jury about the
                                                                 about [Prible’s] case” that Beckcom and Foreman had told
     existence and extent of the benefits he expected to
                                                                 him. (Id. at 13). Walker claimed that “common sense” told
     receive for testifying against Prible,” contrary to
                                                                 him that “someone high on the food chain was feeding
     Giglio; and
                                                                 these guys the information because [Prible] wasn’t telling”
     • Whether “Prible is actually innocent of capital           Walker facts about the crime. (Id. at 14, 15). “[T]he whole
     murder.” U.S. Const. amends. VIII, XIV.                     plot was made out before it was actually executed.” (Id. at
                                                                 14).

                                                                 The understanding was always that informants would be
                                                                 rewarded with “time off, or benefits.” (Id. at 16). Overall,
                                                                 Walker described a ring of “five or six” informants who
                                                                 were trying to incriminate inmates like Prible. (Id. at 22).
1. Factual Basis of Prible’s Successive State Litigation         That same ring, Walker explained, was simultaneously
                                                                 involved in setting up another inmate, Hermilo Herrera, for
*10 The above five claims were based on allegations that         another cold case murder. (Id. at 21–22). According to
Beckcom and Foreman were part of a ring of informants at         Walker, “this is how you have [the] miraculous
FCI Beaumont whom Prosecutor Kelly Siegler had                   coincidence that the same group of guys...have been
recruited and fed information to assist her in securing a        confessed to by two different people on two different
conviction against Prible. The allegations relied heavily on     murders, totally different murders.” (Id. at 21). Walker
an August 26, 2010, interview that Prible’s federal habeas       further described how the informants associated with
counsel had with a federal inmate, Carl Walker, Jr. Federal      Prible, including Beckcom and Foreman, got Prible drunk
counsel did not secure an affidavit memorializing Walker’s       and high, and took group pictures with him to create at least
story, but prepared a transcription of the interview. (Doc.      the appearance of a bond with Prible. The men’s role was
No. 99, Ex. 2).                                                  to “get...information, then bank it, bank, it.” (Id. at 20).

In the interview, Walker described how informants were           To Walker’s knowledge, however, Prible never actually
“recruited” at FCI Beaumont Medium to testify in                 confessed. (Id. at 16). Walker did not think that Prible had
particular cases, including Prible’s. (Id. at 4). Walker         committed the murders. (Id. at 18). Ultimately, Walker did
recounted that, not long after he arrived at FCI Beaumont        not testify against Prible. He said he came to a
in the summer of 2000, Beckcom and Foreman approached            “moral...crossroad” when he asked himself: “[Am I] going
him in an attempt to bring him into the informant circle.        to openly lie about information I had no idea about and
Walker assumed that “the prosecutor was working directly         send this man to his death?” (Id. at 30). He added: “I just
with Foreman,” but he was not sure whether Foreman or            know these guys is guilty of conspiring against him and
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        9
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 105 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



working to recruit me and others or whomever that would           Distribute. I will help you in any way I can and would
listen to, actually, ah, get him on death row. I know that for    appreciate any help you could give me.” (Id. at 10).
a fact. I do know for a fact that Kelly Siegler was
involved.” (Id. at 49).                                           The state trial level habeas court held an evidentiary
                                                                  hearing on June 8 and 9, 2011, to determine whether the
                                                                  factual basis for Prible’s conspiracy and prosecutorial
                                                                  misconduct claims was unavailable when Prible filed his
                                                                  previous state habeas applications. At this hearing, the
                                                                  court heard testimony from an investigator who worked
                                                                  with Prible’s trial counsel; an investigator who worked
 2. Litigation of Prible’s Successive State Application           with defense attorneys who represented inmate Hermilio
                                                                  Herrero, a defendant in an unrelated case involving the
*11 After Prible filed his successive habeas application in
                                                                  same alleged ring of informants; Roland B. Moore, III,
the trial court on September 8, 2010, the trial court
                                                                  Prible’s initial state habeas counsel; and Kurt Wentz, one
forwarded his application to the Texas Court of Criminal
                                                                  of Prible’s trial attorneys.
Appeals. Under article 11.071 § 5(a) of the Texas Code of
Criminal Procedure, a Texas inmate may file a successive
                                                                  State habeas counsel Moore provided an affidavit in state
state application only in limited circumstances, including
                                                                  habeas court explaining what efforts he made to develop
when “the current claims and issues have not been and
                                                                  evidence outside the trial record to contest the legality of
could not have been presented previously in a timely initial
                                                                  Prible’s capital conviction and sentence, including
application or in a previously considered application ...
                                                                  information regarding the ring of informants. Successive
because the factual or legal basis for the claim was
                                                                  State Habeas Record at 411–16.10 In his affidavit, Moore
unavailable on the date the applicant filed the previous
                                                                  stated that, during the period of time that he represented
application....” The Court of Criminal Appeals remanded
                                                                  Prible, he “suspected that Beckcom had perjured himself”
Prible’s application for the convicting court to determine
                                                                  and “that [Beckcom’s] cellmate Nathan Foreman was
“whether the factual basis for these claims was unavailable
                                                                  involved with Mr. Beckcom in a scheme to give false
on the dates that applicant filed his previous applications.”
                                                                  testimony.” Id. 412. Moore accordingly took
Ex parte Prible, No. WR-69,328-04, 2010 WL 5185846, at
                                                                  “extraordinary measures to contact [Foreman, who was]
*1 (Tex. Crim. App. Dec. 15, 2010). The Court of Criminal
                                                                  the one person who had been identified as a possible
Appeals ordered that Prible “shall have the opportunity to
                                                                  member of such a ring or organization.” Id. Trial counsel
show when and how he obtained the evidence at issue and
                                                                  “had no leads to any other members of a ring or
whether he exercised reasonable diligence to obtain this
                                                                  organization of informants” at the time of trial. Id. Among
evidence at the earliest opportunity.” Id.
                                                                  those measures, state habeas counsel “subpoenaed
                                                                  Foreman and attached him to another case.” Id. at 413. But
In January 2011, Prible moved for in camera review of the
                                                                  Foreman “refused to say anything. Foreman refused to talk
prosecutor’s file.8 The State did not oppose the motion and
                                                                  after he realized what [trial counsel] wanted to speak to him
voluntarily provided some material for review. The State
                                                                  about.” Id.
disclosed three letters that prosecutors had sealed in a
letter-sized envelope that was designated “attorney work
                                                                  *12 On June 24, 2011, the state habeas court issued its
product.”9 The letters from federal inmates Jesse Gonzalez,
                                                                  “Findings of Fact Pursuant to Tex. Code Crim. App. Art.
Mark A. Martinez, and Walker each described how Prible
                                                                  11.071, Sec. 5(a)(1).” Id. at 797–804. As the title suggests,
provided details of the crime while in prison. (Doc. No. 99,
                                                                  the court did not rule on the substance of Prible’s claims,
Ex. 3). Each explained that Prible told them varying details
                                                                  but found, as a procedural matter, that Texas’s abuse-of-
about the killing. The men referred to prior conversations
                                                                  the-writ doctrine foreclosed review. The court specifically
with Siegler and her interaction with all three. Walker’s
                                                                  found that “the factual basis for the instant claims were
letter named Beckcom and Foreman, hinted at Siegler’s
                                                                  available when [Prible’s] initial habeas petition was filed
“previous conversations” with them, described how
                                                                  in November, 2004” and that “a factual basis for [Prible’s]
Walker was “present on many occasions when [Prible] was
                                                                  conspiracy theory may have been available at the time of
telling his side of the story,” and ended: “I’m more than
                                                                  [his] trial.” Id. at 801, 803.
willing to testify to these things in court. I’m currently
serving a thirty year sentence for Possession w/Intent to
                                                                  The     state   court’s   procedural   determination    was,
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        10
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 106 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



nonetheless, intertwined with its assessment of the
evidence Prible had provided for his claims. The court
summarized that Prible “raise[d] five claims alleging a
conspiracy among the lead prosecutor in his case and
several federal prison inmates who were housed with
[Prible] at FCI Beaumont.” Id. at 798. The court’s findings         D. Prible’s Fourth Amended Federal Petition
acknowledged Prible’s allegations that Siegler had fed           Prible returned to this Court and requested additional
“otherwise-unknown details about [Prible’s] case” to             discovery to develop his claims. This Court granted
Foreman, who in turn “provided information with a ring of        additional discovery, including allowing Prible to access
snitches he recruited to assist the lead prosecutor in           additional portions of Siegler’s work product file. (Doc.
obtaining a false confession from [Prible],” rendering           No. 134). Federal habeas counsel also conducted various
Beckcom a “state agent” and his trial testimony “perjured.”      authorized interviews and depositions of the prosecution
Id. at 799. The state court concluded that Prible’s              team, FCI Beaumont informants, and Bureau of Prisons
allegations were largely based on Walker’s interview             personnel throughout 2017.
statement. Id. The state court, however, found Walker’s
statement not persuasive because it “consist[ed] almost          *13 On March 26, 2018, Prible filed his Fourth Amended
entirely of hearsay and speculation and contain[ed] no           Petition for Writ of Habeas Corpus, which is now before
direct evidence of [Prible’s] conspiracy theory.” Id. The        the Court. (Doc. No. 181). In his Fourth Petition, Prible
state court further concluded that Prible “present[ed] no        raised sixteen claims for relief:
evidence establishing that State’s witness Michael
Beckcom has recanted his testimony regarding [Prible’s]            Claim 1: The State violated due process by sponsoring
confession that he committed the capital murder,” and, in          false and misleading testimony that minimized the
fact, Beckcom “denies [Prible’s] claim that he was                 State’s contact with key witnesses and communications
provided with information about [Prible’s] case from               with, and use of, other informants as state agents, to
Nathan Foreman or the lead prosecutor.” Id. at 800. In the         develop evidence incriminating Prible. (Doc. No. 181, at
end, the court concluded that Prible was not entitled to           162).
successive habeas proceedings because he failed to show
                                                                   Claim 2: In violation of due process guaranteed under
that “the factual basis for his claims was unavailable on the
                                                                   Brady, the State suppressed material evidence that
dates that [Prible] filed his three previous applications, as
                                                                   Beckcom and Foreman were part of an organized
required by TEX. CODE CRIM. PRO. art. 11.071 §
                                                                   attempt to secure favors in return for fabricating a false
5(a)(1).” Id. at 803.
                                                                   confession. (Doc. No. 181, at 177).
In reaching its conclusion, however, the state habeas court        Claim 3: In violation of Brady and due process
did not consider the new supporting and corroborating              guaranteed by the Fourteenth Amendment, the
evidence developed during state habeas review. For                 prosecution suppressed evidence that Foreman, who
instance, the state court did not discuss the impact of the        Beckcom represented could corroborate his story, gave
letters suppressed in Siegler’s work product file. Instead,        a different account, and was, in fact, fabricating
the decision focused on the facts presented in the state           evidence against Prible. (Doc. No. 181, at 196).
habeas application filed before factual development
occurred, centering its analysis on Walker’s statement.            Claim 4: In violation of Brady, the State suppressed
Based on this circumscribed analysis, the habeas court             evidence impeaching Beckcom’s testimony regarding
found that “the factual basis for the instant claims were          the circumstances of the alleged “confession” and his
available when [Prible’s] initial habeas petition was filed        motives for questioning Prible. (Doc. No. 181, at 199).
in November, 2004.” Id. at 801.
                                                                   Claim 5: The State withheld evidence that the trial court
Without explicitly adopting the lower court’s findings, the        ordered produced pursuant to Brady. (Doc. No. 181, at
Court of Criminal Appeals held that “the allegations               203).
fail[ed] to satisfy the requirements of Article 11.071, §
5(a)” and dismissed Prible’s successive application as an          Claim 6: The State violated Prible’s rights guaranteed by
abuse of the writ. Ex parte Prible, No. WR-69,328-04,              the Sixth Amendment and Massiah. (Doc. No. 181, at
2011 WL 5221864, at *1 (Tex. Crim. App. Nov. 2, 2011).             233).
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                      11
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 107 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



  Claim 7: Prible was denied his Sixth Amendment right             records and failure to exclude or refute the foundation of
  to effective assistance of counsel. (Doc. No. 181, at 237).      the state’s rape theory violated Prible’s Sixth
                                                                   Amendment right to effective assistance of counsel.
  Claim 8: In violation of Massiah, the State suppressed           (Doc. No. 181, at 266).
  evidence that independently established that it had
  deployed Beckcom and Foreman as agents to pry                  Respondent filed a Motion for Summary Judgment and
  incriminating information from Prible, even though the         Answer to Petitioner’s Fourth Amended Petition. (Doc.
  State was aware Prible was represented by counsel.             No. 191). Prible filed an opposed motion for an evidentiary
  (Doc. No. 181, at 242).                                        hearing to further explore his habeas claims on August 8,
                                                                 2018. (Doc. No. 199). The stated purpose of the hearing
  Claim 9: Prible was deprived of his Fourteenth                 was to explore relevant procedural issues, including
  Amendment right to due process by the admission of             whether Prible could establish cause and prejudice to
  evidence documenting the deaths of the complainants’           overcome the procedural default of his prosecutorial
  children. (Doc. No. 181, at 244).                              misconduct claims. (Id. at 2–3). The Court granted the
                                                                 motion for evidentiary hearing on February 25, 2019.
  Claim 10: In violation of due process under Brady, the         (Minute Entry 2/25/2019).
  State suppressed material evidence that Siegler had
  consulted the head of the Harris County Crime Lab to           The Court held an evidentiary hearing in which the parties
  ask how long semen could remain in the oral cavity and         presented testimony and evidence relating to the claims
  was told it lives up to 72 hours. (Doc. No. 181, at 233).      involving the prosecution’s use of inmate testimony at trial.
  Claim 11: The State violated due process by sponsoring
  false and misleading testimony, and engaging in false
  and misleading argument, concerning the amount of
  time that semen could persist in the oral cavity, after
  being advised by the head of the Harris County Crime           III. EVIDENTIARY HEARING
  Lab that it could live up to 72 hours. (Doc. No. 181, at       The Court held a three-day evidentiary hearing from April
  256).                                                          29, 2019 to May 2, 2019. At this hearing, the Court heard
                                                                 live testimony from Nathan Foreman, Carl Walker, Kelly
  Claim 12: Prible received ineffective assistance of            Siegler, and Terrence Gaiser (Prible’s trial attorney). The
  counsel, as a matter of federal constitutional law, where      Court also viewed portions of the depositions of Michael
  trial counsel failed to effectively address and rebut the      Beckcom, Johnny Bonds (Siegler’s investigator on Prible’s
  testimony of William Watson that the semen found in            case), Victor Wisner (the other prosecutor on Prible’s
  Tirado must have been deposited in her mouth near or at        case), and Siegler. The Court summarizes the testimony as
  the time of her death, where there was no scientific basis     it applies to Prible’s federal habeas claims, as follows.
  for this expert conclusion. (Doc. No. 181, at 258).

  Claim 13: Prible was denied his constitutional right to an
  impartial jury because the venire did not reflect a fair
  cross-section of the community. (Doc. No. 181, at 269).
                                                                    A. Testimony of Nathan Foreman
  Claim 14: Prible is actually innocent of capital murder        At the evidentiary hearing, Foreman’s testimony served
  and may receive relief through the actual innocence            two purposes: (1) provide background into the ring of
  gateway under      Schlup v. Delo, 513 U.S. 298 (1995).        informants and their interaction with Siegler, and (2)
  (Doc. No. 181, at 276).                                        “testify that Beckcom’s story of him and Foreman hearing
                                                                 a confession from Prible was not true.” HT1-21.11
  *14 Claim 15: In violation of due process, the State
  sponsored false testimony to bolster its rape/murder           While incarcerated in FCI Beaumont in 2001, Foreman
  theory and to prevent corroboration of Prible’s alibi          was held in the Special Housing Unit (“SHU”), which is
  witness. (Doc. No. 181, at 282).                               “like, somewhat solitary, but only difference is there you
                                                                 have, like, two other cellmates.” HT1-37. There, he met
  Claim 16: Trial counsel’s failure to utilize Prible’s phone
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        12
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 108 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



inmate Jesse Moreno, from whom he had learned some               something,” because his testimony was “not true” and
facts about Prible’s case. HT1-39.12 Moreno suggested that       completely fictional. HT1-64. The Court finds that
Foreman contact Siegler. HT1-40. Foreman, Moreno,                Foreman was a credible witness.
Beckcom, and another inmate named Rafael Dominguez
all contacted Siegler from the unit manager’s phone. HT1-
45.

*15 Foreman did not remember when he contacted Siegler
but recalled meeting her at the Federal Detention Center in         B. Testimony of Carl Walker, Jr.
Houston. HT1-44. Siegler and her investigator, Johnny            The constitutional claims in Prible’s federal petition find
Bonds, met with Foreman at the Federal Detention Center          their origin in the interview Carl Walker Jr. gave to Prible’s
in Houston on August 8, 2001. HT1-14. Foreman did not            attorney in 2010.13 Walker was incarcerated in FCI
remember the content of that conversation. HT1-44, 80–           Beaumont contemporaneously with Prible. Walker
81.                                                              testified credibly about his involvement in the ring of
                                                                 informants vying to inform on Prible. Walker testified that
Foreman testified that, after he became cellmates with           he was “approached or recruited” by some inmates who
Beckcom in October 2001, they met Prible in the                  asked “if [he] wanted a blessing, opportunity to get out of
recreational yard. HT1-47. By that point, however,               jail without having to do all [his] sentence.” HT1-95. The
Foreman already knew some facts about Prible’s case and          men offered him an opportunity to get a time cut by
had relayed them to Beckcom. HT1-51, 54. Foreman had             testifying against Prible. HT1-97. Walker said that he
gotten his information from Moreno and Siegler. HT1-54.          thought that Foreman approached him, but it could also
                                                                 have been Beckcom or his cellmate Oscar Gonzalez. HT1-
Foreman and other inmates were trying to “roll[ ] over on”       95, 126. Prible was to be “a mark...[i]n every sense of the
Prible in exchange for “time cuts.” HT1-49. But Prible           word....[H]e was going to be a scapegoat for several
would not talk about the crime—“he didn’t really talk            individuals to have an opportunity to get out of prison
about what he was accused of,” other than to say that “they      sooner than later.” HT1-106.
were trying to accuse him for something that he didn’t do.”
HT1-51.                                                          The men already had a “plethora of information about Mr.
                                                                 Prible’s case” when they approached Walker—“details,
Prible’s federal habeas attorneys took Foreman line-by-line      locations, what was found, where the body was, what
through the December 10, 2001, letter that Beckcom wrote         happened.” HT1-95. The men concocted a plan to
to Siegler relating to Prible’s alleged confession. Foreman      “collaborate as if we became prison buddies or pals or et
directly contradicted Beckcom’s account and denied that          cetera [with Prible], and then he, all of a sudden, feel
Prible had ever made inculpatory statements. Importantly,        compelled to confess all these horrific things.” HT1-98.
Foreman testified that he did not recall the November 24,        The men would then “writ[e] letters to the prosecutor
2001, conversation in which Prible had allegedly confessed       asking to be a witness or—or volunteering to be a witness
to the murders in his presence. HT1-59–60. On the day that       because we was just so overwhelmed about the information
Beckcom said that Prible confessed, Foreman testified that       he supposedly give us.” Id. The two main people involved
the group of inmates used homemade wine to try to get            in this plan were Beckcom and Foreman. HT1-99. Walker
Prible to talk. HT1-71. Prible eventually got so drunk that      was given instructions to call Siegler and tell her what he
Foreman had to help him back to his unit, but Prible did not     had supposedly found out from Prible. HT1-100.
confess. HT1-71–72. Foreman said that he would have
remembered if Prible had said anything inculpatory,              *16 In the meantime, a grand jury returned an indictment
because he would have used that to inform on Prible. HT1-        against Prible on August 29, 2001. Prible would be
63.                                                              transferred from FCI Beaumont Medium to the Harris
                                                                 County Jail on November 29, 2001. Before he left,
Foreman convincingly and unwaveringly challenged the             however, on November 24, 2001, the group staged a photo
basis for Beckcom’s trial testimony. Foreman                     “to create a picture of close intimacy with Mr. Prible, a
unequivocally and credibly testified that Beckcom did not        close connection....to show that...he would be comfortable
provide truthful testimony at trial. HT1-64, 70. Foreman         enough or confident enough in your friendship to give you
testified that Beckcom “should have been a book writer or        this information.” HT1-111. Walker said that everyone in

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       13
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 109 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



the photo was involved in the plot against Prible, as well as      minutes into his conversation, I’m like, This [sic] guy is
against other inmates. HT1-102, 103.                               lying. He doesn’t know anything about this case.” HT1-
                                                                   140. Bonds said that Siegler felt the same way. HT1-172.
Walker testified that the group made a batch of wine
specifically for Prible and drank it with him. The men             When confronted with his own notes documenting a visit
intended for him to get so drunk that he would provide             that he and Siegler had with Foreman at FCI Beaumont in
details about the murders. HT1-114. However, Walker said           December 2001, Bonds was surprised. HT1-160–62. He
that it “really didn’t matter” if Prible actually confessed,       only recalled meeting Foreman once. Bonds did not know
because “the knowledge was already there, you know. That           why they would meet with Foreman when they knew he
was more of a formality, like, you would go through the            was a liar. HT1-162–63. Bonds assumed that his notes
motions. You would set it up.” HT1-114–15, 127. To                 reflect Siegler’s report to him about a meeting that she had
Walker’s knowledge, Prible never actually confessed.               with Foreman, rather than a meeting both Bonds and
HT1-115.                                                           Siegler were in. HT1-164.15

Walker, nonetheless, sent Siegler a letter offering to testify     Bonds acknowledged that Foreman and Beckcom “might
that Prible had confessed. Walker testified that he did not        have colluded to get more information.” HT1-169. He also
write it himself, he only signed it. HT1-116. Walker’s letter      acknowledged that it was unlikely that Prible would talk
was among those kept in the work product folder. Walker            about his crime to other inmates after he was indicted.
explained that the inmates’ letters were designed to               HT1-171–72.
corroborate each other. HT1-117. He believed that
Beckcom wrote the letters, primarily because “[t]he only
place to type letters is either in the law library, or maybe if
you, like, a teacher or instructor or something teaching a
class, you could have privacy or you’ll have the exclusivity
to have access to a typewriter.” HT1-132. Beckcom was                 D. Deposition Testimony of Vic Wisner
the only inmate in the conspiracy with that access.                Wisner was Siegler’s co-counsel on the Prible case.
                                                                   Wisner, however, did not have much information directly
Walker was a credible witness who was unwavering in his            relevant to this case. For example, Wisner did not know
testimony. Walker provided trustworthy testimony that              about Foreman. HT1-190. From Wisner’s testimony, it was
corroborated Foreman’s rejection of Beckcom’s trial                obvious that Siegler guided the prosecution and trial.
testimony.14
                                                                   Although Wisner said that, as a defense attorney, he would
                                                                   have wanted to know about Foreman and the other inmates
                                                                   who wrote letters in the case, he placed the greatest weight
                                                                   on the presence of Prible’s semen in Tirado’s mouth. HT1-
                                                                   200–10. He acknowledged that, without the semen, the
   C. Deposition Testimony of Johnny Bonds                         evidence about the informants would be much more
Bonds was Siegler’s investigator on the Prible case. Bonds         important. HT1-204.
provided some general background information about the
investigation into Prible. He also noted that, initially, there
was not enough information to charge Prible. HT1-143.
Bonds’s experience with the case, however, was somewhat
limited. Bonds said that he had never spoken to Beckcom.
HT1-140. Bonds also explained that he never saw Walker’s              E. Deposition Testimony of Michael Beckcom
letter to Siegler. HT1-154–55. However, after reviewing            Beckcom’s testimony was presented from a video
the informant letters, he acknowledged that it looks like the      deposition. In many ways, Beckcom’s hearing testimony
same person typed them, because they look identical. HT1-          mirrored that which he gave at trial. Beckcom found out
180–81.                                                            about Siegler’s connection to Prible’s case from Foreman
                                                                   after they became cellmates. HT1-215. Beckcom said that
*17 Bonds testified that, during the August 2001 meeting           he called Siegler from the unit manager’s phone. HT1-214.
with Foreman at the Federal Detention Center, “two                 The purpose of Beckcom’s first phone call was to discuss

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        14
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 110 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



the possibility of arranging for a reduction in his sentence.    live testimony, it is obvious that Beckcom was dishonest
HT1-238. Siegler made clear in that conversation that he         when it suited his needs. In other areas, however,
needed to get specifics about the case. HT1-238. From then       Beckcom’s testimony corroborated other testimony and the
on, Beckcom took notes after conversations with Prible           timeline of events. While the Court finds that Beckcom was
“[t]o have the information that Kelly Siegler asked [him]        generally not a credible individual, certain areas of his
to get.” HT1-239. Beckcom, however, said that a                  testimony can be confirmed when compared to the record.
prosecutor has never given him details about a crime in
connection with his work as an informant, HT3-7, and that
Siegler specifically did not give him details about the facts
of Prible’s case, HT3-12–13.

At trial, Beckcom testified that he found out that Prible was       F. Testimony of Kelly Siegler
coming to FCI Beaumont Medium before he arrived. HT1-            Siegler testified both by deposition and in live examination
221. Beckcom and Foreman talked about trying to get a            before the Court. Siegler testified about her meeting with
confession from Prible “plenty.” HT1-220. But Beckcom            Foreman at FDC in August 2001. While she brought the
did not recall Foreman telling him facts about Prible’s case.    Prible case to the grand jury after she met with Foreman,
HT3-17.                                                          Siegler testified that her decision had nothing to do with
                                                                 him. HT2-45. She did not tell the grand jury that there was
Beckcom explained that he was one of “a group of guys            a prison informant in Prible’s case. HT2-47.
from Houston, which after this whole thing got set in
motion, it kind of became evident to me that this whole          Siegler testified that she never met with Foreman after the
group of, like, fricking ten guys were trying to get             FDC meeting. Siegler said that Foreman probably tried to
information, and somehow I ended up with the                     call her, but she did not remember “what we talked about
information.” HT1-218. Beckcom, however, did not know            for very long because I knew he was a liar.” HT2-95.
at the start of a conspiracy against Prible; he “kind of         Siegler claimed that she simply did not believe Foreman
surmised that later on.” HT1-220.                                and would not have wanted more information from him.
                                                                 HT2-40–41. Siegler conceded, however, that even though
*18 Beckcom confirmed that Foreman was with him every            she similarly did not believe Foreman in Herrero’s case and
time Prible talked about his case. HT1-239. Beckcom              accordingly did not use his testimony at trial, she
explained, “[t]he details Jeff Prible gave me, he gave           nonetheless wrote a     Rule 35 letter for him. HT2-52–53,
completely and explicitly to me and Nathan Foreman one           56–57. When confronted with the evidence that she
night. He just rolled it out.” HT1-218. Beckcom opined that      requested a second meeting with Foreman in December
Foreman’s affidavit stating that Prible never confessed is       2001, after she received a letter from Foreman’s attorney
false. HT1-249.                                                  stating that Foreman knew where the murder weapon was,
                                                                 she said she did not remember why she wanted the second
From the beginning, Beckcom testified that Siegler led him       meeting. HT2-105–09.
to believe that he would “get walked out...for [his]
testimony” against Prible. HT1-214. Siegler told Beckcom,        Siegler recalled receiving the letters from Gonzalez,
“[t]his probably will get you out of prison.” HT1-213.           Walker, and Martinez, but she claimed that she did not
Beckcom thought that Siegler told him that she had talked        believe their accounts. HT2-67–70. As Respondent
to the federal prosecutors about his own case and they           observes, “Siegler did not use Forman [sic], Gonzalez,
would “play ball.” HT1-230– 31. He said that he had no           Martinez, or Walker as witnesses, because she did not find
other reason to develop evidence against Prible other than       them credible.” (Doc. No. 240, at 9). Curiously, Siegler
to receive a     Rule 35 letter for a sentence reduction.        said that the letters were in the file open for Prible’s defense
HT1-236. Beckcom “knew [Siegler] had lied” because he            attorneys to read. HT2-71. This, of course, turned out to be
only received one year off of his sentence for his testimony.    untrue.
HT1-214.
                                                                 Siegler acknowledged that she reached out to Beckcom’s
In many ways, Beckcom was not a credible witness. From           federal prosecutor months before Prible’s trial to introduce
the Court’s review of the record and its observation of his      herself. HT2-115–16. She discussed a possible          Rule 35

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         15
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 111 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



for Beckcom in those pretrial conversations. HT2-117.
Siegler said she told Beckcom about the conversations she
had with his prosecutor to reassure him about the       Rule
35 letter. HT2-118–19.
                                                                    G. Testimony of Terry Gaiser
*19 Consistent with her deposition testimony, Siegler
                                                                 Gaiser, Prible’s trial attorney, was appointed on September
maintained in her live examination that she did not find
                                                                 28, 2001. HT2-155. Gaiser confirmed that he had not seen
Foreman credible and did not need to disclose information
                                                                 the note about McInnis’s conclusions on the semen
about her meetings with him to Prible’s defense counsel.
                                                                 evidence before the federal habeas proceedings. HT2-193.
HT3-38, 42–43. She opined Foreman was a liar “in a
                                                                 Gaiser said that he asked Siegler for information about how
category all by himself.” HT3-49. She also reiterated that
                                                                 she came into contact with Beckcom. HT2-164. However,
she did not need to disclose information about Moreno to
                                                                 Siegler never told him that she had communicated with
Prible’s defense counsel. HT3-35–43.
                                                                 Foreman or that she had determined that Foreman was
                                                                 lying. HT2-165. In fact, Siegler did not tell Gaiser anything
Siegler testified that she did not give any inmate at FCI
                                                                 about Foreman; Gaiser was aware of Foreman only
Beaumont information about Prible’s case or encourage
                                                                 because of Beckcom’s statements. HT2-165–66. Siegler
any inmate to obtain information against Prible. HT3-46–
47. Siegler said that, to the best of her knowledge, this was    also did not tell Gaiser that she wrote a Rule 35 letter
the only capital case in which she used prison inmates who       for Foreman in connection with other cases. HT2-172.
were in the same facility as the accused as witnesses. HT3-      Siegler never mentioned Jesse Moreno to Gaiser either.
47.                                                              HT2-166.

Siegler acknowledged that she first spoke to Pam McInnis,        Gaiser said he would have wanted the letters and evidence
head of the Harris County crime lab, about the semen and         about the other inmates because that evidence “brings into
DNA evidence. HT2-144–45. McInnis said that semen                question the credibility of these people in the Beaumont
could live up to 72 hours in the oral cavity. HT2-145.           facility in terms of people wanting to give information to
Siegler thought this evidence was in the trial, but she could    get consideration for doing this.” HT2-179. However, he
not remember if she told Prible’s counsel about McInnis’s        never saw any of these pieces of evidence before trial.
conclusion. Id.                                                  HT2-179–80.

Siegler’s testimony was not credible on both minor and           Gaiser confirmed that Siegler had previously told him that
major points. Siegler made several statements that the           she could not contact inmates at FCI Beaumont by phone.
record directly refutes. For example, when asked about the       HT2-187–88. Gaiser said that the knowledge that she
SHU (which is where Foreman met Jesse Moreno), she               could, in fact, call them was important so he could ascertain
claimed she did not know what the SHU was and that she           “who was cultivating who?...[W]ho precipitated the—the
had never heard the term before. HT2-25. In addition to the      information? Who—who was the instigator of the—the
fact that SHU is a well-known term, Siegler herself referred     informant’s testimony?” HT2-188.
to the SHU at Prible’s trial. HT3-26 (quoting 26 RR 96).
She also testified that the letters from the other inmates       *20 With that background, the Court will consider the
trying to inform on Prible were in the open file; it is now      constitutional claims raised in Prible’s fourth amended
undisputed that they were in her work product file and were      petition.
not disclosed to defense counsel. She testified that she
never saw Foreman after the August 2001 FDC meeting;
yet, there is unrefuted evidence that she had a meeting with
him in December 2001 at FCI Beaumont. She testified that
this was the only capital case in which she used prison
                                                                 IV. LEGAL STANDARDS
inmates as witnesses; in fact, she has done so in numerous
                                                                 “The writ of habeas corpus stands as a safeguard against
other cases. (Doc. No. 241, at 39–40). Siegler was also
combative in demeanor and did not appear forthcoming             imprisonment of those held in violation of the law.”
with many of her answers.                                        Harrington v. Richter, 562 U.S. 86, 91 (2011). Federal
                                                                 habeas corpus review provides an important, but limited,
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       16
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 112 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



examination of state criminal judgments. Because “state          “a federal court may not grant a habeas corpus
courts are the principal forum for asserting constitutional      application...unless the state court’s decision ‘was contrary
challenges to state convictions,” id. at 103, concerns for       to, or involved an unreasonable application of, clearly
comity, federalism, and finality define the contours of          established Federal law, as determined by the Supreme
                                                                 Court of the United States,’ or ‘was based on an
federal habeas review. See     Calderon v. Thompson, 523         unreasonable determination of the facts in light of the
U.S. 538, 555–56 (1998);       Barefoot v. Estelle, 463 U.S.     evidence presented in the State Court proceeding.’ ”
880, 887 (1983);       Engle v. Isaac, 456 U.S. 107, 128         Berghuis v. Thompkins, 560 U.S. 370, 380 (2010) (first
(1982).                                                          quoting     28 U.S.C. § 2254(d)(1), then quoting        id. §
                                                                 2254(d)(2)).16 “The question under AEDPA is not whether
Accordingly, federal jurisprudence sets procedural hurdles       a federal court believes the state court’s determination was
to federal habeas review of state criminal proceedings.          incorrect but whether that determination was
“[T]wo fundamental tenets” govern federal review of state
convictions:                                                     unreasonable—a substantially higher threshold.”
                                                                 Schriro v. Landrigan, 550 U.S. 465, 473 (2007) (citing
                                                                 Williams v. Taylor, 529 U.S. 362, 409–10 (2000)); see also
             First, a state prisoner must exhaust                Morrow v. Dretke, 367 F.3d 309, 313 (5th Cir. 2004);
             available state remedies before                     Foster v. Johnson, 293 F.3d 766, 776 (5th Cir. 2002).
             presenting his claim to a federal                   Simply put, “AEDPA prevents defendants—and federal
             habeas court....Second, a federal                   courts—from using federal habeas corpus review as a
             court may not review federal claims                 vehicle to second-guess the reasonable decisions of state
             that were procedurally defaulted in                 courts.”    Renico v. Lett, 559 U.S. 766, 779 (2010).
             state court—that is, claims that the                Federal courts also generally presume that the state courts
             state court denied based on an                      have made correct factual findings, unless rebutted by clear
             adequate and independent state                      and convincing evidence. See       28 U.S.C. § 2254(e)(1).
             procedural rule.



   Davila v. Davis, 137 S. Ct. 2058, 2064 (2017). “These
requirements ensure that the state courts have the first         V. ANALYSIS
opportunity to correct any error with a state conviction and
that their rulings receive due respect in subsequent federal
challenges.”      Skinner v. Switzer, 562 U.S. 521, 541–42
                                                                   A. Brady Claims (Claims 2, 3, 4, 5, and 10)
(2011) (Thomas, J., dissenting). In the case of procedural
default, however, the bar to federal review may be lifted “if    *21 Claims 2 through 5 and 10 rely on            Brady v.
the prisoner can demonstrate cause for the [procedural]          Maryland, 373 U.S. 83 (1963), in which the Supreme Court
default [in state court] and actual prejudice as a result of     held that “the suppression by the prosecution of evidence
                                                                 favorable to an accused upon request violates due process
the alleged violation of federal law.”    Maples v.
                                                                 where the evidence is material either to guilt or to
Thomas, 565 U.S. 266, 280 (2012) (internal quotation
                                                                 punishment, irrespective of the good faith or bad faith of
marks omitted) (alterations in original).
                                                                 the prosecution.”         Id. at 87. “There are three
If an inmate has presented his claims in a manner allowing       components of a true Brady violation: (1) the evidence at
the state courts to resolve their merits, AEDPA provides         issue, whether exculpatory or impeaching, must be
for a highly deferential federal review. AEDPA “bars             favorable to the accused; (2) that evidence must have been
relitigation of any claim adjudicated on the merits in state     suppressed by the State, either willfully or inadvertently;
court, subject only to the exceptions in [    28 U.S.C.] §§      and (3) prejudice must have ensued.”             Canales v.
2254(d)(1) and       (d)(2).”    Richter, 562 U.S. at 98         Stephens, 765 F.3d 551, 574 (5th Cir. 2014) (quoting
(internal quotation marks omitted). Under those provisions,      Strickler v. Greene, 527 U.S. 263, 281–82 (1999)). In
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       17
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 113 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



evaluating whether the evidence was material, the evidence
is “considered collectively, not item by item.” Kyles v.
Whitley, 514 U.S. 419, 436 (1995). Impeachment evidence
must also be disclosed under Brady. See           United States
v. Bagley, 473 U.S. 667, 676 (1985). Evidence that enables
the defense to “attack[ ] the reliability of the investigation”                   1. Procedural Reviewability
is also Brady material.     Kyles, 514 U.S. at 446.
                                                                   Respondent argues that procedural defects preclude federal
The extensive factual development in this case has created         review of Prible’s Brady claims. First, Respondent
a rich and complicated portrait of what happened at trial          contends that Prible did not file some of those claims in
and what was not known to the defense. Years of litigation         federal court in a timely manner, rendering them time-
have resulted in a dense record full of complex arguments          barred by the AEDPA one-year limitations period. Second,
and detailed allegations, often branching out into different       Respondent argues that Prible failed to litigate his claims
cases and implicating various incarcerated individuals.            in compliance with state law, rendering them procedurally
                                                                   unreviewable. As discussed below, the Court finds that all
But the ultimate facts of this case are simple. The State’s        of Prible’s Brady claims are available for federal review.
case rested on two facts: (1) a single witness who testified
that Prible confessed to the murders and (2) testimony
suggesting that Prible’s DNA had entered Tirado’s mouth
only a short while before her death. As the Court will
discuss further below, the State did not disclose the full
extent of its interaction with its star witness, Michael                               a. Limitations Period
Beckcom. The State also failed to disclose evidence which
would enable the defense to argue that Beckcom had                 Respondent argues that Prible filed Claims 3, 4, 5, and 10
fabricated his story, conspired with others to inculpate           outside the time period allowed under AEDPA’s
Prible, and tried to corroborate his contrived story by            limitations period. AEDPA established a one-year
typing letters for other inmates to sign. Given the weakness       deadline, subject to statutory and equitable tolling, in
of the State’s case against Prible, stopping the defense from      which an inmate must raise his federal habeas claims after
developing impeachment evidence against its star witness           the conclusion of state review.17 Prible filed a timely federal
is unconstitutional.                                               habeas petition on June 18, 2009. On March 26, 2018,
                                                                   Prible filed his Fourth Amended Habeas Petition raising
The State also hid evidence about its DNA evidence. Prible         Claims 3, 4, 5, and 10 for the first time. Because Prible
admitted that he had sexual relations with Tirado. He              raised those claims almost nine years after his original
claimed, however, that they had done so hours before the           petition, Respondent contends that they are barred from
murder happened. The State’s case depended on showing              federal consideration. As discussed below, the Court finds
that the sexual acts occurred moments before Tirado died.          that the claims are available for federal consideration
The State did not disclose that it had developed evidence          because (1) Claims 3, 4, and 5 relate back to the original
supporting the defense’s expert testimony on the DNA, but          petition and (2) the facts leading to Claim 10 could not have
still presented testimony with directly opposite scientific        been discovered previously.
conclusions. The suppression of information from the
defense hampered, if not prevented, the development of a           *22 Prible argues that Claims 3, 4, and 5 relate back to the
defense to counter the two facts that supported Prible’s           seventh claim in his original petition. A federal habeas
conviction.                                                        court may consider the merits of an otherwise untimely
                                                                   claim if it relates back to a timely filed federal habeas
As previously discussed, no matter how egregious the               petition. See   Mayle v. Felix, 545 U.S. 644, 656 (2005).
underlying constitutional violation, certain procedural            A claim in an amended federal habeas petition relates back
requirements curb federal habeas review. Before turning to         under Federal Rule of Civil Procedure 15(c) if the timely
the merits of Prible’s Brady claims, the Court must decide         claim and the proposed claim to be added by amendment
whether he has presented those arguments in a timely and
procedurally proper manner.                                        “are tied to a common core of operative facts.”          Id. at

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          18
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 114 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



664. “An amended habeas petition...does not relate                        regarding the circumstances of the alleged
back...when it asserts a new ground for relief supported by               “confession” and his motives for questioning Prible.
facts that differ in both time and type from those the                    (Doc. No. 181, at 199).
original pleading set forth.”    Id. at 650.
                                                                          • Claim 5: The State withheld evidence that the trial
Prible’s seventh claim, the only Brady claim in the original              court ordered produced pursuant to Brady. (Doc. No.
petition, focused on the State suppressing evidence of its                181, at 203).
relationship with Foreman, Beckcom, and other
informants, and the impact this suppression had on the            The only difference between the Brady claim in the
defense’s ability to impeach Beckcom’s credibility at trial.      original petition and those in the Fourth Amended Petition
Specifically, the seventh claim’s “core of operative facts”       is that, as a result of additional discovery in the case, the
asserted that the State suppressed:                               new claims specify with greater particularity the evidence
                                                                  that Siegler suppressed. In other words, the original and
     • evidence that Siegler had contacted Foreman,               amended claims share a common core of operative facts:
     Beckcom’s cellmate, on numerous occasions;                   they concern suppression of exculpatory evidence that (1)
                                                                  originates from the same time (a five-month period
     • evidence that Siegler was using a circle of                between July and December, 2001), (2) was suppressed by
     informants (including Beckcom and Foreman) at the            the same actor (Siegler), (3) concern the same subject
     prison to investigate and provide testimony against          matter (the State’s relationship to Foreman and Beckcom
     Prible;                                                      and their motives and roles in the ring of informants), and
                                                                  (4) is material for the same reason (impeachment of
     • evidence that Foreman and his crew were told               Beckcom’s testimony regarding the alleged confession).
     specifics about the offense that the State was trying to
     prove against Prible; and                                        Mandacina v. United States, 328 F.3d 995 (8th Cir.
                                                                  2003), which the Supreme Court in Mayle cited with
     • evidence that Siegler used the ring of informants to       approval in laying out the relation back standard, is
     prosecute defendants in other cases.                         instructive. In Mandacina, the inmate’s original federal
                                                                  habeas petition raised a Brady violation involving the
The original petition alleges that the suppressed evidence
                                                                  suppression of “evidence of other suspects obtained by the
was material, because “defense counsel would have
completely undermined the integrity of the State s [sic]          Gladstone Police Department.”      Id. at 1001. The inmate
case if he had information that would have allowed him to         then sought to amend his habeas petition to include
demonstrate that the State was involved in a conspiracy to        suppression of a particular report—to which the original
violate Mr. Prible’s right to counsel and was trying to           petition made no reference—that documented a witness
incriminate Mr. Prible with the testimony from members            interview implicating other persons in the victim’s murder.
of this conspiracy.” (Doc. No. 1, at 44).                         The Eighth Circuit held that the amended pleading related
                                                                  back to the original pleading. See id. Mayle suggests that
Claims 3, 4, and 5 in the Fourth Amended Petition cover           relation back was appropriate in Mandacina because
substantially the same allegations. Specifically, the Fourth      “[b]oth pleadings related to evidence obtained at the same
Amended Petition describes the challenged claims as               time by the same police department.”        Mayle, 545 U.S.
follows:                                                          at 664 n.7. The relationship between Claims 3, 4, and 5 and
                                                                  the original seventh claim closely resembles the
     • Claim 3: In violation of Brady and due process             relationship between the original and amended pleadings
     guaranteed by the Fourteenth Amendment, the                  in Mandacina. The only difference between the allegations
     prosecution suppressed evidence that Foreman, whom           in the original petition and the challenged ones is that, as a
     Beckcom represented could corroborate his story,             result of additional discovery in the case, the later claims
     gave a different account, and was, in fact, fabricating      specify with greater particularity the evidence that was
     evidence against Prible. (Doc. No. 181, at 196).             suppressed by Siegler. As in Mandacina, the suppressed
                                                                  evidence that is mentioned for the first time in the new
     • Claim 4: In violation of Brady, the State suppressed       claims falls directly under the category of suppressed
     evidence impeaching its [Beckcom’s] testimony                evidence already identified in the original petition and,
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        19
        Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 115 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



thus, those claims relate back to the original petition. The       Respondent next argues that Prible’s Brady claims are
Court thus finds that Claims 3, 4, and 5 relate to a common        procedurally unreviewable because Prible failed to litigate
core of facts that do not differ in substantial thrust from the    his claims in compliance with state law. A federal
allegations made in Prible’s earlier filings.18                    constitutional claim raised on federal habeas is
                                                                   procedurally defaulted and may not be reviewed if the last
*23 Respondent also argues that Prible failed to raise             state court to consider that claim expressly relied on an
Claim 10 in a timely manner. Claim 10 argues that, “[i]n           adequate and independent state procedural bar for denial of
violation of due process under Brady, the State suppressed         relief. See    Coleman v. Thompson, 501 U.S. 722, 750
material evidence that Siegler had consulted the head of the       (1991). A procedural default may be excused, however, if
Harris County Crime Lab to ask how long semen could                a petitioner can show cause and prejudice to overcome the
remain in the oral cavity, and was told it lives up to 72
hours.” (Doc. No. 181, at 233). Habeas counsel learned of          default.   Id. at 750–51. The Court finds that Prible’s
the suppressed evidence only through Siegler’s own notes,          Brady claims are procedurally defaulted, but that Prible has
which were disclosed on May 11, 2017, pursuant to this             shown cause and prejudice to overcome the default.
Court’s order. The suppressed evidence is material, Prible
argues, because “it supports his defense that he had
consensual sexual contact with Nilda earlier in the night
before she was murdered, rather than immediately prior to
her execution.” (Id.) Prible highlights the fact that
“Petitioner could not have discovered these notes earlier; it         i. Prible’s Brady Claims Are Procedurally Defaulted
took a court order for the HCDA [Harris County District
Attorney’s] Office to finally let Petitioner see them.” (Doc.      The Court agrees that Prible’s second Brady claim is
No. 198, at 56).                                                   procedurally defaulted. As discussed above, the state court
                                                                   dismissed Prible’s successive state habeas application,
     Section 2244(d)(1)(D) provides that the AEDPA                 which included Claim 2, under Texas’s “abuse of the writ
limitations period begins to run from “the date on which           doctrine,” codified at Texas Code of Criminal Procedure
the factual predicate of the claim or claims presented could       Article 11.071 § 5(a). A dismissal pursuant to Article
have been discovered through the exercise of due                   11.071 “is an independent and adequate state ground for
diligence.” Because the State kept information about               the purpose of imposing a procedural bar” in a subsequent
Siegler’s interaction with the crime lab hidden in the             federal habeas proceeding.     Hughes v. Quarterman, 530
attorney work product file, Prible could not have known of         F.3d 336, 342 (5th Cir. 2008).
the facts that would have supported a Brady claim until at
least May 11, 2017, when the State finally disclosed               The Court further agrees with Respondent that Prible’s
Siegler’s work product file. Prible could not have                 other Brady claims are procedurally defaulted. “A
discovered the factual basis of that claim earlier because         procedural default also occurs when a prisoner fails to
the State only disclosed Siegler’s work product material           exhaust available state remedies and ‘the court to which the
pursuant to court order. Prible filed his amended habeas           petitioner would be required to present his claims in order
petition on March 26, 2018, within one year of the                 to meet the exhaustion requirement would now find the
disclosure. Thus, Prible filed Claim 10 in a timely manner         claims procedurally barred.’ ”     Nobles v. Johnson, 127
under     28 U.S.C. § 2244(d)(1)(D).                               F.3d 409, 420 (5th Cir. 1997) (quoting         Coleman v.
The Court therefore concludes that Claims 3, 4, 5, and 10          Thompson, 501 U.S. 722, 735 n.1 (1991)); see also
are not barred by AEDPA’s limitations period.                      Finley v. Johnson, 243 F.3d 215, 218 (5th Cir. 2001).
                                                                   Without distinguishing between individual claims, the state
                                                                   trial level habeas court dismissed Prible’s successive state
                                                                   habeas petition because it concluded that the “factual
                                                                   basis” for Prible’s ring-of-informants “conspiracy theory”
                                                                   was “available” when Prible filed his original state habeas
                                                                   petition in 2004. (Doc. No. 90-1 ¶¶ 26, 32, 34). Given the
                   b. Procedural Default                           breadth of this conclusion, as well as the similarities

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        20
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 116 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



between Claims 3–5 and Claim 2, which was included in              overcome the procedural bar of a Brady claim. For a
the successive petition, it is clear that the state court would    defaulted Brady claim, “cause and prejudice parallel two
apply the same procedural bar to Claims 3–5 if presented           of the three components of the alleged Brady violation
with those claims. Respondent reaches the same                     itself.”   Strickler v. Greene, 527 U.S. 263, 282 (1999);
conclusion. For Claims 3–5, Respondent avers that “the
Texas abuse-of-the-writ doctrine, set out in Tex. Code             see also      Banks, 540 U.S. at 691. There are three
Crim. Proc. Art. 11071 § 5, would procedurally bar Prible’s        elements of a substantive Brady claim: “The evidence at
attempt to raise this unexhausted claim in a subsequent writ       issue must be favorable to the accused, either because it is
application.” (Id. at 32). Respondent similarly asserts that       exculpatory, or because it is impeaching; that evidence
Claim 10 “would be dismissed as an abuse of the writ if he         must have been suppressed by the State, either willfully or
were to raise [it] in a subsequent state habeas application.”      inadvertently; and prejudice must have ensued.”
(Doc. No. 191, at 150). Prible’s Brady claims are                  Strickler, 527 U.S. at 281–82. “Corresponding to the
procedurally defaulted.19                                          second Brady component (evidence suppressed by the
                                                                   State), a petitioner shows ‘cause’ when the reason for his
                                                                   failure to develop facts in state-court proceedings was the
                                                                   State’s suppression of the relevant evidence.”     Banks,
                                                                   540 U.S. at 691. “[C]oincident with the third Brady
                                                                   component (prejudice), prejudice within the compass of the
        ii. Cause and Prejudice Overcomes Default                  ‘cause and prejudice’ requirement exists when the
                                                                   suppressed evidence is ‘material’ for Brady purposes.” Id.
*24 A procedural default may be excused upon a showing
                                                                   *25 The Court will discuss the favorable evidence that
of cause and prejudice.    Fisher v. State, 169 F.3d 295,
                                                                   Siegler suppressed, and its materiality under Brady’s
301 (5th Cir. 1999). “The resolution of ‘when and how
                                                                   prejudice prong, at length in addressing the merits of
defaults in compliance with state procedural rules can
                                                                   Prible’s Brady claims, see infra V.2.a & V.2.b. Here, the
preclude federal court consideration of a federal question
                                                                   Court focuses on how Siegler’s suppression of that
is itself a federal question.’ ” Barrientes v. Johnson,            evidence prevented Prible from developing his Brady
221 F.3d 741, 763 (5th Cir. 2000) (alterations omitted)            claims in state court, thus providing cause to overcome
(quoting     Fairman v. Anderson, 188 F.3d 635, 641 (5th           their default.
Cir.1999)). “To the extent, therefore, that the Texas Court
of Criminal Appeals decided issues of cause and prejudice          “Under Banks, a petitioner shows ‘cause’ if ‘the reason for
in dismissing [defendant’s] [successive] State Petition, we        his failure to develop facts in state-court proceedings was
are not bound by its decision.”20 Id.                              the State’s suppression of the relevant evidence.’ ” Murphy
                                                                   v. Davis, 901 F.3d 578, 597 (5th Cir. 2018) (quoting
“[T]he existence of cause for a procedural default must            Banks, 540 U.S. at 691). It is beyond serious dispute that
ordinarily turn on whether the prisoner can show that some         the prosecution withheld critical information from the
objective factor external to the defense impeded counsel’s         defense in this case. Siegler knew that Beckcom was
efforts to comply with the State’s procedural rule.”               associated with several other inmates intent on gaining
Murray v. Carrier, 477 U.S. 478, 488 (1986). “[A]                  favor by securing evidence against Prible, and that some of
showing that the factual or legal basis for a claim was not        these same inmates were involved in the case against
reasonably available to counsel, or that some interference         Hermilo Herrero. Yet the State did not divulge that other
by officials made compliance impracticable, would                  inmates sought out the prosecution to inform against
constitute cause under this standard.” Id. (citations              Prible. Nor did Siegler disclose the extent of her
omitted). “A Brady violation can provide cause and                 interactions with Beckcom or the precise nature of the
prejudice to overcome a procedural bar on a habeas claim.”         deals made for his testimony. Nor did she reveal the extent
Thompson v. Davis, 916 F.3d 444, 455 (5th Cir. 2019); see          of her interactions with Foreman or divulge that
                                                                   Foreman—who, without testifying, still loomed over the
also     Banks v. Dretke, 540 U.S. 668, 691 (2004).
                                                                   trial testimony— had twice given patently false accounts
                                                                   of Prible’s supposed confession to her.
The Supreme Court has recognized overlap between a
substantive Brady claim and the showing required to
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        21
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 117 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



In the end, the Court need not look further than the State’s       Similarly, evidence of a larger ring of informants was not
own file to demonstrate that Siegler prevented the defense         available to Prible’s state habeas counsel, Roland Moore,
from learning about exculpatory material evidence. In her          despite his diligent attempts to discover it. Siegler’s
deposition, Siegler claimed that she had an “open file”            suppression of evidence left precious little for Moore to
policy and did not maintain a separate work product file.          work with in investigating suspicions of prosecutorial
(Doc. No. 181, Ex. 4-A, at 112, 147). In reality, however,         misconduct. The only information Moore had was the
the State maintained a dense work product file containing          identities of Beckcom and Foreman, and Prible’s
a significant amount of exculpatory information that was           suggestion that a man with the last name of Walker might
not disclosed to the defense, including notes memorializing        have relevant information. (Doc. No. 198-1, at 57–59).
meetings with Foreman and Beckcom concerning Prible’s              Beckcom and Foreman refused to speak with Moore. (Id.
case, letters from several inmates—including Walker—               at 57). And though Moore tried to find a person named
trying to inform on Prible, and a note revealing that Siegler      Walker, with no other identifying information, that effort
had consulted Pam McGinnis, the head of the Harris                 quickly became “a fool’s errand.” (Id. at 59). With no
County Crime Lab, who told her semen could live up to              concrete evidence to support such claims, Moore did not
seventy-two hours in the mouth.21 These materials came to          include any prosecutorial misconduct claims in Prible’s
light only because of court proceedings and court orders           original federal habeas application.
occurring after Prible filed his initial federal petition.
                                                                   Prible later sought to discover Walker’s identity and
*26 The State’s suppression of evidence prevented Prible           whereabouts on his own, but mistakenly assumed that a
from developing his Brady claims in state court                    different person, Larry Wayne Walker, was the Walker
proceedings. Prible’s trial attorney, Terrence Gaiser,             with information about the ring of informants. Prible sent
brought several pre-trial Brady motions requesting that the        Larry Walker several letters through Ward Larkin, a
State furnish, among other things, the date, place, and            layperson and anti-death penalty advocate. (Doc. No. 181-
manner of all contacts with Beckcom, a statement of how            51, at 14). Only through sheer coincidence did Prible learn
contact with Beckcom was first initiated, a copy of all            Carl Walker’s identity: after Larry Walker was transferred
statements made by Beckcom, notes of any conversations             from FCI Beaumont to a BOP facility in Yazoo,
had with Beckcom, and any agreements made with                     Mississippi, where Carl Walker had also since been
Beckcom concerning benefits in exchange for testimony. 2           transferred, he realized Carl Walker might be the intended
RR 4, 6, 8. In response, Siegler provided a handwritten note       recipient of the letters and shared them with him. (Id. at
from Beckcom and indicated that he had been the one to             48); HT1-121. Although Carl Walker did alert Larkin that
initiate contact. HT2-165. At a pre-trial hearing, Siegler         he was the Walker being sought, Carl Walker did not
disclosed that she had had four or five telephone                  respond to further inquiries at the time, (Doc. No. 181-51,
conversations with Beckcom. Siegler did not, however,              at 48), and Prible had no way to contact him further (Doc.
disclose that she had initiated some of those contacts, that       No. 198, at 15–16). Thus, even though Prible identified
she had long been communicating with Beckcom’s                     Carl Walker before he filed his 2007 pro se petition, he had
cellmate Foreman, or that she found Foreman’s testimony            no way to obtain supporting evidence from him.22 Only
regarding Prible’s confession to not be credible. Id. Gaiser       after federal proceedings commenced did Walker change
testified at the evidentiary hearing that he had reviewed          his mind and provide a statement.
everything in the State’s file on Prible, but that the file did
not include the letters from Walker and other inmates              Respondent argues that Prible cannot establish cause to
concerning Prible’s case, or any other information that            overcome the default of his Brady claims because he, like
would have alerted him to Siegler’s contacts with the other        the defendant in         Robison v. Johnson, 151 F.3d 256
informants. Indeed, Siegler’s co-counsel, prosecutor               (5th Cir. 1998), “confuses knowledge of the factual
Victor Wisner, attested that even he was not made aware            predicate of the claim with access to the best evidence
of Siegler’s communications with the other informants, or          supporting that claim.” (Doc. No. 191, at 37). But the facts
the letters they sent her. HT1-189–97. Because of the              adduced at the evidentiary hearing as just described clearly
evidence Siegler suppressed, Prible’s defense team had no          undermine this argument. Although Prible may have
knowledge of her contacts and communications with other            suspected prosecutorial misconduct, including Brady
FCI Beaumont informants, or even the full extent and               violations, during the course of state court proceedings,
nature of her contacts with Beckcom.                               Siegler’s efforts to suppress evidence of her contacts with

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        22
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 118 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



Beckcom and the other informants left Prible with no             2. The Suppressed Evidence Was Favorable to Prible’s
concrete evidence to support such a claim during those                                 Defense
proceedings, despite Prible and his counsel’s diligent
efforts to discover such evidence. Prible may not be
penalized for failing to raise claims for which he lacked any
evidence.      Strickler, 527 U.S. at 286 (“Proper respect
for state procedures counsels against a requirement that all     a. Prible’s Ring of Informants Brady Claims (Claims 2–5)
possible claims be raised in state collateral proceedings,
even when no known facts support them.”). Relatedly,             Prible’s four interrelated Brady claims concern the
because Prible has shown by clear and convincing evidence        suppression of evidence about the group of FCI Beaumont
that the factual predicates for his Brady claims were not        informants. Prible claims that:
available until after he had filed his state court habeas
applications, Prible has refuted any presumption of                      • Claim 2: In violation of due process guaranteed
correctness owed to the State court’s findings to the                    under Brady, the State suppressed material evidence
contrary.                                                                that Beckcom and Foreman were part of an organized
                                                                         attempt to secure favors in return for fabricating a
*27 In sum, Siegler’s suppression of evidence created an                 false confession. (Doc. No. 181, at 177).
external obstacle that impeded Prible’s ability to bring his
Brady claims during state habeas proceedings. Siegler’s                  • Claim 3: In violation of Brady and due process
actions in this case therefore provide cause to forgive the              guaranteed by the Fourteenth Amendment, the
procedural default of Prible’s Brady claims.                             prosecution suppressed evidence that Foreman, whom
                                                                         Beckcom represented could corroborate his story,
In addition to cause for the default, Prible must show actual            gave a different account, and was, in fact, fabricating
prejudice. As discussed above, the prejudice inquiry in this             evidence against Prible. (Doc. No. 181, at 196).
context overlaps with Brady’s materiality standard. See
                                                                         • Claim 4: In violation of Brady, the State suppressed
    Banks, 540 U.S. at 698 (“Unless suppressed evidence is               evidence impeaching [Beckcom’s] testimony
material for Brady purposes, its suppression does not give               regarding the circumstances of the alleged
rise to sufficient prejudice to overcome a procedural                    “confession” and his motives for questioning Prible.
default.” (quotation and alterations omitted)). The test for             (Doc. No. 181, at 199).
materiality and prejudice is whether “there is a reasonable
probability that, had the evidence been disclosed to the                 • Claim 5: The State withheld evidence that the trial
defense, the result of the proceeding would have been                    court ordered produced pursuant to Brady. (Doc. No.
different.”  Strickler, 527 U.S. at 280; see    Banks,                   181, at 203).
540 U.S. at 698. As the Court will discuss infra in
connection with the underlying Brady claim, Prible has           At their core, each of the four claims relate to Prible’s
shown actual prejudice from the State’s withholding of           purported confession and Siegler’s interaction with FCI
information.                                                     Beaumont inmates.

Accordingly, the Court finds that Prible’s Brady claims are
procedurally reviewable. The Court first reviews Prible’s
Brady claims stemming from the prosecution’s use of
informants (Claims 2–5) and then Prible’s Brady claim
relating to the State’s investigation into DNA evidence                       i. Information about Nathan Foreman
(Claim 10). Because the state courts did not adjudicate the
merits of Prible’s Brady claims, this Court’s review of          The State suppressed substantial evidence about Nathan
those claims is de novo.                                         Foreman, who, although he did not testify at trial, was used
                                                                 by the state to corroborate Beckcom’s testimony. At trial,
                                                                 the State based its case in large part on inmate witness
                                                                 Beckcom, without calling any other witnesses to
                                                                 corroborate his testimony that Prible confessed to other
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         23
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 119 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



inmates. Even so, the State sought to implicitly bolster
Beckcom’s testimony by emphasizing that Prible told              Board of Prisons (BOP) records indicate that Foreman
Foreman, and others, about the murders.                          continued to speak with Siegler after the August 8 Meeting.
                                                                 (Doc. No. 181, Ex. 21). Foreman’s attorney also contacted
*28 Beckcom testified at trial that he received Siegler’s        Siegler. (Doc. No. 181, Ex. 23). Siegler’s notes show that
name from his cellmate, Foreman, and that Foreman was            even Foreman’s wife contacted her. (Doc. No. 181, Ex.
present for each of his relevant conversations with Prible.      19).
Beckcom was able to create a more convincing story by
adding Foreman to his narrative because it gave the              Bonds’ notes show that Siegler met with Foreman again on
impression that someone else had heard the same                  December 10, 2001, immediately before an interview she
confession, thereby making it less likely that Beckcom           had with Beckcom, in which Beckcom drafted a ten-page
fabricated the story. Foreman was, in essence, a non-            document describing his alleged conversation with Prible.
testifying corroborating witness to Beckcom’s story about        (Doc. No. 181, at 26). The notes memorializing that
Prible’s confession—and the prosecution implied as much.         meeting were placed in the work product file. (Doc. No.
For instance, when countering the defense’s argument that        181, Ex. 20). Siegler maintains that they did not find
Beckcom derived information about Prible’s probable              Foreman credible throughout the interaction. HT3-38–39.
cause statement, Siegler argued in closing that other
inmates “never saw Jeff Prible show it to Mike Beckcom           Siegler did not tell the defense about her interactions with
or Nathan Foreman.” 28 RR 83.                                    Foreman, other than to mention that he called her “around
                                                                 October of 2001” and that they did not “go see him until
The facts developed through the federal habeas process           December.” 20 RR 12. Respondent argues that, “[d]espite
show, however, that the jury lacked significant information      what Prible contends...the prosecutor was under no duty to
about Foreman, and consequently, about Beckcom’s                 disclose this information” primarily because “Forman [sic]
credibility. Well before Prible was indicted, Siegler            did not testify against Prible. Th[e] nature and extent of his
anticipated using inmate testimony. (Doc. No. 181, at 19–        meetings with the State is [sic] not, therefore, likely to
20). Jesse Moreno, an inmate who had acted as an                 impact the jury’s verdict on guilt-innocence.” (Doc. No.
informant in the past, suggested that Siegler and                191, at 113–14).
investigator Johnny Bonds seek out the assistance of
Foreman. In a pre-trial hearing, Siegler stated that Foreman     Respondent’s argument relies on a constricted view of
first contacted her in October of 2001 and that she did not      Foreman’s explicit and implicit influence in this case.
meet with him until December of 2001. 20 RR 12. Not until        Before even meeting Prible, Foreman claimed to have
this Court ordered the disclosure of Siegler’s work product      knowledge about him. The prosecution continued
notes, however, was it verified that Siegler and Bonds met       communicating with Foreman, even though Siegler
with Foreman at the Federal Detention Center in Houston          professed to find him lacking credibility.
on August 8, 2001.
                                                                 *29 Importantly, Foreman’s credibility was not
After charges were filed on Prible, he was moved from FCI        independent from Beckcom’s testimony. Foreman was the
Beaumont Low to FCI Beaumont Medium on July 25,                  only other man present when Prible allegedly confessed; he
2001. Around this time, Foreman was moved from FCI               was the only person who could vouch for Beckcom’s
Beaumont Medium’s SHU back into general population.              testimony. Because Beckcom’s testimony turned on
(Doc. No. 181, Ex. 17, 18). Foreman and Beckcom became           conversations witnessed by Foreman, information about
cellmates.                                                       Foreman and his credibility would be central to the jury’s
                                                                 assessment of the only testimony describing the crime. Yet
On August 8, 2001, Siegler and Bonds met with Foreman            for reasons not completely apparent on federal habeas
at the Federal Detention Center in Houston to find out what      review, the prosecution found Beckcom credible while
Foreman knew about Prible (the “August 8 Meeting”).              determining that Foreman was not. Evidence that Foreman
They learned that Foreman was looking for a deal to testify      had previously claimed, falsely, that Prible confessed; that
against Prible. However, both Siegler and Bonds testified        Foreman was working with Beckcom and other inmates to
that they believed that Foreman not only lacked credibility,     provide evidence against Prible in exchange for a sentence
but also was fabricating evidence against Prible before he       reduction; that Siegler provided Foreman with information
had even met him.                                                about Prible’s case (namely, the existence of the DNA
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       24
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 120 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



evidence); that Siegler had written Foreman a    Rule 35           Beckcom was the only inmate in the conspiracy with
letter in another case even though she determined that he          access to a typewriter, and all of the letters were
was not credible; and that Foreman worked with Beckcom             typewritten. HT1-132. Each letter misspells Prible’s name
to orchestrate a confession, all had substantial                   as “Pribble,” (Doc. No. 99-3), and Beckcom’s deposition
impeachment value. The information about Foreman also              suggests that he believed that this latter spelling, “Pribble,”
casts doubt on the State’s method of investigation: it             was the correct one, HT1-233. It goes without saying that
demonstrated that Siegler was willing to meet with, take           evidence showing that the State’s star witness was
evidence from, and do favors for inmates she deemed not            fabricating statements by other witnesses, especially those
credible. Siegler kept that information from the defense.          the prosecutor apparently did not deem credible, is
HT2-165, 186–87. Simply put, the State suppressed                  favorable to the defense.
exculpatory and material evidence about Foreman.
                                                                   Disclosure of these letters would have prompted a
                                                                   reasonable attorney to interview each of the inmates. Both
                                                                   Gaiser and Wisner testified at the evidentiary hearing that
                                                                   the letters would have been relevant and useful to argue
                                                                   that a group of men engaged in a coordinated attempt to
                                                                   obtain and/or manufacture incriminating evidence against
               ii. Letters from Other Inmates                      Prible.

During his successive state proceedings, Prible sought in          Respondent argues that “[t]he State had no duty to produce
camera review of the State’s file. The State did not oppose        these letters to the defense because they are not ‘favorable’
that motion, but still did not turn over the whole file. For       as contemplated under Brady.” (Doc. No. 191, at 45).
the first time in February 2011, the State provided Prible         Respondent, however, bases this argument on a confined
with three letters that prosecutors had sealed in a letter-        view of the benefit the documents would have had to the
sized envelope designated “attorney work product.” The             defense. Respondent argues:
letters to Siegler were from inmates Carl Walker, Mark
Martinez, and Oscar Gonzalez. These letters all indicated
that several inmates had heard Prible confess to the
murders. As described in Walker’s letter, “[a]s you may, or                     Each of the letters contain the
may not, know from previous conversations with Nathan                           assertion that Prible confessed to the
Foreman, myself, Mark Martinez, Jesse Gonzalez, his                             murders. Nor are they impeachment
father Felix Gonzalez and Beckcom were all close friends                        evidence. They do not, as Prible
of Pribble [sic].” (Doc. No. 99-3, at 10). Each letter offered                  claims, prove his ring-of-informants
to testify against Prible in exchange for a time cut. (Doc.                     claim or undermine the credibility
No. 99-3). The letters each told a similar story and provided                   of Beckcom’s testimony. The fact
corroboration for the others.                                                   that multiple federal inmates wrote
                                                                                to the prosecutor regarding another
At a minimum, the letters reveal that a ring of informants                      fellow inmate seeking to trade
was engaged in a collective, coordinated effort to secure                       incriminating information for a
sentence reductions in return for providing the State with                      reduction in their sentence does not
incriminating evidence in the form of manufactured                              prove the State solicited their help,
confessions. Testimony developed on federal habeas                              or that Beckcom’s testimony is
review has shown that the corroboration was likely due to                       false. Nor does the fact that
Beckcom’s calculated efforts. The inmates testified in the                      Beckcom was not the only inmate
evidentiary hearing that they did not write the letters.                        looking to inform on Prible prove a
Walker testified that although he signed a letter, he did not                   state-run conspiracy. And, as
write it. HT1-116. Martinez denied altogether signing the                       acknowledged by the state court in
letter bearing his name. (Doc. No. 181, at 121). According                      the habeas hearing “everyone
to Walker, the inmates’ letters were designed to                                knows” that it is not uncommon for
corroborate each other, HT1-117, and he believed that they                      federal inmates to come forward to
were all written by Beckcom. Walker explained that                              testify against other inmates in order

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          25
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 121 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



             to reduce their sentences.                          time other documents from the work product file. As
                                                                 described by Prible, these documents included:

                                                                         • The November 12, 2001, letter from Nathan
*30 (Id.). True, the letters themselves do not establish that            Foreman’s attorney, Alan Percely, to Siegler, in which
Siegler guided a ring of informants that would fabricate                 Percely conveys Foreman’s desire to provide
testimony against Prible. As shown in the evidentiary                    evidence against Prible in exchange for Siegler’s
hearing, however, and as discussed supra, the letters could              assistance in getting Foreman’s sentence reduced.
certainly have been the first steps toward showing a
conspiracy formed by the inmates themselves.                             • Texas Crime Information Center (TCIC)/National
                                                                         Crime Information Center (NCIC) criminal
Had the letters not been hidden away in the work product                 background reports for Foreman and Rafael
file, the defense could have pointed out similarities in the             Dominguez, dated December 6, 2001. These reports
letters, both in form and in content. Testimony from the                 were produced from a folder of privileged material
evidentiary hearing suggested that only Beckcom would                    containing TCIC/NCIC reports for potential witnesses
have had the opportunity to type the letters for other                   and testifying witnesses at Prible’s trial.
inmates. And disclosing the letters would have allowed the
defense to develop testimony, such as that from Walker in                • A sticky note attached to would-be informant Mark
the evidentiary hearing: that Prible never confessed but was             Martinez’s April 30, 2002, letter to Siegler, which
in fact set up by other inmates and that someone, likely the             appears to memorialize a March 7th voicemail from
State’s star witness Beckcom, wrote letters for the other                Martinez regarding the Prible case. It directs Siegler
inmates saying that Prible had in fact confessed.                        to call Martinez’s counselor at FCI Beaumont.

The evidentiary hearing testimony uncovered that the                     • An undated letter from Beckcom to Siegler
letters were likely fabricated. From that information, as                referencing his upcoming testimony in Prible’s trial
evinced by the federal evidentiary hearing, the defense                  and expressing concern that he could not count on his
could have developed rich, credible evidence that would                  California AUSA to assist him, and proposing that
have challenged the content and reliability of testimony                 Siegler help him secure a     Rule 35 sentence
from the State’s star witness. On federal review, disclosure             reduction by arranging for him and another FCI
of the false letters, along with suppressed information                  Beaumont inmate named Anton Davi to inform on
about the State’s dealings with Foreman, shows that                      even more FCI Beaumont inmates.
Beckcom was committed to creating a false narrative about
Prible’s confession. Indeed, the State did not believe                   *31 • A letter from the HCDA to Lt. Robert Clark at
Foreman, who was said to corroborate Beckcom’s                           FCI Beaumont, asking for permission for Siegler and
testimony against Prible. Armed with full knowledge of                   Bonds to interview Beckcom and Anton Davi, as
Beckcom’s efforts, a reasonable jury may well have                       Beckcom requested, in May 2002, five months before
reached a different outcome. The Court thus concludes that               Prible’s trial.
this evidence would have been favorable to the defense.
                                                                         • Documents showing that, after Prible’s trial, Siegler
                                                                         strenuously lobbied Beckcom’s AUSA for a time cut
                                                                         and evidently even recruited an AUSA working out of
                                                                         the Houston office to weigh in on Beckcom’s behalf.

                                                                 (Doc. No. 181, at 73–74). These suppressed documents
    iii. Other Information from the Work Product File            reveal the extent of Siegler’s involvement with the ring of
                                                                 informants and, in particular, Beckcom. Indeed, the
Prible has identified significant amounts of information         documents indicate that, in exchange for information on
that was not previously available to the defense. Such           Prible and other inmates, Siegler lobbied to reduce the
information consists of, among others, BOP records and           informants’ sentences. They also reveal that Beckcom in
records from other trials. Most problematic, however, is the     fact proposed to Siegler that he inform on other FCI
information contained in the prosecutor’s work product
file. In October 2015, the State also provided for the first     Beaumont inmates in exchange for a           Rule 35 sentence

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         26
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 122 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



reduction. This information tends to impeach Beckcom’s            he was able to obtain the male profile “certainly would be
credibility and the manner in which the State assembled its       consistent with” Prible depositing the semen in Tirado’s
case against Prible. The withholding of these documents           mouth “moments, if not seconds, before she was killed.”
further solidifies the Court’s finding that the State in this     24 RR 101–03.
case withheld important, favorable information from the
defense.                                                          *32 The defense responded with testimony from a
                                                                  molecular biologist, Dr. Robert Benjamin, who disagreed
Prible has accordingly demonstrated that the suppressed           with Watson’s testimony because there were too many
evidence would have been favorable to his defense for the         variables and Watson made too many assumptions. Dr.
purposes of his third, fourth, and fifth Brady claims.            Benjamin testified that using quantities of DNA to estimate
                                                                  time since ejaculation is “just not scientifically valid” and
                                                                  “no controlled scientific studies” supported Watson’s
                                                                  conclusions. 27 RR 123–24, 136. The prosecution,
                                                                  nonetheless, heavily emphasized Watson’s testimony in its
                                                                  closing argument.
   b. Prible’s DNA Evidence Brady Claim (Claim 10)                In Claim 10, Prible argues that the State suppressed Brady
                                                                  evidence relating to Watson’s testimony. Factual
Long before Prible was charged with capital murder, the
                                                                  development on federal habeas review has added important
prosecution knew that Prible’s semen had been found in
                                                                  new dimensions to the DNA evidence at trial. Recent
Tirado’s mouth. That fact alone was not necessarily
                                                                  evidence     refutes    Watson’s      methodology       and
inculpatory. The evidence did not suggest that Tirado had
                                                                  conclusions.23Even more importantly, however, factual
been sexually assaulted, and while Prible admitted that he
                                                                  development has revealed that the State suppressed
had sexual relations with Tirado, he claimed that it was
                                                                  evidence that the prosecution had information that
consensual and had occurred long before the murders. The
                                                                  contradicted Watson’s testimony, but did not turn it over to
prosecution thus needed to prove that “[t]here is no way in
                                                                  the defense.
the world that that semen wasn’t deposited either moments
before or seconds after [Tirado] died.” 28 RR 11.
                                                                  This Court performed an in camera review of the State’s
Accordingly, at trial the prosecution’s case in chief relied
                                                                  work product file. Siegler’s notes revealed that she had
heavily on evidence about the longevity of semen to prove
                                                                  investigated the survival period for semen to determine a
that Prible had been in the house around the time of the
                                                                  PMI. Siegler’s notes revealed that she had contacted Pam
killings. Indeed, Prible’s DNA evidence was one of two
                                                                  McInnis, the head of the Harris County Crime Lab.
pillars upon which the prosecution’s case relied almost
                                                                  McInnis told Siegler that semen can survive in the mouth
exclusively, the other being Beckcom’s testimony.
                                                                  for up to seventy-two hours. Siegler made a note about this
                                                                  but buried it in her work product file rather than reveal it to
At trial, the State called two expert witnesses to testify as
                                                                  the defense. (Doc. No. 181, Ex. 20).
to the DINA evidence. Testimony from the first witness,
Chief Harris County Medical Examiner Dr. Joye Carter,
                                                                  Prible contends that the State violated Brady by hiding the
did not help the State’s theory that Prible’s sexual contact
                                                                  State’s knowledge about the PMI in the work product
with Tirado had to have occurred seconds before she was
                                                                  folder. There is no question that the prosecution kept that
killed. Dr. Carter testified that sperm cells can be found in
                                                                  information from the defense. This evidence is favorable to
a person’s mouth for hours after ejaculation, possibly
                                                                  Prible because it supports his assertion that the oral sex was
because “it could actually adhere or stick to like plaque
                                                                  consensual and took place many hours before the murder.
that’s on the teeth or in the recesses of the mouth.” 23 RR
                                                                  It also impeaches Watson’s testimony that semen survives
68. The State instead bolstered its theory with testimony
                                                                  for only minutes, if not seconds, which the State relied
from William Watson, an expert in molecular biology.
                                                                  heavily on at trial.
Watson did not try to estimate an exact perimortem interval
(PMI) between oral sex and death, but still testified that the
                                                                  *33 Respondent advances two arguments, however, as to
quantity of the DNA sample was inconsistent with the
                                                                  why the suppression of this evidence did not amount to a
semen being deposited into Tirado’s mouth as long as an
                                                                  Brady violation that warrants habeas relief. First,
hour before she was killed. He also said that the fact that
                                                                  Respondent argues that “[a]lthough the evidence appears
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         27
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 123 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



to be impeachment evidence, it lacks foundational                that, had the evidence been disclosed to the defense, the
support.” (Doc. No. 191, at 152). True, neither party has        result of the proceeding would have been different.”
produced any evidence that would support the position that
the semen may exist inside the victim’s mouth for seventy-       Strickler, 527 U.S. at 280; see   Banks, 540 U.S. at 698.
two hours. However, the veracity of McInnis’s opinion is         “[T]he materiality standard for Brady claims is met when
not the issue. The value in divulging that material to the       ‘the favorable evidence could reasonably be taken to put
defense would be proving that the prosecution knew that          the whole case in such a different light as to undermine
DNA samples could last longer, possibly much longer, than        confidence in the verdict.’ ”      Banks, 540 U.S. at 698
the seconds or minutes testified to by Watson. Also,             (quoting     Kyles, 514 U.S. at 435). “[M]ateriality must be
disclosure would allow Prible to argue that the State had        assessed collectively, not point by point.” Banks v. Thaler,
information that would support his defense, but hid it and
                                                                 583 F.3d 295, 328 (5th Cir. 2009) (citing     Kyle, 514 U.S.
instead, shopped for an expert who would support its
                                                                 at 436).
theory.
                                                                 The cumulative effect of the suppressed evidence in this
Second, Respondent contends that the suppressed evidence
                                                                 case is such that it can “reasonably be taken to put the
is “immaterial.” (Id. at 153). Respondent argues that,
                                                                 whole case in such a different light as to undermine
because Dr. Carter testified that semen could exist in the
                                                                 confidence in the verdict.” Id. Had this evidence been
victim’s mouth for some time and Dr. Benjamin testified
                                                                 disclosed to the defense, it would reasonably have undercut
that scientific research did not support Watson’s testimony,
                                                                 the two pillars upon which the prosecution’s case against
“the testimony offered at trial was sufficient to refute
                                                                 Prible solely rested: Beckcom’s testimony and Prible’s
[Watson’s] testimony for Prible’s purposes.” (Id.). The
                                                                 DNA evidence.
Court disagrees. Further evidence undercutting one of the
State’s principal arguments, especially when that evidence
                                                                 The Court turns first to the suppressed evidence relating to
is from the head of the Harris County Crime Lab, could
                                                                 Beckcom’s testimony. As discussed supra, the prosecution
have been of paramount importance to the defense.
                                                                 at trial relied heavily on Beckcom’s testimony that Prible
                                                                 had confessed to him and Foreman about the murders.
The DNA testimony was critical to the State’s case, as the
                                                                 Beckcom’s testimony was bolstered by his claim that
State was able to argue that Prible killed Tirado
                                                                 Foreman was present at each interaction with Beckcom.
immediately after ejaculating in her mouth. Evidence that
                                                                 Yet, as the Court has discussed at length supra, the
Siegler received McInnis’s contradicting opinion
                                                                 suppressed evidence—the letters to Siegler, the new
undercuts both the veracity of the State’s DNA theory and
                                                                 information about Foreman, and the numerous other
Siegler’s method of investigation. The defense could have
                                                                 documents uncovered in Siegler’s work product folder—
used the suppressed note about McInnis’s opinion to show
                                                                 reveals an orchestrated effort by a ring of informants to
that Siegler shopped around for someone willing to say that
                                                                 fabricate a confession from Prible in return for sentence
Prible was lying about the timing of the oral sex, even
                                                                 reductions. Had this evidence been disclosed, the defense
though she knew that Prible’s version was scientifically
                                                                 could have argued not only that Beckcom was part of a ring
plausible. Accordingly, this evidence is favorable under
                                                                 of informants that sought to obtain incriminating evidence
Brady because it both refutes the validity of Watson’s
                                                                 against Prible for their own gain, but also that Beckcom,
testimony and undermines the integrity of the State’s
                                                                 the State’s star witness, had in fact fabricated and falsified
investigation of Prible’s case.
                                                                 evidence against Prible.

                                                                 *34 Indeed, the suppressed evidence could have been used
                                                                 to impeach Beckcom’s credibility. Armed with the letters
                                                                 to Siegler from several would-be informants that echoed
                                                                 Beckcom’s testimony regarding Prible’s confession, the
                       3. Prejudice                              defense could have emphasized Siegler’s curious decision
                                                                 to present only Beckcom at trial. Such evidence, as Gaiser
To establish prejudice, Prible must show that the                testified at the hearing, would have raised questions as to
nondisclosed information was material. The test for              what made Beckcom unique amongst the corroborating
materiality is whether “there is a reasonable probability        informants and, accordingly, cast doubt on his motivations

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       28
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 124 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



and credibility. HT2-180–81. Moreover, as Gaiser                 suppressed evidence related to the State’s second pillar—
testified, the defense could have used documents showing         DNA evidence—to which the Court turns next.
that Beckcom proposed informing on even more FCI
Beaumont inmates in exchange for Siegler’s help securing         At trial, the prosecution’s case in chief relied heavily on
a    Rule 35 sentence reduction, to highlight the extent to      using Prible’s semen to prove that he had been in the house
which Beckcom was willing to go to receive personal              at the time of the killings. Critical to the State’s theory of
benefit. HT2-194–95; supra at 61–62. This evidence would         the case was Watson’s testimony that Prible likely
have certainly impugned Beckcom’s motivations and                deposited the semen in Tirado’s mouth “moments, if not
credibility.                                                     seconds, before she was killed.” 24 RR 101–03.
                                                                 Suppressed evidence from Siegler’s work product file,
Not only could the defense have used this evidence to            however, revealed a contradicting opinion from McInnis,
impeach the State’s star witness individually, but indeed, it    the head of the Harris County Crime Lab, that semen can
could have been used to uncover a broad, orchestrated            survive in the mouth for up to seventy-two hours. (Doc.
effort to manufacture confessions against Prible and others,     No. 181, Ex. 20). Had this evidence been disclosed to the
like Herrera. For instance, the defense could have invoked       defense, it would have bolstered the defense’s theory that
the curious similarity in the form and content of the            Prible’s sexual encounter with Tirado occurred hours, not
letters—including consistently misspelling Prible’s name         seconds, before she was killed, and that Prible had returned
as “Pribble,” (Doc. No. 99, Ex. 3)—to show that the letters      home by the time of the killing. Indeed, that this evidence
were written by the same person or, at a minimum, in a           came from the head of the Harris County Crime Lab, which
deliberately coordinated effort. Indeed, as Gaiser testified,    is connected with law enforcement, may have lent more
the letters could have been used to demonstrate just how         credibility to McInnis and accordingly may well have held
many inmates were willing to act for personal benefit.           more sway in the eyes of a reasonable jury.
HT2-179. To bolster this presentation of a ring of
informants, the defense could have pointed to the                *35 Where, as here, the suppressed evidence taken as a
                                                                 whole would have allowed the defense to seriously
suppressed evidence that Siegler wrote and lobbied for           undercut the two main arguments the prosecution relied
Rule 35 sentence reductions for Beckcom, Foreman, and            upon, the Court has no trouble finding that a reasonable
numerous other informants. Moreover, the defense could           jury may well have reached a different outcome. The Court
have used suppressed evidence that Foreman was                   thus concludes that the suppressed evidence is material
apparently present during all critical interactions between      and, accordingly, that Prible has shown prejudice to
Prible and Beckcom to cast doubt on the veracity of              overcome any procedural default and to satisfy the third
Beckcom’s testimony and the trustworthiness of the State’s       prong of his Brady claims.
assembly of its case against Prible, especially in light of
Siegler’s professed distrust of Foreman. Using this
evidence, in conjunction with the other documents
suppressed in Siegler’s work product file, the defense
could have developed a compelling argument around the
ring of informants and cast doubt both on Beckcom’s
testimony and the manner in which the State investigated                      4. Conclusion of Brady Claims
and constructed its case against Prible. Without the
suppressed evidence, the defense at trial was left to attempt    Unlike a civil attorney representing a client, there is a
to impeach Beckcom with only his past conduct.                   “special role played by the American prosecutor in the
                                                                 search for truth in criminal trials.”    Strickler, 527 U.S.
Taken as a whole, these efforts would have, at the very          at 281. A prosecutor may litigate with zeal, but the
least, cast serious doubt on the veracity of the State’s star    Constitution ensures that, “though the attorney for the
witness and, in turn, one of the State’s two pillars against     sovereign must prosecute the accused with earnestness and
Prible. The materiality standard for Brady prejudice             vigor, he must always be faithful to his client’s overriding
requires that there be a reasonable probability that the         interest that justice shall be done. He is the servant of the
outcome would have been different.      Banks, 540 U.S. at       law, the twofold aim of which is that guilt shall not escape
699. That standard is certainly met here. This is especially     or innocence suffer.”   United States v. Agurs, 427 U.S.
true when considering the additional impact of the               97, 110–11 (1976) (quotation omitted).
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       29
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 125 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



                                                                 material witnesses.”     Blankenship v. Estelle, 545 F.2d
“Courts, litigants, and juries properly anticipate that          510, 513 (5th Cir. 1977).
‘obligations [to refrain from improper methods to secure a
conviction]...plainly rest[ing] upon the prosecuting             Prible has made a strong showing that he can meet the first
attorney, will be faithfully observed.’ ”   Banks, 540 U.S.      two prongs of the Giglio test with regards to Beckcom’s
at 696 (quoting      Berger v. United States, 295 U.S. 78,       testimony. As discussed supra, testimony and evidence
88 (1935)). Here, it plainly was not. Without question, the      developed after trial have shown that the defense could
prosecution in this case engaged in a pattern of deceptive       have developed a strong and possibly successful argument
behavior and active concealment. And the evidence                that Beckcom testified falsely. Additionally, Beckcom’s
suppressed sufficiently serves to controvert the primary         testimony, as one of two main pieces of evidence that the
basis for Prible’s conviction. Simply put, the prosecution       prosecution relied on, was certainly material.
withheld material evidence. The Constitution requires far
more, especially in the case of a man sentenced to death.        *36 However, the Court finds that Prible has not satisfied
The Court will grant habeas relief on Claims 2, 3, 4, 5, and     the third Giglio criterion. Prible has presented evidence
10.                                                              supporting the assertion that Siegler knew that she was
                                                                 presenting false evidence. The record undeniably shows
                                                                 that Siegler contacted Beckcom’s prosecutor several times
                                                                 in an effort to secure him a sentence reduction. Siegler
                                                                 minimized and hid the extent and content of those contacts.
                                                                 Siegler and Beckcom even disclosed to the jury that
  B. Giglio Claims (Claims 1 and 11)                             Beckcom’s goal in testifying was to obtain a sentence
Prible also contends that the State sponsored false and          reduction. As already discussed, Siegler certainly
misleading testimony through Beckcom and Watson in               suppressed material that would have significantly undercut
violation of      Giglio v. United States, 405 U.S. 150          Beckcom’s story. Beckcom acted as her agent in securing
(1972). In Claim 1, Prible focuses on Beckcom’s testimony        information from Prible. However, while this evidence
that Beckcom and Foreman had learned of the crime only           may not reflect well on Siegler, the Court finds that, taken
from Prible himself. Prible relies on an array of sources—       as a whole, the evidence is not conclusive as to whether
testimony from the other inmates, records showing                Siegler knew she was presenting false or seriously
extensive contacts between the inmates and Siegler, and          misleading testimony.
documents from other cases—to demonstrate that Siegler
gave Beckcom the information that served as the basis of         Likewise, Prible has not shown that Siegler knew that
his trial testimony. In Claim 11, Prible argues that the         Watson’s DNA testimony was false or seriously
prosecution adduced false and misleading testimony               misleading. Siegler was aware that experts had different
because Watson’s DNA testimony was scientifically                views on the amount of time that semen could survive in
baseless and likely wrong.                                       the oral cavity. As discussed supra, she was obligated
                                                                 under Brady to disclose to Prible the information that she
In Giglio, the Supreme Court held that “deliberate               found. However, Siegler’s failure to disclose does not
deception of a court and jurors by the presentation of           necessarily mean that she knew Watson’s testimony was
known false evidence is incompatible with rudimentary            false or seriously misleading.
demands of justice.”    Id. at 153 (quotation omitted). “To      This Court does not endorse the cavalier attitude Siegler
establish a due process violation based on the State’s           has displayed regarding her constitutional duty to preserve
knowing use of false or misleading evidence, [petitioner]        the fundamental fairness of the trial proceedings. Siegler
must show (1) the evidence was false, (2) the evidence was       intentionally and knowingly withheld information with the
material, and (3) the prosecution knew that the evidence         defense, was deceptive about her efforts to do so, and was
was false.”     Nobles v. Johnson, 127 F.3d 409, 415 (5th        far from credible in her federal court testimony. But the
Cir. 1997) (citing     Giglio, 405 U.S. at 153–54). The          evidence has not shown that she knew that Beckcom was
Court “will not tolerate prosecutorial participation in          lying or that the scientific evidence was indisputably false.
technically correct, yet seriously misleading, testimony         Although the issue is not free from doubt, the Court must
which serves to conceal the existence of a deal with             deny Prible’s Giglio claims.

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       30
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 126 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



                                                                 *37 When Prible first filed his federal habeas petition, he
                                                                 alleged that Siegler had recruited inmate informers who, at
                                                                 her direction, set into motion circumstances in which they
                                                                 could extract a confession from Prible. Although extensive
                                                                 factual development in the years since has lent support to
   C. Massiah Claims (Claims 6, 7, and 8)                        this ring-of-informants theory, not all of Prible’s
Prible raises three claims relating to the State’s influence     allegations have been completely verified. Yet, even on
over inmates as they sought information from Prible. In          Beckcom’s and Siegler’s accountings of the facts,
Claims 6 and 8, Prible argues that Beckcom and Foreman           Beckcom still acted as an agent of the State by taking
unconstitutionally acted as agents of the State in securing      Prible’s uncounseled statements with the promise of a
information against him. In Claim 7, Prible argues that he       reward from Siegler. Before turning to the merits of
was denied his Sixth Amendment right to effective                Prible’s Massiah claims, however, the Court will discuss
assistance of counsel at trial and on state habeas because       procedural concerns raised by Respondent.
his trial counsel failed to object to Beckcom’s testimony
under Massiah and his state habeas counsel failed to make
an ineffective-assistance claim on that basis. (Doc. No.
181, at 215–19).

As previously discussed, the prosecution’s ability to
convict Prible hinged on the testimony of a single                                   1. Procedural Bar
informant. The use of informant testimony is
constitutionally permissible. The Constitution, however,         Respondent argues that Prible defaulted his Massiah
requires that the informant acquire information                  claims by litigating them in a manner that did not comply
                                                                 with state law. Prible first raised a Massiah claim in his pro
independently, not as an agent for the State. Under
                                                                 se application that the Court of Criminal Appeals found to
Massiah v. United States, 377 U.S. 201 (1964), a
                                                                 be an abuse of the writ. Prible raised the Massiah issue
government agent may not seek information from a
                                                                 again in his federal petition in 2009. By that point, Prible
criminal defendant outside the presence of the defendant’s
                                                                 had developed additional evidence supporting his
counsel once the Sixth Amendment’s right to counsel has
                                                                 allegation that Siegler had used inmates as agents to gather
attached. See Thompson v. Davis, 916 F.3d 444, 454 (5th
                                                                 information against him. As discussed above, this Court
Cir. 2019).
                                                                 stayed proceedings in 2010 to allow Prible to exhaust state
                                                                 court review of several claims, including his Massiah
“A Massiah violation has three elements: (1) the Sixth
                                                                 claim, by filing a successive state habeas application. The
Amendment right to counsel has attached; (2) the
                                                                 subsequent actions of the state habeas court in reviewing
individual seeking information from the defendant is a
                                                                 Prible’s Massiah claim mirror those already discussed
government agent acting without the defendant’s counsel’s
                                                                 above in relation to Prible’s Brady claims: the state court
being present; and (3) that agent ‘deliberately elicit[s]’
                                                                 allowed some factual development of the Massiah claim,
incriminating statements from the defendant.” Henderson
                                                                 but ultimately did not reach the claim’s merits after finding
v. Quarterman, 460 F.3d 654, 664 (5th Cir. 2006) (quoting
                                                                 the claim procedurally barred by Texas’s abuse-of-the-writ
    Massiah, 377 U.S. at 206). “Under the Fifth Circuit’s        doctrine. Respondent argues that this state-imposed
two-prong test for determining whether an agency                 procedural bar renders Prible’s Massiah claim procedurally
relationship exists between the government and a jailhouse       defaulted. The Court agrees. Prible has shown, however,
informant, the defendant bears the burden of showing that        that he can establish cause and prejudice to overcome the
‘the informant: (1) was promised, reasonably led to              procedural default.
believe, or actually received a benefit in exchange for
soliciting information from the defendant; and (2) acted         As discussed supra in connection with Prible’s Brady
pursuant to instructions from the State, or otherwise            claims, an inmate can meet the cause requirement by
submitted to the State’s control.” United States v. Bates,       showing that “some objective factor external to the defense
850 F.3d 807, 810 (5th Cir. 2017) (quoting         Creel v.      impeded [the defense’s] efforts to comply with the State’s
Johnson, 162 F.3d 385, 393 (5th Cir. 1998)).                     procedural rule,”     Murray v. Carrier, 477 U.S. 478, 488
                                                                 (1986), or that “the factual or legal basis for a claim was
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       31
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 127 of 137


                                              Marcus, James 6/5/2020
                                             For Educational Use Only


Prible v. Davis, Slip Copy (2020)



not reasonably available to counsel,”          Coleman v.                    Beckcom had learned very little
Thompson, 501 U.S. 722, 753 (1991). As with his Brady                        about the case from Prible until after
claims, Prible’s ability to develop his Massiah claims in                    he and Siegler had worked out a deal
state court proceedings was hobbled by Siegler’s                             that would reward him for
suppression of information regarding the extent of her                       informing on Prible.
relationship with Beckcom and other inmates, and the
nature of the arrangement between her and Beckcom.
During trial, direct appeal, and state habeas proceedings,      (Doc. No. 181, at 213). From this, Prible concludes that
Prible and his attorneys had no reason to know that Siegler     “[t]he State and Beckcom thereafter conspired to violate
was suppressing evidence of her relationship with               Prible’s constitutional rights by eliciting statements about
informers. As with Prible’s Brady claim, it was only after      the crime in the absence of defense counsel.” (Id. at 214).
federal habeas counsel was finally able to conduct              The issue before the Court is thus whether Beckcom acted
interviews with Walker and other inmates that Prible’s          as an agent of the state in deliberately eliciting
Massiah claim became anything more than speculative.            incriminating evidence from Prible after his right to
Indeed, the full nature of Beckcom’s interaction with the       counsel had attached. For the purposes of analyzing this
prosecution only came into focus with Beckcom’s                 issue, the Court assumes that Beckcom testified credibly at
interview, clarified and contextualized by later testimony      trial and that Prible did indeed confess to the murder,
from other inmates. Only in his deposition did Beckcom          because even under these assumptions, the Court finds that
finally acknowledge that the only reason he acted was to        Beckcom was in an agency relationship with Siegler in
get himself a sentence reduction. In sum, only once federal     violation of Prible’s constitutional rights.
review began was Prible able to remove the obstacle that
Siegler’s suppression of evidence had created for the           Prible’s Sixth Amendment right to counsel had attached by
development of his Massiah claims. Because Siegler’s            the time Prible’s trial counsel was appointed on September
suppression of evidence was an “objective factor” that
impeded the development of Prible’s Massiah claims,             28, 2001. See    United States v. Gouveia, 467 U.S. 180,
Prible has shown cause to overcome the default of those         189 (1984) (“[T]he right to counsel attaches at the initiation
claims. Moreover, as discussed further below, prejudice is      of adversary judicial criminal proceedings.”). Beckcom
clear given the critical import of Beckcom’s testimony at       acknowledged that he first contacted Siegler in October
trial. The Court finds cause and prejudice to allow federal     2001 to discuss the possibility of receiving a sentencing
review of Prible’s Massiah claims. Because the state courts     reduction in exchange for information. HT1-238.
never adjudicated the merits of his claims, federal review
of those issues is de novo.                                     The second question under Messiah is whether Beckcom
                                                                sought out information from Prible as an agent of the State.
                                                                Under Fifth Circuit law, Beckcom must have solicited
                                                                information because he was “promised, reasonably led to
                                                                believe, or actually received a benefit,” and “acted pursuant
                                                                to instructions from the State, or otherwise submitted to the
                                                                State’s control.” United States v. Bates, 850 F.3d 807, 810
    2. Prible’s Massiah Claim: Beckcom (Claim 6)                (5th Cir. 2017) (quotation omitted); see Thompson v.
                                                                Davis, 941 F.3d 813, 816 (5th Cir. 2019).
*38 In Claim 6, Prible argues that the State violated
Massiah because:                                                As Beckcom’s testimony shows, he entered into an agency
                                                                relationship with the State during that first conversation
                                                                with Siegler. At the time of the initial meeting, Beckcom
                                                                did not have any real information about Prible. HT1-236.
            Beckcom’s testimony leaves little
                                                                Beckcom said that the purpose of his initial call with
            doubt that (1) his initial phone call
                                                                Siegler was to see whether he could arrange for a reduction
            to Siegler in early October 2001 was
                                                                in his sentence even though he did not have any evidence
            for the purpose of reaching an
                                                                at that time.24 At trial, Beckcom testified that Siegler told
            agreement for him to serve as an
                                                                him that she would be interested only if he knew
            agent to investigate Prible, and (2)
                                                                “[s]pecifics about the case.” 26 RR 37; HT1-238. Beckcom
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       32
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 128 of 137


                                               Marcus, James 6/5/2020
                                              For Educational Use Only


Prible v. Davis, Slip Copy (2020)



left that meeting on a mission to secure information from
Prible, knowing that he would receive a benefit if he
obtained a confession and testified against Prible. Thus, at
a minimum, Beckcom was “reasonably led to believe” that
he would receive a       Rule 35 letter in exchange for
getting information from Prible, and then acted pursuant to          3. Prible’s Massiah Claim: Foreman (Claim 8)
instructions from Siegler to get details about the crime
from Prible.                                                     Prible has also raised a Massiah claim based on Foreman’s
                                                                 alleged work as a state agent. Prible argues that the State
*39 Beckcom’s conversations and meetings with Siegler            suppressed evidence that Foreman was a state agent before
after the first phone call in October 2001 provide further       and during the time that he and Beckcom were trying to
evidence that Beckcom was acting based on promises of            obtain a confession from Prible. Prible primarily bases this
relief from Siegler. As described above, in her deposition,      claim on the meeting that Foreman had with Siegler and
Siegler testified that she reached out to the Assistant U.S.     Bonds at FDC in August 2001. Although it is undisputed
Attorney working on Beckcom’s federal criminal case to           that the State did not disclose this meeting and that
talk about a     Rule 35 reduction before Beckcom even           Foreman tried to inform on Prible, Foreman did not testify
testified. Beckcom testified that he asked for assurances        that Siegler gave him any instructions at that meeting or
and wanted to make sure that Siegler was in contact with         made any promises to him. Prible has not shown that there
the AUSA. Beckcom said Siegler told him he would                 was any agency relationship or quid pro quo between
probably get out. And indeed, although Beckcom wanted a          Foreman and the State. Accordingly, Prible has not shown
greater reduction, he did eventually receive a year off his      that the State violated Massiah in Siegler’s dealings with
sentence as a result of his testimony. All this evidence         Foreman.
indicates that Beckcom was in an agency relationship with
Siegler, which predated Beckcom’s substantive
conversations with Prible.

Finally, Prible has shown that Beckcom “deliberately
elicited” incriminating statements while acting as the
                                                                   4. Prible’s Massiah Claim: Ineffective Assistance of
State’s agent. Beckcom acknowledged that he talked about
                                                                                  Trial Counsel (Claim
trying to get a confession from Prible with Foreman;
accordingly, he was not merely a passive recipient of
information. Even in his testimony at trial, he admitted to
asking questions about the evidence in the case to gather
the “specifics” Siegler requested. Beckcom acted                 7)
deliberately in seeking out a confession from Prible, in         Prible also argues that trial counsel provided ineffective
hopes of obtaining a reduction to his own sentence. Thus,        assistance for not raising a Massiah claim at trial. “An
Prible has shown that the State violated Massiah when it         ineffective assistance claim has two components: A
used Beckcom to elicit incriminating statements from             petitioner must show that counsel’s performance was
Prible.                                                          deficient, and that the deficiency prejudiced the defense.”
                                                                     Wiggins v. Smith, 539 U.S. 510, 521 (2003). “To
Prejudice is not a close question. Beckcom’s testimony was       establish deficient performance, a petitioner must
plainly the most compelling evidence that the jury heard at      demonstrate that counsel’s representation fell below an
trial. Although the defense could and did impeach                objective standard of reasonableness.” Id. (quotation
Beckcom’s credibility as a jailhouse snitch, they did not        omitted). The Court must apply “a strong presumption that
have strong impeachment evidence about the actual                counsel’s conduct falls within the wide range of reasonable
substance of what he relayed to the jury about Prible’s
confession. Prible has made a strong case that there is more     professional assistance.”    Strickland v. Washington, 466
than a “reasonable probability” that exclusion of                U.S. 668, 689 (1984). To establish prejudice, a petitioner
Beckcom’s testimony would have altered the outcome of            must show that “there is a reasonable probability that, but
the trial.                                                       for counsel’s unprofessional errors, the result of the

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                      33
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 129 of 137


                                                 Marcus, James 6/5/2020
                                                For Educational Use Only


Prible v. Davis, Slip Copy (2020)



proceeding would have been different.”         Id. at 694.         also testified that he counseled Prible not to talk about his
                                                                   case. Id. at 70–71.
Martinez v. Ryan, 566 U.S. 1 (2012), and            Trevino v.
Thaler, 569 U.S. 413 (2013), provide a limited exception           Much more information about the agency relationship
to the procedural default rules when state habeas counsel          emerged only during habeas proceedings. While trial
was ineffective for failing to assert a substantial ineffective    counsel knew that Beckcom reached out to Siegler well
assistance of trial counsel claim in the petitioner’s first        before he had any substantive conversations with Prible,
state habeas petition. In order to successfully assert a           the full extent of Beckcom’s efforts to secure a confession
Strickland claim for appellate counsel, Prible must also           was not apparent to them at that time. While an attorney
have a reasonable probability that he would have prevailed         could have raised a Massiah objection, it does not appear
on appeal but for his counsel’s deficient performance. See         that Beckcom would have been so forthcoming at trial to
   Smith v. Robbins, 528 U.S. 259, 285–86 (2000).                  describe his efforts to communicate with Siegler and secure
                                                                   information from Prible. Further, even if Prible’s state
*40 The root of this claim is that trial counsel knew that         habeas counsel should have been aware of the potential
Beckcom tried to obtain a confession and information from          Massiah issues, Prible has not shown that the state habeas
Prible while both were in detention, starting in late October      court would have granted relief absent the full record
or early November 2001.25 At this time, Prible’s Sixth             developed in federal habeas proceedings. The Court finds
Amendment right to an attorney had already attached, and           that Prible is not entitled to relief on his ineffective
Beckcom had already spoken with the lead prosecutor.               assistance of counsel claim.
Despite having information about this timeline, Prible’s
trial counsel failed to object to Beckcom’s testimony or to
request a Massiah hearing. Prible argues that, had his
counsel objected, the trial court would have excluded
Beckcom’s testimony. Since Beckcom’s testimony was
critical to the prosecution’s case, Prible argues that it is
“reasonably probable” that the outcome of the trial would                      5. Conclusion of Massiah Claims
have been different if Beckcom’s testimony had been
                                                                   “[T]he prosecutor and police have an affirmative
excluded.       Strickland, 466 U.S. at 693–94. Similarly,         obligation not to act in a manner that circumvents and
state habeas counsel had the same information but failed to        thereby dilutes the protection afforded by the right to
make an ineffective-assistance claim in the first state
                                                                   counsel.”      Maine v. Moulton, 474 U.S. 159, 171 (1985).
habeas application based on trial counsel’s failure to make
a Massiah objection. Respondent argues that Prible’s trial         Prible’s initial complaint was that Siegler orchestrated a
counsel was not ineffective for failing to object to               trap wherein Prible would become entangled in a web of
Beckcom’s testimony at trial because there was no                  informers who, having gained his confidence, would
evidence that Beckcom was an agent of the state: “Counsel          extract from him a confession. Prible alleged that Siegler
is not deficient for, nor can prejudice result from, the           not only seeded this conspiracy with facts about the
failure to raise a baseless objection.” (Doc. No. 191, at 98).     murder, but somehow caused the federal prison to place
                                                                   within his orbit the men who would take advantage of him.
While the record developed through Prible’s state and              Prible argued that Siegler then maintained regular contact
federal habeas proceedings has enabled Prible to show              with, and control of, the informers.
successfully that Beckcom was an agent of the State, the
information at trial was not so clear. At trial, Beckcom           The evidence has not completely verified all of Prible’s
seemed to suggest that Prible confessed to him before he           allegations. Still, the evidence sufficiently proves a
contacted Siegler. 26 RR 23–24; 36–37, 47. According to            Massiah claim in relation to Beckcom. Siegler promised
Beckcom, after Prible had made inculpatory statements,             Beckcom time off his sentence if he got information from
Beckcom then found out that Siegler would need specifics.          Prible. Nothing suggests that Siegler instructed Beckcom
Id. at 37. Beckcom testified about the November 24, 2001,          to be a passive listener. Cf.    Kuhlmann v. Wilson, 477
conversation in which Prible allegedly confessed as if             U.S. 436, 460 (1986) (finding no Massiah violation when
Prible had voluntarily and without solicitation told               the police instructed the inmate informant “only to listen
Beckcom about the crime. Id. at 53–54. In fact, Beckcom            to” the defendant). Siegler must have known that, by telling
                                                                   Beckcom she needed specifics, Beckcom “would take
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         34
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 130 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



affirmative steps to secure incriminating information” and        court sitting in habeas corpus.”   Bradshaw v. Richey,
that “such propinquity [between the inmates] likely would         546 U.S. 74, 76 (2005). The Court’s sole inquiry, then, is
lead to that result.”     United States v. Henry, 447 U.S.        whether the admission of this evidence violated the
264, 271 (1980). Siegler regularly communicated with              Constitution, see     Estelle v. McGuire, 502 U.S. 62, 68
Beckcom after their initial meeting and, when he claimed          (1991), which only provides relief from an evidentiary
to have created a situation in which Prible confessed, again      ruling that is “so unduly prejudicial that it render[ed] the
made promises to him. Beckcom acted as an agent of the
State in taking Prible’s uncounseled statements. The Court        trial fundamentally unfair,”      Payne v. Tennessee, 501
therefore grants relief on Claim 6.                               U.S. 808, 825 (1991); see also       Hafdahl v. Johnson, 251
                                                                  F.3d 528, 536 (5th Cir. 2001) (“If evidence of an
                                                                  extraneous offense is wrongly admitted, however, habeas
                                                                  corpus relief is proper only if the error is of such magnitude
                                                                  that it resulted in ‘fundamental unfairness.’ ”).

   D. Due Process (Claim 9)                                       Here, Texas law allowed the prosecution to introduce the
*41 In Claim 9, Prible argues that the trial court improperly     extraneous evidence as an exception to general evidentiary
admitted evidence at trial. The State only charged Prible         principles. Evidence of the deaths filled in gaps that would
with killing Herrera and Tirado. The trial court, however,        otherwise exist in the evidentiary picture for jurors:
allowed the State to introduce guilt/innocence phase
evidence that their three children also died in the fire. On
direct appeal, Prible argued that the evidence of the
children’s deaths was inadmissible under Texas Evidence                        First, evidence of the children’s
Code § 404(b) and the due process clause. Under Texas                          deaths was part of the crime scene.
law, evidence of other crimes is generally inadmissible, but                   That evidence was necessary to
exceptions exist to prove motive, provide context, or                          fully understand the situation as
corroborate statements. The Court of Criminal Appeals                          neighbors and firefighters found
provided two justifications for the admission of those                         it....Second, the children’s deaths
deaths: (1) “the State used the evidence of the children’s                     were a direct consequence of
deaths to support the testimony of a jailhouse informant,                      [Prible’s] conduct of setting fire to
Michael Beckcom...detailing the manner in which the                            Nilda. Thus, Steve and Nilda’s
crimes were committed with information that Beckham                            murders are so intertwined with the
[sic] could not have obtained except from [Prible] himself”                    deaths of their children that the
and (2) “the evidence was admissible as same-transaction                       State’s case might well be
contextual evidence...[which was] so intertwined with the                      incomplete without some mention
State’s proof of the charged crime that avoiding reference                     of the children’s presence in the
to it would make the State’s case incomplete or difficult to                   home. Under these circumstances,
                                                                               testimony about the children’s
understand.”         Prible, 175 S.W.3d at 731, 732.
                                                                               deaths fills in gaps of the interwoven
                                                                               events and consequences of a
Federal habeas courts do not “sit to review the mere
                                                                               defendant’s criminal conduct and
admissibility of evidence under state law.”          Little v.                 thus helps the jury to understand the
Johnson, 162 F.3d 855, 862 (5th Cir. 1998); see also                           case in context.
Derden v. McNeel, 978 F.2d 1453, 1458 (5th Cir. 1992)
(“[E]rrors of state law, including evidentiary errors, are not
cognizable in habeas corpus....”). The Court of Criminal
Appeals found on direct appeal that evidence of the                       Prible, 175 S.W.3d at 732. The state court
children’s deaths was admissible under state law. The             reasonably found that any error was not a denial of
Supreme Court has “repeatedly held that a state court’s           “fundamental fairness” under the Due Process Clause.
interpretation of state law, including one announced on           Prible has not shown that the state court’s rejection of this
direct appeal of the challenged conviction, binds a federal       claim was contrary to, or an unreasonable application of,
                                                                  federal law. See     28 U.S.C. § 2254(d)(1).
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        35
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 131 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



                                                                  Record at 465. The state habeas court relied on Texas’s
                                                                  contemporaneous rule which requires “a party to preserve
                                                                  an issue for appellate review” by making “a timely
                                                                  objection with specific grounds for the desired ruling.”
   E. Ineffective Assistance of Counsel: DNA Claim                Livingston v. Johnson, 107 F.3d 297, 311 (5th Cir. 1997).
   (Claim 12)                                                     Texas’s contemporaneous objection rule is an adequate and
In addition to his claims that the State violated Brady by        independent state law bar to federal review. See Hughes v.
suppressing DNA evidence regarding how long semen                 Johnson, 191 F.3d 607, 614 (5th Cir. 1999) (citing
could remain in the victim’s mouth and sponsoring false           Amos v. Scott, 61 F.3d 333, 345 (5th Cir. 1995)). Because
and misleading testimony about the DNA evidence, Prible           Prible has not shown cause or prejudice for the default of
contends that trial counsel provided ineffective                  this claim, federal review is barred. See Roberts v. Thaler,
representation by not effectively rebutting the testimony of      681 F.3d 597, 604–05 (5th Cir. 2012).
the State’s expert. Trial counsel secured expert assistance
to refute Watson’s testimony and strongly disputed
Watson’s conclusions in closing argument. It is true that
counsel could have crafted Siegler’s withheld note into a
theory that the State had shopped experts until finding one
who would agree with their timeline of the evidence.                G. Actual Innocence (Claim 14)
However, such information was not available to Prible’s           Prible raises a stand-alone claim of actual innocence.
trial counsel at the time of trial. Prible has not shown that,    “Actual innocence” is not an independent ground for
given the information available to them, trial counsel was        habeas corpus relief. See   Herrera v. Collins, 506 U.S.
unreasonable in how they approached the evidence or               390, 400 (1993); In re Raby, 925 F.3d 749, 755 (5th Cir.
deficient in their efforts.                                       2019);     Foster v. Quarterman, 466 F.3d 359, 367 (5th
                                                                  Cir. 2006). Insofar as Prible argues that his actual
                                                                  innocence entitles him to relief separate from any other
                                                                  constitutional issue, he does not raise a cognizable habeas
                                                                  claim.
   F. Fair Cross-Section (Claim 13)
*42 Prible claims that he was denied his right to a jury
drawn from a fair cross-section of the community because
Harris County systematically excludes Hispanics from jury
service. In order to demonstrate a prima facie violation of          H. Final Claims (Claims 15 and 16)
the fair cross-section requirement for juries, a petitioner       Prible’s fifteenth claim argues that the State sponsored
must show: “(1) that the group alleged to be excluded is a        false testimony in order to mislead the jury, bolster the
‘distinctive’ group in the community; (2) that the                argument that he had raped Tirado, and detract from
representation of this group in venires from which juries         Prible’s alibi witnesses. Prible argues that the State
are selected is not fair and reasonable in relation to the        knowingly presented false testimony about the period
number of such persons in the community; and (3) that this        between oral sex and Tirado’s death, crime scene evidence
underrepresentation is due to systematic exclusion of the         regarding burn patterns and sexual assault, his relationship
group in the jury-selection process.”    Duren v. Missouri,       with Tirado, Tirado’s personal opinion of Prible, and phone
439 U.S. 357, 364 (1979). Prible argues that Harris               calls made from the Herrera home. In his sixteenth claim,
County’s process of selecting jurors underrepresents              Prible faults trial counsel for not developing defensive
Hispanics for various reasons, such as low jury pay and the       efforts to counteract the false testimony he outlines in
use of stale address lists.                                       Claim 15.

Prible raised this claim on state habeas review. The state        Respondent observes that Prible raised these claims for the
habeas court found that Prible defaulted judicial                 first time in his Fourth Amended Petition. On that basis,
consideration of this claim by failing to lodge a trial           Respondent argues that the claims are procedurally
objection to the jury panel. Successive State Habeas              unreviewable. The Court agrees and finds that Prible has

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       36
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 132 of 137


                                                Marcus, James 6/5/2020
                                               For Educational Use Only


Prible v. Davis, Slip Copy (2020)



not shown that he can overcome the procedural default.            Unless the prisoner meets the COA standard, “no appeal
Claims 15 and 16 are thus procedurally unreviewable.              would be warranted.”      Slack, 529 U.S. at 484.

                                                                  Having considered the merits of the denied claims, and in
                                                                  light of AEDPA’s standards and controlling precedent, this
                                                                  Court declines to grant a COA.
VI. CERTIFICATE OF APPEALABILITY
Respondent does not need permission to appeal from the
grant of habeas relief. Under AEDPA, however, a prisoner
cannot seek appellate review from a lower court’s
judgment without receiving a Certificate of Appealability         VII. CONCLUSION
(“COA”). See 28 U.S.C. § 2253(c). Prible has not yet              Prible is entitled to federal habeas relief on claims two,
requested that this Court grant him a COA on the denied           three, four, five, six, and ten. The Court DENIES the
claims; however, this Court “must issue or deny a                 State’s Motion for Summary Judgment and
certificate of appealability when it enters a final order         CONDITIONALLY GRANTS federal habeas relief as
adverse to the applicant.” see Soliz v. Davis, 750 F. App’x       discussed above. It is therefore ORDERED that a writ of
282, 287–89 (5th Cir. 2018). “The COA statute establishes         habeas corpus shall issue unless, within 180 days, the State
procedural rules and requires a threshold inquiry into            of Texas either begins new proceedings against Prible or
whether the circuit court may entertain an appeal.”               releases him from custody. The 180-day time period shall
Slack v. McDaniel, 529 U.S. 473, 482 (2000). A court may          not start until the conclusion of any appeal from this
only issue a COA when “the applicant has made a                   Memorandum and Order, either by the exhaustion of
substantial showing of the denial of a constitutional right.”     appellate remedies or the expiration of the time period in
28 U.S.C. § 2253(c)(2).                                           which to file such appellate proceedings. The 180-day
                                                                  period may also be extended on further order of the Court.
*43 The Fifth Circuit holds that the severity of an inmate’s      The Court DENIES a certificate of appealability for all
punishment, even a sentence of death, “does not, in and of        claims.
itself, require the issuance of a COA.”            Clark v.
Johnson, 202 F.3d 760, 764 (5th Cir. 2000). The Fifth
Circuit, however, anticipates that a court will resolve any                   The Clerk will deliver a copy of this
questions about a COA in the death-row inmate’s favor.                        Memorandum and Order to the
See Hernandez v. Johnson, 213 F.3d 243, 248 (5th Cir.                         parties. SIGNED at Houston,
2000). The Supreme Court has explained the standard for                       Texas, on this 20th day of May,
evaluating the propriety of granting a COA on claims                          2020.
rejected on their merits as follows: “Where a district court
has rejected the constitutional claims on the merits, the
showing required to satisfy § 2253(c) is straightforward:
The petitioner must demonstrate that reasonable jurists
would find the district court’s assessment of the
constitutional claims debatable or wrong.”        Slack, 529
U.S. at 484; see also      Miller-El v. Cockrell, 537 U.S.        HON. KEITH P. ELLISON
322, 336–38 (2003). On the other hand, a district court that
has denied habeas relief on procedural grounds should
issue a COA “when the prisoner shows, at least, that jurists
of reason would find it debatable whether the petition states     UNITED STATES DISTRICT JUDGE
a valid claim of the denial of a constitutional right and that
jurists of reason would find it debatable whether the district    All Citations
court was correct in its procedural ruling.”      Slack, 529      Slip Copy, 2020 WL 2563544
U.S. at 484; see also       Miller-El, 537 U.S. at 336–38.

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       37
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 133 of 137


                                              Marcus, James 6/5/2020
                                             For Educational Use Only


Prible v. Davis, Slip Copy (2020)



                                                          Footnotes


1
       In June 1999, Prible pled guilty to bank robbery in violation of    Title 18 U.S.C. § 2113(a). United States v. Prible, No.
       4:99-cr-348-1 (S.D. Tex. June 17, 1999) (Doc. No. 6). Prible was sentenced in federal court in September 1999. Id. (Doc.
       No. 13).

2
       The Court will refer to the Reporter’s Record from Defendant’s Appeal from the 351st District Court of Harris County,
       Texas, No. 75587, as –– RR ––.

3
          Brady v. Maryland, 373 U.S. 83 (1963).

4
          Giglio v. United States, 405 U.S. 150 (1972).

5
          Massiah v. United States, 377 U.S. 201 (1964).

6
          Strickland v. Washington, 466 U.S. 668 (1984).

7
       Prible’s original petition also included claims of improper admission of testimony about the children’s deaths,
       ineffective representation in the handling of DNA evidence, violation of his right to a jury composed of a fair cross-
       section of society, withholding of information by the prosecution from the defense, and actual innocence.

8
       During the pendency of the state habeas proceedings, this Court also authorized discovery of Bureau of Prisons
       telephone records which showed repeated phone calls between Beckcom and Siegler before trial. Prible v.
       Quarterman, No. 4:08-mc-316, Doc. 18 (S.D. Tex. 2018).

9
       The letters are not dated. Two envelopes with the letters were dated in April and May 2002, a few months before trial
       and a few months after Prible left federal custody.

10
       The Court will refer to the Record from Defendant’s application for writ of habeas corpus in the 351st District Court
       of Harris County, Texas, No. 921126-B, as “Successive State Habeas Record at _.”

11
       The transcript for the three-day evidentiary hearing is located at docket entries 234, 235, and 236. The Court will cite
       to the transcript as HT–-––.

12
       Respondent succinctly summarized Moreno’s initial interaction with Siegler as follows:
       On April 4, 2001, Jesse Moreno, an inmate at FCI Beaumont-Medium wrote a letter to Kelly Siegler, a prosecutor with
       the Harris County District Attorney’s (HCDA) Office, stating that he had information that could be helpful in one of her
       unsolved cases. Pet.’s Hrg. Ex. 6. Moreno served as an informant for Siegler several years prior in a case against Jason
       Morales. Id. Siegler met with Moreno on July 3, 2001, at FCI Beaumont-Medium. 2 EHRR 23–25. Moreno was housed
       in the Special Housing Unit (the “SHU”) at the time. Id.; see also Pet.’s Hrg. Ex. 7. During the interview, which Siegler
       recorded, Moreno provided her with information implicating fellow-inmate Hermelio Herrero in the murder of Albert
       Guajardo. Pet.’s Hrg. Ex. 11. Moreno told Siegler that when Herrero confessed his involvement in this murder to him,
       fellow inmates Raphael Dominguez and Nathan Foreman were also present. Pet.’s Hrg. Ex. 11 at 17. It appears from
       the transcript that this is the first time Siegler learned of Nathan Foreman. See Pet.’s Hrg. Ex. 11 at 18–19. Two days
       later, on July 5, 2001, Siegler charged Herrero with the murder, specifically referencing the inculpatory information
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            38
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 134 of 137


                                              Marcus, James 6/5/2020
                                             For Educational Use Only


Prible v. Davis, Slip Copy (2020)



       provided by Moreno. 6 Resp.’s Hrg. Ex. 6.
       (Doc. No. 240, at 4–5) (footnote omitted).

13
       Counsel had difficulty finding Walker because of confusion over an inmate with a similar name. HT1-119–20.

14
       Respondent argues that “Prible’s conspiracy theory alleging a state-run ring of informants rests almost entirely on
       speculative statements made by Carl Walker.” (Doc. No. 240, at 12). Respondent supports that argument with a factual
       finding by the state habeas court that “Walker’s statements...consist almost entirely of hearsay and speculation and
       contain no direct evidence of [Prible’s] conspiracy theory,” and that Walker’s statements “are unpersuasive and have
       little evidentiary value with respect to the validity of [Prible’s] habeas claims regarding any alleged conspiracy
       involving the lead prosecutor and federal inmates.” (Doc. No. 191, at 13) (quoting Successive State Habeas Record at
       799–800). Respondent fails to consider important differences between the allegations in the state habeas proceedings
       and those as they have developed in the instant case. The state court only considered Walker’s statement, which
       included hearsay and speculation. His federal evidentiary hearing testimony, however, provided substance to his
       speculation and first-hand knowledge about the events. Walker’s evidentiary hearing did not provide much testimony
       placing Siegler at the head of a ring of informants, but more than confirmed that a conspiracy existed at least among
       the inmates themselves. The state factual findings, therefore, addressed a much different issue than that considered
       by this Court.

15
       Respondent concedes that “[n]either Bonds, Siegler, nor Foreman recalled that meeting, but handwritten notes from
       Bonds suggest the meeting likely occurred.” (Doc. No. 240, at 8).

16
       The Supreme Court has clarified that relief lies under      § 2254(d)(1) if (1) “the state court arrives at a conclusion
       opposite to that reached by this Court on a question of law,” (2) “the state court decides a case differently than this
       Court has on a set of materially indistinguishable facts”; or (3) “the state court identifies the correct governing legal
       principle from this Court’s decisions but unreasonably applies that principle to the facts of the prisoner’s case.”
       Williams v. Taylor, 529 U.S. 362, 413 (2000); see also    Thaler v. Haynes, 559 U.S. 43, 47 (2010);     Bell v. Cone, 535
       U.S. 685, 694 (2002);     Early v. Packer, 537 U.S. 3, 7–8 (2002).

17
       AEDPA provides:
       (1) A 1-year period of limitation shall apply to an application for a writ of habeas corpus by a person in custody
       pursuant to the judgment of a State court. The limitation period shall run from the latest of—
       (A) the date on which the judgment became final by the conclusion of direct review or the expiration of the time for
       seeking such review;
       (B) the date on which the impediment to filing an application created by State action in violation of the Constitution
       or laws of the United States is removed, if the applicant was prevented from filing by such State action;
       (C) the date on which the constitutional right asserted was initially recognized by the Supreme Court, if the right has
       been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral review; or
       (D) the date on which the factual predicate of the claim or claims presented could have been discovered through the
       exercise of due diligence.
       (2) The time during which a properly filed application for State post-conviction or other collateral review with respect
       to the pertinent judgment or claim is pending shall not be counted toward any period of limitation under this
       subsection.
          28 U.S.C. § 2244(d).

18
       In the alternative, Prible argues that the Court can reach any procedurally defaulted claims through the       Schlup v.

               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           39
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 135 of 137


                                              Marcus, James 6/5/2020
                                             For Educational Use Only


Prible v. Davis, Slip Copy (2020)



       Delo, 513 U.S. 298 (1995), actual innocence gateway. In Schlup, the Supreme Court held that prisoners seeking review
       of defaulted claims on the ground of actual innocence must establish that “it is more likely than not that no reasonable
       juror would have found petitioner guilty beyond a reasonable doubt” in light of “new reliable evidence—whether it
       be exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical evidence.” Id. at 324, 327.
       A Schlup claim of innocence is “not itself a constitutional claim, but instead a gateway through which a habeas
       petitioner must pass to have his otherwise barred constitutional claim considered on the merits.”             Id. at 315
       (quoting     Herrera v. Collins, 506 U.S. 390, 404 (1993)). However, because the Court determines that Prible’s
       amended pleadings relate back to his original pleadings and are thus are not barred by AEDPA’s limitations period,
       the Court need not reach Prible’s actual innocence claim.

19
       Respondent also briefly argues that Claims 3–5 are unreviewable because they are unexhausted, (Doc. No. 191, at
       32), though Respondent does not raise the same argument against Claim 10, (Id. at 150; Doc. No. 240). However, by
       acknowledging the procedural default of Claims 3–5 and 10, Respondent has effectively waived any nonexhaustion
       argument. See       Thompson v. Wainwright, 714 F.2d 1495, 1501 (11th Cir. 1983) (“[W]hen the state affirmatively
       acknowledges futility [of exhaustion]...its statement is often considered under the rubric of waiver.”); see also
       McGee v. Estelle, 722 F.2d 1206, 1212–13 (5th Cir. 1984) (citing Thompson for the proposition that “the state may
       waive exhaustion”). Treating an acknowledgement of procedural default as a waiver of exhaustion makes sense
       because exhaustion is a matter of comity, not jurisdiction, and comity does not require that a federal court force a
       case back into the state system when the state itself has determined that review would be procedurally barred. See
       Felder v. Estelle, 693 F.2d 549, 551– 54 (5th Cir. 1982) (discussing waivers of exhaustion and comity). Moreover, waiver
       aside, nonexhaustion does not bar review of Claims 3–5 and 10 because “exhaustion is not required if it would plainly
       be futile.”    Graham v. Johnson, 94 F.3d 958, 969 (5th Cir. 1996). Exhaustion is futile if “there is no opportunity to
       obtain redress in state court....” Id. (quoting   Duckworth v. Serrano, 454 U.S. 1, 3 (1981)). The procedural default
       of Claims 3–5 and 10 renders redress in state court unavailable. See        Coleman v. Thompson, 501 U.S. 722, 732
       (1991) (“A habeas petitioner who has defaulted his federal claims in state court meets the technical requirements for
       exhaustion; there are no state remedies any longer ‘available’ to him.”). Thus, ultimately, it is the procedural default,
       and not the nonexhaustion, of Claims 3–5 and 10 that presents a procedural hurdle to their federal review.

20
       The situation in Barrientes closely parallels that here. Barrientes’s federal habeas petition contained prosecutorial
       misconduct claims, including a Brady claim, related to exculpatory evidence from a sheriff’s file that Barrientes alleged
       was unavailable to him when filing his state court habeas application. See           Barrientes, 221 F.3d at 752, 764.
       Barrientes was sent back to state court to exhaust his prosecutorial misconduct claims.       Id. at 750. The Texas Court
       of Criminal Appeals denied his successive petition as an abuse of the writ, rendering his claims procedurally defaulted.
       Id. In considering whether Barrientes had shown cause and prejudice to overcome the default, the Fifth Circuit held
       that it was “not bound” by the Texas Court of Criminal Appeals’ abuse-of-the-writ decision and that the district court
       should have held an evidentiary hearing to reach its own findings as to cause and prejudice.       Id. at 763, 768.
       Still, Respondent argues that    28 U.S.C. § 2254(e)(1)—which provides that “a determination of a factual issue made
       by a State court shall be presumed to be correct” unless rebutted by “clear and convincing evidence”—nonetheless
       requires that this Court, in conducting its cause analysis, apply a presumption of correctness to the state court’s
       underlying factual determinations articulated in its “Findings of Fact Pursuant to Tex. Code Crim. App. Art. 11.071,
       Sec. 5(a)(1).” Respondent cites no binding precedent for this claim. Even so, the Court finds, as discussed infra, that
       Prible has rebutted with clear and convincing evidence the state court’s key findings of fact in support of its decision
       to apply the abuse of the writ doctrine to his successive state court habeas petition.


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           40
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 136 of 137


                                              Marcus, James 6/5/2020
                                             For Educational Use Only


Prible v. Davis, Slip Copy (2020)



21
       As discussed in this Court’s order compelling production of certain materials contained in Siegler’s work product file,
       the work product doctrine does not excuse Siegler’s suppression. (Doc. No. 154, at 2). As an attorney representing a
       client, a prosecutor is entitled to rely on the work product, within constitutional limitations. The work-product
       doctrine protects “documents and tangible things that are prepared in anticipation of litigation or for trial by or for
       another party or its representative [ ]including the other party’s attorney....” Fed. R. Civ. P. 26(b)(3). “[T]he work
       product doctrine insulates a lawyer’s research, analysis of legal theories, mental impressions, notes, and memoranda
       of witnesses’ statements from an opposing counsel’s inquiries.”       Dunn v. State Farm Fire & Cas. Co., 927 F.2d 869,
       875 (5th Cir. 1991). But “[t]he privilege derived from the work-product doctrine is not absolute.”      United States v.
       Nobles, 422 U.S. 225, 239 (1975). “Because Brady is based on the Constitution, it overrides court-made rules of
       procedure. Thus, the work-product immunity for discovery...prohibits discovery...but it does not alter the prosecutor’s
       duty to disclose material that is within Brady.” See 2 Charles Alan Wright, Federal Practice and Procedure § 254.2 (3d
       ed. 2000); see also    Dickson v. Quarterman, 462 F.3d 470, 479 n.7 (5th Cir. 2006) (quoting Wright § 254.2). The
       work-product doctrine cannot excuse Siegler’s efforts to hide relevant and exculpatory information from the defense,
       including information about her contacts with inmates and letters inmates sent to her claiming that Prible confessed.

22
       Prible also had no means to compel Walker’s testimony through court-ordered process. Texas law does not authorize
       discovery on subsequent applications unless a court finds that the application meets the requirements of Article
       11.071 § 5, and the Texas Court of Criminal Appeals found that Prible did not meet those requirements.

23
       Prible attaches to his petition a report from Dr. Elizabeth A. Johnson, an expert in molecular biology and DNA analysis.
       Dr. Johnson’s report rejects both Watson’s methodology and conclusions. Dr. Johnson states that Watson “could not
       reliably” state that the oral swab was “consistent with there being a great deal of sperm present” because he did not
       perform either a microscopic evaluation of the sample to assess the number of spermatozoa present or a test for the
       P30 protein. (Doc. 181, Ex. 114 ¶¶ 14–16). She states that, using Watson’s stated yield of DNA in the oral swab, the
       volume of seminal fluid “is far less than the volume of seminal fluid that would be found in someone’s mouth if
       ejaculation had occurred moments if not seconds before the victim was killed as Mr. Watson testified upon direct
       examination.” (Id. ¶ 16). Dr. Johnson also points out that there was literature at the time of trial “on the duration of
       spermatozoa in the mouth after ejaculation into the oral cavity of live individuals,” which confirms that “[t]he removal
       and dilution of spermatozoa from any body cavity occurs faster in a live individual than a deceased individual due to
       activity.” (Id. ¶¶ 18–19). She concludes from this that “Mr. Watson could not have reliably testified as he did at trial
       regarding the amount of spermatozoa on the oral swab taken from [Tirado] or the timing of the deposit of semen into
       her mouth relative to the time of her death.” (Id. ¶ 20). Accordingly, Prible argues Dr. Johnson’s expert testimony
       meets the Schlup standard for innocence and that an evidentiary hearing is necessary to determine how the report
       and its impeachment of Watson’s testimony would affect a jury. (Doc. No. 199, at 21). However, because the Court
       grants Prible habeas relief on his Brady claims, as discussed infra, the Court need not address Prible’s actual innocence
       claim.

24
       Respondent emphasizes that “Beckcom, the informant who testified at Prible’s trial, also indicated that he was the
       one to reach out to the prosecutor with information, not the other way around.” (Doc. No. 240, at 30). Whether
       Beckcom or Siegler initiated contact, however, is not the inquiry. Even if Beckcom initiated contact, he was
       subsequently led to believe that he would benefit in exchange for informing on Prible and acted pursuant to Siegler’s
       instructions that he obtain specific incriminating information about Prible. The Court thus concludes that Beckcom
       was a state agent.

25
       Respondent claims that Prible failed to raise this claim in a manner consistent with AEDPA’s limitations period. As with
       Prible’s Brady claims, the Court finds that this claim relates back to the earlier petitions and, at any rate, the
       circumstances discussed supra also prevented Prible from advancing this claim in a timely manner. See supra V.A.1.a.

               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          41
       Case 4:09-cv-03223 Document 165 Filed on 06/30/20 in TXSD Page 137 of 137


                                           Marcus, James 6/5/2020
                                          For Educational Use Only


Prible v. Davis, Slip Copy (2020)




End of Document                                              © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       42
